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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40714 MICHAEL ZUNIGA                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40715 MICHAEL ZUNIGA                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40716 MICHAEL ZUNIGA                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40717 MICHAEL ZUNIGA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40718 MICHAEL ZUNIGA                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40719 MICHAELA MERTZ                           VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                     Litigation
        BAR #104975)                   ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.40720 MICHAELA MERTZ                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADIDORIS              ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40721 MICHAELLE M HEFLEN                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40722 MICHAELLE M HEFLEN                      VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40723 MICHAELLE M HEFLEN                      VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40724 MICHAELLE M HEFLEN                      VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40725 MICHAELLE M HEFLEN                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40726 MICHAIL KOUTSOURADIS                     VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.40727 MICHAIL KOUTSOURADIS                     VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.40728 MICHAIL KOUTSOURADIS                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.40729 MICHAIL KOUTSOURADIS                     VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40730 MICHAIL KOUTSOURADIS                     VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.40731 MICHALKA, ASHLEY                         VARIOUS                              Wildfire               UNDETERMINED
        1136 RACHAEL LN                                                               Litigation
        WINDSOR, CA 95492              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.40732 MICHELA CAMPBELL                       VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                Litigation
        SCHACKNATASHA N. SERINO      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.40733 MICHELA CAMPBELL                       VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                          Litigation
        SR.JESSICA HAYES             ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.40734 MICHELA CAMPBELL                       VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                     Litigation
        WEAVER                       ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.40735 MICHELE A HALL                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40736 MICHELE A HALL                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                       Litigation
        SINGLETONERIKA L.            ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40737 MICHELE A HALL                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40738 MICHELE A HALL                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40739 MICHELE A HALL                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                       Litigation
        MARTINI                          ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40740 MICHELE AGUILAR                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40741 MICHELE AGUILAR                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40742 MICHELE AGUILAR                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40743 MICHELE AGUILAR                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address               Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.40744 MICHELE AGUILAR                                 VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                               Litigation
        SHEARJASON BOYER                      ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.40745 Michele Bradshaw, Individually, As              VARIOUS                              Wildfire               UNDETERMINED
        Co-Trustee Of The Rose Farrell                                                       Litigation
        Trust, And As Successor-In-Interest   ACCOUNT NO.: NOT AVAILABLE
        To The Estate Of Rose Farrell,
        Deceased
        Michael A. KellyKhaldoun A.
        Baghdadi
        Walkup Melodia
        Kelly&Schoenberger
        650 California Street
        San Francisco, Ca 94108


3.40746 Michele Bradshaw, Individually, As              VARIOUS                              Wildfire               UNDETERMINED
        Co-Trustee Of The Rose Farrell                                                       Litigation
        Trust, And As Successor-In-Interest   ACCOUNT NO.: NOT AVAILABLE
        To The Estate Of Rose Farrell,
        Deceased
        Eric Gibbs - Bar No. 178658Dylan
        Hughes- Bar No. 209113
        Gibbs Law Group
        505 14th Street, Suite I 110
        Oakland, CA 94612


3.40747 Michele Bradshaw, Individually, As              VARIOUS                              Wildfire               UNDETERMINED
        Co-Trustee Of The Rose Farrell                                                       Litigation
        Trust, And As Successor-In-Interest   ACCOUNT NO.: NOT AVAILABLE
        To The Estate Of Rose Farrell,
        Deceased
        Dario De Ghetaldi - Bar No.
        126782Amanda L. Riddle - Bar
        No. 215221Steven M. Berki - Bar
        No. 245426Sumble Manzoor- Bar
        No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669




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Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.40748 Michele Bradshaw, Individually, As              VARIOUS                              Wildfire               UNDETERMINED
        Co-Trustee Of The Rose Farrell                                                       Litigation
        Trust, And As Successor-In-Interest   ACCOUNT NO.: NOT AVAILABLE
        To The Estate Of Rose Farrell,
        Deceased
        Michael S. Danko - Bar No.
        111359Kristine K. Meredith - Bar
        No. 158243Shawn R. Miller- Bar
        No. 238447
        Danko Meredith
        333 Twin Dolphin Drive, Suite 145
        Redwood Shores, CA 94065


3.40749 MICHELE GREMILLION                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                             Litigation
        A. BAGHDADI                           ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40750 MICHELE GREMILLION                              VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                            Litigation
        (SBN 99126)NATASHA N.                 ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.40751 MICHELE GREMILLION                              VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                          Litigation
        9858)JESSICA W. HAYES.,               ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.40752 MICHELE GREMILLION                              VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                          Litigation
        248092)JACK W. WEAVER,                ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40753 MICHELE GUZMAN                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.40754 MICHELE GUZMAN                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.40755 MICHELE GUZMAN                           VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.40756 MICHELE GUZMAN                           VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40757 MICHELE GUZMAN                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.40758 MICHELE M. STANLEY                       VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


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Wildfire Claims

3.40759 MICHELE PEACOCK                          VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                  Litigation
        CABRASERROBERT J.              ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.40760 MICHELE PETIT                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40761 MICHELE PETIT                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40762 MICHELE PETIT                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40763 MICHELE PETIT                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.40764 MICHELE PETTIBONE                       VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.40765 MICHELE PETTIBONE                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.40766 MICHELE PETTIBONE                       VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.40767 MICHELE WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40768 MICHELE WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.40769 MICHELE WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40770 MICHELE WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40771 MICHELE WILLIAMS                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40772 MICHELLE A ASHTON                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40773 MICHELLE A ASHTON                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40774 MICHELLE A ASHTON                       VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40775 MICHELLE A ASHTON                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40776 MICHELLE A ASHTON                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40777 MICHELLE BECERRIL                        VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40778 MICHELLE BECERRIL                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40779 MICHELLE BECERRIL                        VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40780 MICHELLE BECERRIL                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40781 MICHELLE COLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40782 MICHELLE COLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40783 MICHELLE COLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40784 MICHELLE COLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.40785 MICHELLE COLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40786 MICHELLE COUCH                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40787 MICHELLE COUCH                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40788 MICHELLE COUCH                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40789 MICHELLE COUCH                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40790 MICHELLE COUCH                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40791 MICHELLE DEOCAMPO                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40792 MICHELLE DEOCAMPO                        VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.40793 MICHELLE DEOCAMPO                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.40794 MICHELLE DEOCAMPO                        VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.40795 MICHELLE DEOCAMPO                        VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40796 MICHELLE DIGIORDANO                      VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                   Litigation
        9858)JESSICA W. HAYES.,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40797 MICHELLE DIGIORDANO                      VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.40798 MICHELLE DIGIORDANO                      VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                     Litigation
        (SBN 99126)NATASHA N.          ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.40799 MICHELLE DIGIORDANO                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40800 MICHELLE DIGIORDANO                      VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                   Litigation
        248092)JACK W. WEAVER,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.40801 MICHELLE DUPREE                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40802 MICHELLE DUPREE                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.40803 MICHELLE DUPREE                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228                       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40804 MICHELLE DUPREE                         VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.40805 MICHELLE EDELMAN                        VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.40806 MICHELLE EDELMAN                        VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.40807 MICHELLE GAYLORD                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40808 MICHELLE GAYLORD                        VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                   Litigation
        STATE BAR NO. 157400)         ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40809 MICHELLE GAYLORD                          VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.40810 MICHELLE GAYLORD                          VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.40811 MICHELLE GIBBLE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40812 MICHELLE GIBBLE                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.40813 MICHELLE GIBBLE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.40814 MICHELLE GIBBLE                           VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40815 MICHELLE HARRIS                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.40816 MICHELLE HARRIS                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.40817 MICHELLE HARRIS                          VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40818 MICHELLE HARRIS                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.40819 MICHELLE HARRIS                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.40820 MICHELLE HESS                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40821 MICHELLE HESS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.40822 MICHELLE HESS                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40823 MICHELLE HESS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40824 MICHELLE HESS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40825 MICHELLE HOLMES                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40826 MICHELLE HOLMES                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.40827 MICHELLE HOLMES                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40828 MICHELLE HOLMES                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40829 MICHELLE L LOPEZ                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40830 MICHELLE L LOPEZ                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40831 MICHELLE L LOPEZ                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40832 MICHELLE L LOPEZ                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.40833 MICHELLE L LOPEZ                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40834 MICHELLE L THOMPSON                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40835 MICHELLE L THOMPSON                     VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.40836 MICHELLE L THOMPSON                     VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.40837 MICHELLE L THOMPSON                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40838 MICHELLE L THOMPSON                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.40839 MICHELLE LINDERMAN                      VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                    Litigation
        PENDING)JOHN P. FISKE         ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.40840 MICHELLE LINDERMAN                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                           Litigation
        VASQUEZ AMANDA LOCURTO              ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.40841 MICHELLE LINDERMAN                            VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                     Litigation
        LAW OFFICES OF ALEXANDER            ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.40842 MICHELLE LINDERMAN                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                            Litigation
        DIXONROBERT J. CHAMBERS II          ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40843 MICHELLE LINDERMAN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                         Litigation
                                            ACCOUNT NO.: NOT AVAILABLE
        IAN C. FUSSELMAN,
        ESQ.BRETT. J. SCHREIBER,
        ESQ.
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.40844 MICHELLE LINDERMAN                            VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                              Litigation
        TERRY SINGLETON, A.P.C.             ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.40845 Michelle Marshank                             VARIOUS                              Wildfire               UNDETERMINED
        Elizabeth J. Cabraser (State Bar                                                   Litigation
        No. 083151) Robert J. Nelson        ACCOUNT NO.: NOT AVAILABLE
        (State Bar No. 132797) Lexi J.
        Hazarn (State Bar No. 224457)

        Fabrice N. Vincent (State Bar No.
        160780) Abby R. Wolf (State Bar
        No. 313049)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, CA 94111-3339



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40846 MICHELLE MATTOX                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40847 MICHELLE MATTOX                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.40848 MICHELLE MATTOX                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.40849 MICHELLE MATTOX                           VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.40850 MICHELLE MCNAMAR                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40851 MICHELLE MCNAMAR                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address               Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.40852 MICHELLE MCNAMAR                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                           Litigation
        111359KRISTINE K.                     ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40853 MICHELLE MCNAMAR                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                                 Litigation
        178658DYLAN HUGHES- BAR               ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40854 MICHELLE MURRAY                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                             Litigation
        NO. 197687)                           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.40855 Michelle Murray                                 VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                         Litigation
        application anticipated)Guy           ACCOUNT NO.: NOT AVAILABLE
        Watts, II (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.40856 MICHELLE MYERS                                  VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                              Litigation
        WEAVER                                ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.40857 MICHELLE MYERS                                  VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                         Litigation
        SCHACKNATASHA N. SERINO               ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40858 MICHELLE MYERS                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.40859 MICHELLE POWERS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40860 MICHELLE POWERS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40861 MICHELLE POWERS                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40862 MICHELLE POWERS                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40863 MICHELLE RAE WILSON                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40864 MICHELLE RAE WILSON                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40865 MICHELLE RAE WILSON                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40866 MICHELLE RAE WILSON                       VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.40867 MICHELLE RAHN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ.,                                                           Litigation
        #166204COELL M. SIMMONS,        ACCOUNT NO.: NOT AVAILABLE
        ESQ., #292218
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40868 MICHELLE RAHN                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150DANIEL E.
        PASSMORE, ESQ., #312155
        JACKSON &PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40869 MICHELLE RAHN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        #115632                         ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40870 MICHELLE RAHN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS, ESQ., #161563                                                  Litigation
        DEMAS LAW GROUP, P.C.          ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.40871 MICHELLE ROSE NELSON                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40872 MICHELLE ROSE NELSON                     VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40873 MICHELLE ROSE NELSON                     VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40874 MICHELLE ROSE NELSON                     VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.40875 MICHELLE SCHIFFBAUER                     VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.40876 MICHELLE SCHIFFBAUER                     VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40877 MICHELLE SCHIFFBAUER                     VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.40878 MICHELLE SCHIFFBAUER                     VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40879 MICHELLE SCHIFFBAUER                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.40880 MICHELLE SPRINGSTEEN                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40881 MICHELLE SPRINGSTEEN                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40882 MICHELLE SPRINGSTEEN                     VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40883 MICHELLE SPRINGSTEEN                     VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40884 MICHELLE SPRINGSTEEN                     VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40885 MICHELLE TORMO                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.40886 MICHELLE TORMO                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.40887 MICHELLE TORMO                           VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.40888 MICHELLE VON KNORRING                    VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                       Litigation
        R. PARKINSONDANIEL E.          ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40889 MICHELLE VON KNORRING                     VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40890 MICHELLE VON KNORRING                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.40891 MICHELLE VON KNORRING                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.40892 MICHELLE WINE                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40893 MICHELLE WINE                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40894 MICHELLE WINE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40895 MICHELLE WINE                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40896 MICHELLE WINE                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40897 MID-CENTURY INSURANCE                    VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                       Litigation
        300 TAMAL PLAZA #215           ACCOUNT NO.: NOT AVAILABLE
        CORTE MADERA, CA 94925


3.40898 MID-CENTURY INSURANCE                    VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                       Litigation
        CRAIG S. SIMON (SBN 78158)     ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.40899 MID-CENTURY INSURANCE                    VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                       Litigation
        CRAIG S. SIMON                 ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.40900 MIDDLETON, MICHELLE                      VARIOUS                              Wildfire               UNDETERMINED
        1832 WISE DR                                                                  Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.40901 MIEH SHIN                                VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.40902 MIEH SHIN                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40903 MIGDAL, TED                              VARIOUS                              Wildfire               UNDETERMINED
        1053 LA GRANDE AVE                                                            Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.40904 MIGNERON, NICHOLAS                       VARIOUS                              Wildfire               UNDETERMINED
        122 ESPOSTI MEADOWS WAY                                                       Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.40905 MIGUEL ALMANZA FLORES                    VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.40906 MIGUEL ALMANZA FLORES                    VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.40907 MIGUEL ALMANZA FLORES                    VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.40908 MIGUEL CALDERON                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782 AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.40909 MIGUEL CALDERON                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40910 MIGUEL CALDERON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.40911 MIGUEL GALLARDO                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40912 MIGUEL GALLARDO                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.40913 MIGUEL GALLARDO                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40914 MIGUEL GALLARDO                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40915 MIGUEL HARO                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.40916 MIGUEL HARO                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.40917 MIGUEL HARO                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40918 MIGUEL HARO                               VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.40919 MIGUEL JIMENEZ                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                      Litigation
        SBN: 110909ANDREA R.            ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40920 MIGUEL JIMENEZ                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40921 MIGUEL JIMENEZ                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40922 MIGUEL JIMENEZ                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40923 MIGUEL JIMENEZ                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40924 MIKAN, TAMMY                               VARIOUS                              Wildfire               UNDETERMINED
        3469 WALNUT GROVE STREET                                                        Litigation
        SANTA ROSA, CA 95403             ACCOUNT NO.: NOT AVAILABLE


3.40925 MIKAYLA DEAN                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                           Litigation
        VICE PENDINGTEXAS BAR NO.        ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40926 MIKAYLA DEAN                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.40927 MIKAYLA DEAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40928 MIKAYLA DEAN                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.40929 MIKAYLA DEAN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40930 MIKE BOLEN                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.40931 MIKE BOLEN                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40932 MIKE BOLEN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359 KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.40933 MIKE CLEMENT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40934 MIKE CLEMENT                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40935 MIKE CLEMENT                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40936 MIKE CLEMENT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.40937 MIKE DANILOV                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40938 MIKE DANILOV                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                      Litigation
        110909)                      ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40939 MIKE DANILOV                           VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                     Litigation
        (BAR NO. 295951) RACHEL      ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.40940 MIKE DANILOV                           VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                               Litigation
        NO.254651)JOANNA LEE FOX     ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.40941 MIKE KELLY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                  Litigation
        111359KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40942 MIKE KELLY                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                            Litigation
        178658DYLAN HUGHES- BAR          ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40943 MIKE KELLY                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40944 MIKE KELLY                                 VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.40945 MIKE RICA                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40946 MIKE RICA                                  VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40947 MIKE RICA                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.40948 MIKE RICA                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                   Litigation
        100077ALISON E. CORDOVA,      ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40949 MIKE RICA                               VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                         Litigation
        #109455LAURA E. BROWN         ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.40950 MIKE RIPPEY                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.40951 MIKE RIPPEY                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.40952 MIKE SHANAHAN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40953 MIKE SHANAHAN                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40954 MIKE SHANAHAN                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40955 MIKE SHANAHAN                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.40956 MIKE SHANAHAN                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                           Litigation
        VICE PENDINGTEXAS BAR NO.        ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.40957 MIKE SKELTON                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40958 MIKE SKELTON                               VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.40959 MIKE SKELTON                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.40960 MIKE SKELTON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40961 MIKE SKELTON                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40962 MIKE TUBBS                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.40963 MIKE TUBBS                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.40964 MIKE WAGNER                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40965 MIKE WAGNER                                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                        Litigation
        J. EBALLAR                       ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.40966 MIKE WILLIAMS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40967 MIKE WILLIAMS                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40968 MIKE WILLIAMS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40969 MIKE WILLIAMS                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40970 MIKE WILLIAMS                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40971 MIKIYAH DUBOSE                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.40972 MIKIYAH DUBOSE                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.40973 MILA SUGARMAN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ.,                                                           Litigation
        #166204GREGORY A. STUCK,        ACCOUNT NO.: NOT AVAILABLE
        ESQ., #311162
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.40974 MILA SUGARMAN                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150DANIEL E.
        PASSMORE, ESQ., #312155
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.40975 MILA SUGARMAN                             VARIOUS                              Wildfire               UNDETERMINED
                                                                                       Litigation
       DEMAS LAW GROUP, P.C.            ACCOUNT NO.: NOT AVAILABLE
       701 HOWE AVENUE, SUITE A-1
       SACRAMENTO, CA 95825


3.40976 MILA SUGARMAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        #115632                         ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.40977 MILBURN, MARK                             VARIOUS                              Wildfire               UNDETERMINED
        6469 CROSSSROADS RD                                                            Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.40978 MILDRED MAGNUSON                         VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.40979 MILDRED MAGNUSON                         VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.40980 MILENA OVSEEVICH                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40981 MILENA OVSEEVICH                         VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.40982 MILENA OVSEEVICH                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.40983 MILENA OVSEEVICH                         VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.40984 MILES BERDACHE LYNK                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.40985 MILES BERDACHE LYNK                       VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.40986 MILES BERDACHE LYNK                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40987 MILES BERDACHE LYNK                       VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.40988 MILES CORBIN                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.40989 MILES CORBIN                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.40990 MILES CORBIN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.40991 MILES CORBIN                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.40992 MILES CORBIN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40993 MILES ECKART III                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.40994 MILES ECKART III                           VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                   Litigation
        NO.254651)JOANNA LEE FOX         ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.40995 MILES ECKART III                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                          Litigation
        110909)                          ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.40996 MILES ECKART III                               VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                             Litigation
        (BAR NO. 295951) RACHEL              ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

        KRISTEN REANO(BAR
        NO.321795)
        SIEGLOCK LAW, APC
        1221 CAMINO DEL MAR
        DEL MAR, CA 92014


3.40997 Milet, Carol Jean As Trustee Of                VARIOUS                              Wildfire               UNDETERMINED
        The Carolyn J. Milet Revocable                                                      Litigation
        Trust; Hendrix, Jonathan (Ashton);   ACCOUNT NO.: NOT AVAILABLE
        Hamann, Erik Jergen Otto
        Hamann, a minor, by and Through
        His Guardian Ad Litem, Erik
        Howard Hamann
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.40998 Milet, Carol Jean As Trustee Of                VARIOUS                              Wildfire               UNDETERMINED
        The Carolyn J. Milet Revocable                                                      Litigation
        Trust; Hendrix, Jonathan (Ashton);   ACCOUNT NO.: NOT AVAILABLE
        Hamann, Erik Jergen Otto
        Hamann, a minor, by and Through
        His Guardian Ad Litem, Erik
        Howard Hamann
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.40999 Milet, Carol Jean As Trustee Of                VARIOUS                              Wildfire               UNDETERMINED
        The Carolyn J. Milet Revocable                                                      Litigation
        Trust; Hendrix, Jonathan (Ashton);   ACCOUNT NO.: NOT AVAILABLE
        Hamann, Erik Jergen Otto
        Hamann, a minor, by and Through
        His Guardian Ad Litem, Erik
        Howard Hamann
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.41000 Milet, Carol Jean; Hamann, Erik             VARIOUS                              Wildfire               UNDETERMINED
        Howard; Hamann, Viktoria                                                         Litigation
        Kathleen; Hamann, Austin James;   ACCOUNT NO.: NOT AVAILABLE
        Hamann, Thor Cole Jerome (A
        Minor, By And Through His
        Guardian Ad Litem, Erik Howard
        Hamann);
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.41001 Milet, Carol Jean; Hamann, Erik             VARIOUS                              Wildfire               UNDETERMINED
        Howard; Hamann, Viktoria                                                         Litigation
        Kathleen; Hamann, Austin James;   ACCOUNT NO.: NOT AVAILABLE
        Hamann, Thor Cole Jerome (A
        Minor, By And Through His
        Guardian Ad Litem, Erik Howard
        Hamann);
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.41002 Milet, Carol Jean; Hamann, Erik             VARIOUS                              Wildfire               UNDETERMINED
        Howard; Hamann, Viktoria                                                         Litigation
        Kathleen; Hamann, Austin James;   ACCOUNT NO.: NOT AVAILABLE
        Hamann, Thor Cole Jerome (A
        Minor, By And Through His
        Guardian Ad Litem, Erik Howard
        Hamann);
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.41003 MILEY HUTCHINSON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41004 MILEY HUTCHINSON                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                     Litigation
        ERIC RATINOFF LAW CORP.           ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41005 MILEY HUTCHINSON                        VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228                       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.41006 MILEY HUTCHINSON                        VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.41007 MILEY, ERIN GAYLE; MILEY,               VARIOUS                              Wildfire               UNDETERMINED
        NORMAN LAFAYETTE, JR.;                                                       Litigation
        SCOBEE, CRAIG                 ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41008 MILEY, ERIN GAYLE; MILEY,               VARIOUS                              Wildfire               UNDETERMINED
        NORMAN LAFAYETTE, JR.;                                                       Litigation
        SCOBEE, CRAIG                 ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41009 MILEY, ERIN GAYLE; MILEY,         VARIOUS                                    Wildfire               UNDETERMINED
        NORMAN LAFAYETTE, JR.;                                                       Litigation
        SCOBEE, CRAIG             ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.41010 MILLER, BRENDA                          VARIOUS                              Wildfire               UNDETERMINED
        3072 SOSCO AVE                                                               Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.41011 MILLER, CODY                            VARIOUS                              Wildfire               UNDETERMINED
        1101 STONYBROOK DR                                                           Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41012 MILLER, GARY LEE; MILLER,               VARIOUS                              Wildfire               UNDETERMINED
        MARIAN JANEEL                                                                Litigation
        GERARD SINGLETONERIKA L.      ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41013 MILLER, GARY LEE; MILLER,               VARIOUS                              Wildfire               UNDETERMINED
        MARIAN JANEEL                                                                Litigation
        ELLIOT ADLERBRITTANY          ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41014 MILLER, GARY LEE; MILLER,         VARIOUS                                    Wildfire               UNDETERMINED
        MARIAN JANEEL                                                                Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.41015 MILLER, JOAN MARIE; MILLER,             VARIOUS                              Wildfire               UNDETERMINED
        MARIAH SIERRA THEODORA                                                       Litigation
        GERARD SINGLETONERIKA L.      ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41016 MILLER, JOAN MARIE; MILLER,         VARIOUS                                  Wildfire               UNDETERMINED
        MARIAH SIERRA THEODORA                                                       Litigation
        CO-COUNSELDEMETRIOS A.      ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.41017 MILLER, JOAN MARIE; MILLER,             VARIOUS                              Wildfire               UNDETERMINED
        MARIAH SIERRA THEODORA                                                       Litigation
        ELLIOT ADLERBRITTANY          ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41018 MILLER, JOHN                            VARIOUS                              Wildfire               UNDETERMINED
        875 EMBARCADERO DRIVE,                                                       Litigation
        SUITE 2                       ACCOUNT NO.: NOT AVAILABLE
        EL DORADO HILLS, CA 95762



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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41019 MILLER, KATYA                           VARIOUS                              Wildfire               UNDETERMINED
        8901 OAK TRAIL DRIVE                                                         Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.41020 MILLER, LOUISE                          VARIOUS                              Wildfire               UNDETERMINED
        8875 EAST ROAD                                                               Litigation
        POTTER VALLEY, CA 95469       ACCOUNT NO.: NOT AVAILABLE


3.41021 MILLER, MICHAEL                         VARIOUS                              Wildfire               UNDETERMINED
        DANIEL G. WHALEN                                                             Litigation
        ENGSTROM LIPSCOMB & LACK      ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.41022 MILLER, PATRICK                         VARIOUS                              Wildfire               UNDETERMINED
        DANIEL G. WHALEN                                                             Litigation
        ENGSTROM LIPSCOMB & LACK      ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.41023 MILLER, PATRICK                         VARIOUS                              Wildfire               UNDETERMINED
        56 LARK CENTER DRIVE                                                         Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.41024 MILLER, PATRICK NEAL (ADAMS             VARIOUS                              Wildfire               UNDETERMINED
        AND JOSES)                                                                   Litigation
        DANIEL G. WHALEN              ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD
        12TH FLOOR
        LOS ANGELES, CA 90067


3.41025 MILLER, PATRICK NEAL (ADAMS             VARIOUS                              Wildfire               UNDETERMINED
        AND JOSES)                                                                   Litigation
        GERALD SINGLETON              ACCOUNT NO.: NOT AVAILABLE
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41026 MILLER, PATRICK NEAL (ADAMS             VARIOUS                              Wildfire               UNDETERMINED
        AND JOSES)                                                                   Litigation
        CO-COUNSEL                    ACCOUNT NO.: NOT AVAILABLE
        525 B STREET
        SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41027 MILLER, PATRICK NEAL (ADAMS             VARIOUS                              Wildfire               UNDETERMINED
        AND JOSES)                                                                   Litigation
        ELLIOT ADLER                  ACCOUNT NO.: NOT AVAILABLE
        402 W BROADWAY
        SUITE 860
        SAN DIEGO, CA 92101


3.41028 MILLER, RAMI                            VARIOUS                              Wildfire               UNDETERMINED
        1054 ARROYO GRANDE DRIVE                                                     Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.41029 MILLER, THOMAS                          VARIOUS                              Wildfire               UNDETERMINED
        6004 MONTICELLO ROAD                                                         Litigation
        SPC 56                        ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.41030 MILLER, TOPONIA                         VARIOUS                              Wildfire               UNDETERMINED
        5358 A LOVALL VALLEY RD                                                      Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.41031 MILLER, TRACY                           VARIOUS                              Wildfire               UNDETERMINED
        6283 CUMBERLAND RD                                                           Litigation
        MAGALIA, CA 95954             ACCOUNT NO.: NOT AVAILABLE


3.41032 MILLET, CAROLYN J. (AS                  VARIOUS                              Wildfire               UNDETERMINED
        TRUSTEE OF THE CAROLYN J.                                                    Litigation
        MILLET REVOCABLE TRUST)       ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41033 MILLET, CAROLYN J. (AS            VARIOUS                                    Wildfire               UNDETERMINED
        TRUSTEE OF THE CAROLYN J.                                                    Litigation
        MILLET REVOCABLE TRUST)   ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.41034 MILLET, CAROLYN J. (AS                  VARIOUS                              Wildfire               UNDETERMINED
        TRUSTEE OF THE CAROLYN J.                                                    Litigation
        MILLET REVOCABLE TRUST)       ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.41035 MILLEVA, LEIGH                         VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 322                                                                Litigation
        CALISTOGA, CA 94515          ACCOUNT NO.: NOT AVAILABLE


3.41036 MILLEVA, LEIGH                         VARIOUS                              Wildfire               UNDETERMINED
        6400 SHARP RD                                                               Litigation
        CALISTOGA, CA 94515          ACCOUNT NO.: NOT AVAILABLE


3.41037 MILLS, HAROLD                          VARIOUS                              Wildfire               UNDETERMINED
        65 COLD SPRINGS RD                                                          Litigation
        ANGWIN, CA 94508             ACCOUNT NO.: NOT AVAILABLE


3.41038 MILLS, TONJA                           VARIOUS                              Wildfire               UNDETERMINED
        DANIEL G. WHALEN                                                            Litigation
        ENGSTROM LIPSCOMB & LACK     ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.41039 MILLSPAUGH, LYNDA                      VARIOUS                              Wildfire               UNDETERMINED
        10601 SLATTERY ROAD                                                         Litigation
        GLEN ELLEN, CA 95442         ACCOUNT NO.: NOT AVAILABLE


3.41040 MILTON GRAHAM                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41041 MILTON GRAHAM                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41042 MILTON GRAHAM                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41043 MILTON GRAHAM                          VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                          Litigation
        DANIELS LAW                  ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403

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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41044 MILTON GRAHAM                              VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                      Litigation
        54426) DANIEL S. ROBINSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.41045 MIMOTO COOKE, BARBARA                      VARIOUS                              Wildfire               UNDETERMINED
        2073 MONTICELLO RD                                                              Litigation
        NAPA, CA 94558                   ACCOUNT NO.: NOT AVAILABLE


3.41046 MIN TANG                                   VARIOUS                              Wildfire               UNDETERMINED
        J. GARY GWILLIAMRANDALL E.                                                      Litigation
        STRAUSSROBERT J.                 ACCOUNT NO.: NOT AVAILABLE
        SCHWARTZGWILLIAM, IVARY,
        CHIOSSO
        CAVALLI & BREWER
        1999 HARRISON ST., SUITE 1600,
        OAKLAND, CA 94612


3.41047 MIN TANG                                   VARIOUS                              Wildfire               UNDETERMINED
        OMAR I. HABBAS                                                                  Litigation
        HAABBAS & ASSOCIATES             ACCOUNT NO.: NOT AVAILABLE
        675 N. FIRST STREET, SUITE
        1000
        SAN JOSE, CA 95112


3.41048 MIN TANG                                   VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                              Litigation
        DANIELS LAW                      ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.41049 MINDY GRAY                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41050 MINDY GRAY                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41051 MINDY GRAY                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41052 MINDY GRAY                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41053 MING O'BRIEN                             VARIOUS                              Wildfire               UNDETERMINED
        JEREMIAH F. HALLISEYKEN                                                       Litigation
        HARRINGTON                     ACCOUNT NO.: NOT AVAILABLE
        HALLISEY AND JOHNSON, PC
        465 CALIFORNIA STREETM
        SUITE 405
        SAN FANCISCO, CA 94104-1812


3.41054 MING O'BRIEN                             VARIOUS                              Wildfire               UNDETERMINED
        EDWARD J. NEVIN                                                               Litigation
        LAW OFFICES OF EDWARD J.       ACCOUNT NO.: NOT AVAILABLE
        NEVIN
        396 WINDMILL LANE
        PETALUMA, CA 94954


3.41055 MINNA ANDRESEN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41056 MINNA ANDRESEN                           VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J. CABRASER (SBN                                                    Litigation
        083151)LEXI J. HAZAM (SBN      ACCOUNT NO.: NOT AVAILABLE
        224457)ABBY R. WOLF(SBN
        313049)
        LIEFF CABRASER HEIMANN &
        BERNSTEIN, LLP
        275 BATTERY STREET, 29TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94111


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41057 MINNA ANDRESEN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41058 MINNA ANDRESEN                            VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                      Litigation
        160461)                         ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.41059 MINNA ANDRESEN                            VARIOUS                              Wildfire               UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                       Litigation
        315962)TODD LOGAN (SBN          ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)BRANDT SILVER-KORN
        (SBN 323530)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.41060 MINNIGERODE, KARL                         VARIOUS                              Wildfire               UNDETERMINED
        1998 SAN MIGUEL RD                                                             Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.41061 MINTZAS, CARMEN                           VARIOUS                              Wildfire               UNDETERMINED
        11938 DAWN DRIVE                                                               Litigation
        MARYSVILLE, CA 95901            ACCOUNT NO.: NOT AVAILABLE


3.41062 MINUGH, INGRID                            VARIOUS                              Wildfire               UNDETERMINED
        1851 RHIANNA ST                                                                Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.41063 MIRANDA EILEEN WILSON                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41064 MIRANDA EILEEN WILSON                   VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                     Litigation
        60768ANGELA JAE CHUN, SBN     ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.41065 MIRANDA EILEEN WILSON                   VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                     Litigation
        TOSDAL LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.41066 MIRANDA EILEEN WILSON                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41067 MIRANDA GAEBEL                          VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                   Litigation
        100077ALISON E. CORDOVA,      ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.41068 MIRANDA GAEBEL                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                    Litigation
        SBN: 110909ANDREA R.          ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41069 MIRANDA GAEBEL                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41070 MIRANDA GAEBEL                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41071 MIRANDA GAEBEL                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.41072 MIRIAH WILLIAMS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41073 MIRIAH WILLIAMS                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                    Litigation
        ERIC RATINOFF LAW CORP.          ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.41074 MIRIAH WILLIAMS                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.41075 MIRIAH WILLIAMS                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                     Litigation
         REINER, SLAUGHTER &             ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41076 MIRIAM ALVARADO ACUNA                    VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.41077 MIRIAM ALVARADO ACUNA                    VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.41078 MIRNA TRETTEVIK                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41079 MIRNA TRETTEVIK                          VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.41080 MIRNA TRETTEVIK                          VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41081 MIRNA TRETTEVIK                          VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41082 MIROSLAV VUJIC                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.41083 MIROSLAV VUJIC                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.41084 MIROSLAV VUJIC                           VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.41085 MIROSLAV VUJIC                           VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.41086 MIROSLAV VUJIC                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.41087 MIROSLAV VUJIC                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41088 MIROSLAV VUJIC                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address            Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.41089 MIROSLAV VUJIC                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                          Litigation
        #117228                            ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.41090 MISHANN POWELL                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                              Litigation
        296101)ROBERT T. BRYSON            ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.41091 Mishkin, LLC, A Delaware Limited             VARIOUS                              Wildfire               UNDETERMINED
        Liability Company                                                                 Litigation
        Frank M. Pitre (SBN                ACCOUNT NO.: NOT AVAILABLE
        100077)Alison E. Cordova (SBN
        284942)John P. Thyken (SBN
        286598)
        Cotchett, Pitre & Mccarthy, LLP
        San Francisco Airport Office
        Center840 Malcolm Road, Suite
        200
        Burlingame, CA 94010


3.41092 MISHKIN, LLC, A DELAWARE                     VARIOUS                              Wildfire               UNDETERMINED
        LIMITED LIABILITY COMPANY                                                         Litigation
        RICHARD L. HARRIMAN                ACCOUNT NO.: NOT AVAILABLE
        (SBN66124)
        LAW OFFICES OF RICHARD L.
        HARRIMAN
        1078 VIA VERONA DR.
        CHICO, CA 95973


3.41093 MISHKIN, LLC, A DELAWARE                     VARIOUS                              Wildfire               UNDETERMINED
        LIMITED LIABILITY COMPANY                                                         Litigation
        BRIANJ. PANISH (SBN 116060)        ACCOUNT NO.: NOT AVAILABLE
        PANISH SHEA &BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.41094 MISHKIN, LLC, A DELAWARE                     VARIOUS                              Wildfire               UNDETERMINED
        LIMITED LIABILITY COMPANY                                                         Litigation
        MICHAELA. KELLY (SBN 71460)        ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA KELLY&
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41095 MISSAKIAN, SARKIS                        VARIOUS                              Wildfire               UNDETERMINED
        3627 BANYAN PL                                                                Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.41096 MISTY DALLA-THOMAS                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41097 MISTY DALLA-THOMAS                       VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41098 MISTY DALLA-THOMAS                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.41099 MISTY DALLA-THOMAS                       VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.41100 MISTY DALLA-THOMAS                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41101 MISTY KINGSLEY                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.41102 MISTY WADZECK                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41103 MISTY WADZECK                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41104 MISTY WADZECK                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41105 MISTY WADZECK                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.41106 MITCH NIELSON                                   VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                             Litigation
        AMANWILLIAM P. HARRIS                 ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.41107 MITCH NIELSON                                   VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                                     Litigation
        ABRAHAM, WATKINS, NICHOLS,            ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.41108 MITCHELL CHAMPI                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                             Litigation
        NO. 197687)                           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.41109 Mitchell Champi                                 VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                         Litigation
        application anticipated)Guy           ACCOUNT NO.: NOT AVAILABLE
        Watts, II (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.41110 MITCHELL E. AZEVEDO                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                    Litigation
        DREYER BABICH BUCCOLA                 ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41111 MITCHELL E. AZEVEDO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                     Litigation
        WALKUP, MELODIA, KELLY &              ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41112 MITCHELL E. AZEVEDO                      VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41113 MITCHELL E. AZEVEDO                      VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41114 MITCHELL E. AZEVEDO                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                        Litigation
        DOMENIC MARTINI                ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.41115 MITCHELL MANLEY                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41116 MITCHELL MANLEY                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.41117 MITCHELL MANLEY                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41118 MITCHELL MANLEY                         VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.41119 MITCHELL MERTZ                          VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                    Litigation
        BAR #104975)                  ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.41120 MITCHELL MERTZ                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADIDORIS              ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41121 MITCHELL WHITE                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41122 MITCHELL WHITE                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.41123 MITCHELL WHITE                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41124 MITCHELL WHITE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41125 MITCHELL WHITE                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41126 MITCHELL, BETTY                          VARIOUS                              Wildfire               UNDETERMINED
        342 OAK LEAF CIRCLE                                                           Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.41127 MITCHELL, KAREN                          VARIOUS                              Wildfire               UNDETERMINED
        644 FIRST ST., BLDG. B                                                        Litigation
        NAPA, CA 94559                 ACCOUNT NO.: NOT AVAILABLE


3.41128 MITCHELL, KATHY                          VARIOUS                              Wildfire               UNDETERMINED
        17855 RAILROAD AVE                                                            Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE


3.41129 MITCHELL, RUSSELL                        VARIOUS                              Wildfire               UNDETERMINED
        11557 LOMA PICA RD.                                                           Litigation
        MARYSVILLE, CA 95901           ACCOUNT NO.: NOT AVAILABLE


3.41130 MITRA KUKIC-POTREBIC                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX,       ACCOUNT NO.: NOT AVAILABLE
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.41131 MITRA KUKIC-POTREBIC                     VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTSGUY WATTS                                                       Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       RYAN L. THOMPSONPAIGE
       BOLDT
       WATTS GUERRA LLP
       811 BARTON SPRINGS RD. STE.
       725
       AUSTIN, TEXAS 78704




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41132 MITTI MILLER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41133 MITTI MILLER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41134 MITTI MILLER                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41135 MITTI MILLER                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41136 MOHAMMED, AMIR                    VARIOUS                                     Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                        Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.41137 MOHAMMED, AMIR                           VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                      Litigation
        VASQUEZAMANDA LOCUTRO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075



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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41138 MOHAMMED, AMIR                           VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                          Litigation
        ZUMMER                         ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41139 MOHR, GUY                                VARIOUS                              Wildfire               UNDETERMINED
        5511 RAINBOW CIRCLE                                                           Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.41140 MOJIB AIMAQ DBAREDWOOD                   VARIOUS                              Wildfire               UNDETERMINED
        PACIFIC HOMES LLC                                                             Litigation
        GERALD SINGLETON (SBN          ACCOUNT NO.: NOT AVAILABLE
        208783)ERIKA L. VASQUEZ
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.41141 MOJIB AIMAQ DBAREDWOOD                   VARIOUS                              Wildfire               UNDETERMINED
        PACIFIC HOMES LLC                                                             Litigation
        SCOTT SUMMY (PRO HAC           ACCOUNT NO.: NOT AVAILABLE
        VICEPENDING)JOHN P. FISKE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.41142 MOJIB AIMAQ DBAREDWOOD                   VARIOUS                              Wildfire               UNDETERMINED
        PACIFIC HOMES LLC                                                             Litigation
        AHMED S. DIAB (SBN             ACCOUNT NO.: NOT AVAILABLE
        262319)DEBORAH S. DIXON
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41143 MOJIB AIMAQ DBAREDWOOD                   VARIOUS                              Wildfire               UNDETERMINED
        PACIFIC HOMES LLC                                                             Litigation
        TERRY SINGLETON, ESQ. (SBN     ACCOUNT NO.: NOT AVAILABLE
        583 I 6)
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41144 MOJIB AIMAQ DBAREDWOOD                  VARIOUS                              Wildfire               UNDETERMINED
        PACIFIC HOMES LLC                                                            Litigation
        JOHN F. MCGUIRE, JR., ESQ.    ACCOUNT NO.: NOT AVAILABLE
        (SBN 69176)IAN C.
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.41145 MOKELUMNE HILL SANITARY                 VARIOUS                              Wildfire               UNDETERMINED
        DISTRICT; MCCARTNEY, PHILIP                                                  Litigation
        (AS PRESIDENT AND             ACCOUNT NO.: NOT AVAILABLE
        REPRESENTATIVE OF
        MOKELUMNE HILL SANITARY
        DISTRICT)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41146 MOKELUMNE HILL SANITARY             VARIOUS                                  Wildfire               UNDETERMINED
        DISTRICT; MCCARTNEY, PHILIP                                                  Litigation
        (AS PRESIDENT AND           ACCOUNT NO.: NOT AVAILABLE
        REPRESENTATIVE OF
        MOKELUMNE HILL SANITARY
        DISTRICT)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.41147 MOKELUMNE HILL SANITARY                 VARIOUS                              Wildfire               UNDETERMINED
        DISTRICT; MCCARTNEY, PHILIP                                                  Litigation
        (AS PRESIDENT AND             ACCOUNT NO.: NOT AVAILABLE
        REPRESENTATIVE OF
        MOKELUMNE HILL SANITARY
        DISTRICT)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41148 MOLDOVAN, RICHARD DANIEL;               VARIOUS                              Wildfire               UNDETERMINED
        VERA K. PEARSON (NORFOLK                                                     Litigation
        AND BARRAGAN)                 ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSEL
        525 B STREET
        SUITE 1500
        SAN DIEGO, CA 92101

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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.41149 MOLDOVAN, RICHARD DANIEL;              VARIOUS                              Wildfire               UNDETERMINED
        VERA K. PEARSON (NORFOLK                                                    Litigation
        AND BARRAGAN)                ACCOUNT NO.: NOT AVAILABLE
        GERALD SINGLETON
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41150 MOLDOVAN, RICHARD DANIEL;              VARIOUS                              Wildfire               UNDETERMINED
        VERA K. PEARSON (NORFOLK                                                    Litigation
        AND BARRAGAN)                ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLER
        402 W BROADWAY
        SUITE 860
        SAN DIEGO, CA 92101


3.41151 MOLDOVAN, RICHARD; VERA           VARIOUS                                   Wildfire               UNDETERMINED
        KAY PEARSON                                                                 Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.41152 MOLDOVAN, RICHARD; VERA                VARIOUS                              Wildfire               UNDETERMINED
        KAY PEARSON                                                                 Litigation
        ELLIOT ADLERBRITTANY         ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41153 MOLDOVAN, RICHARD; VERA                VARIOUS                              Wildfire               UNDETERMINED
        KAY PEARSON                                                                 Litigation
        GERARD SINGLETONERIKA L.     ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41154 MOLINA, OSWALDO                        VARIOUS                              Wildfire               UNDETERMINED
        2357 BEACH ST                                                               Litigation
        NAPA, CA 94558               ACCOUNT NO.: NOT AVAILABLE


3.41155 MOLINAR, VIRGINIA                      VARIOUS                              Wildfire               UNDETERMINED
        13368 GIBSON STREET                                                         Litigation
        GLEN ELLEN, CA 95442         ACCOUNT NO.: NOT AVAILABLE


3.41156 MOLINAR, VIRGINIA                      VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 851                                                                  Litigation
        GLEN ELLEN, CA 95442         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41157 MOLLY DICK                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.41158 MOLLY DICK                                VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.41159 MOLLY DICK                                VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.41160 MOLLY MORBETO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41161 MOLLY MORBETO                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41162 MOLLY MORBETO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.41163 MOLLY MORBETO                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.41164 MONA DHAR                               VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. KERSHAW (STATE                                                    Litigation
        BAR NO. 057486) STUART C.     ACCOUNT NO.: NOT AVAILABLE
        TALLEY (STATE BAR NO.
        180374)IAN J. BARLOW (STATE
        BAI NU. 262213)
        KERSHAW COOK & TALLEY PC
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.41165 MONDAVI, JANICE                         VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 774                                                                 Litigation
        ANGWIN, CA 94508              ACCOUNT NO.: NOT AVAILABLE


3.41166 MONDAVI, JANICE                         VARIOUS                              Wildfire               UNDETERMINED
        550 KEYES AVE.                                                               Litigation
        ANGWIN, CA 94508              ACCOUNT NO.: NOT AVAILABLE


3.41167 MONDRAGON, ALFONSO                      VARIOUS                              Wildfire               UNDETERMINED
        945 BOYES BLVD                                                               Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.41168 MONIC ILHARREGUY                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41169 MONIC ILHARREGUY                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41170 MONIC ILHARREGUY                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41171 MONIC ILHARREGUY                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41172 MONICA BALLEJOS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41173 MONICA BALLEJOS                          VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                 Litigation
        NO.254651)JOANNA LEE FOX       ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41174 MONICA BALLEJOS                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                       Litigation
        110909)                       ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41175 MONICA BALLEJOS                         VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                      Litigation
        (BAR NO. 295951) RACHEL       ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.41176 MONICA BERRIZ                           VARIOUS                              Wildfire               UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                  Litigation
        116060RAHUL RAVIPUDI,         ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.41177 MONICA BERRIZ                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                    Litigation
        NO. 100077                    ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.41178 MONICA BERRIZ                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                  Litigation
        NO. 71460                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41179 MONICA BRINKMAN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41180 MONICA BRINKMAN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41181 MONICA BRINKMAN                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41182 MONICA BRINKMAN                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41183 MONICA BUNTING                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41184 MONICA CARDENAS                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                          Litigation
        296101)ROBERT T. BRYSON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.41185 MONICA HERNANDEZ EVANS                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41186 MONICA HERNANDEZ EVANS                   VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.41187 MONICA HERNANDEZ EVANS                   VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.41188 MONICA HERNANDEZ EVANS                   VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.41189 MONICA HERNANDEZ-SOTO                    VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.41190 MONICA HERNANDEZ-SOTO                  VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                   Litigation
        DAVISKEVIN M.                ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.41191 MONICA LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                Litigation
        SCHACKNATASHA N. SERINO      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.41192 MONICA LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                     Litigation
        WEAVER                       ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.41193 MONICA LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                          Litigation
        SR.JESSICA HAYES             ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.41194 MONICA OLAGUE                          VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                            Litigation
        ABRAHAM, WATKINS, NICHOLS,   ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.41195 MONICA OLAGUE                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                    Litigation
        AMANWILLIAM P. HARRIS        ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41196 MONICA REYES                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                      Litigation
        VASQUEZ AMANDA LOCURTO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.41197 MONICA REYES                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)JOHN P. FISKE          ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.41198 MONICA REYES                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.41199 MONICA REYES                             VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                Litigation
        LAW OFFICES OF ALEXANDER       ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.41200 MONICA REYES                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.41201 MONICA REYES                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41202 MONICA SHAH                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.41203 MONICA SHAH                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.41204 MONICA SHAH                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41205 MONICA SHAH                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.41206 MONICA SHAH                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41207 MONICA UDELL                            VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                    Litigation
        SIMES RACHEL B.               ACCOUNT NO.: NOT AVAILABLE
        ABRAMSMEGHAN E.
        MCCORMICK
        LEVIN SIMES LLP
        44 MONTGOMERY ST., 32ND
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.41208 MONICA VALENTINE                        VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                    Litigation
        NO. 100077                    ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.41209 MONICA VALENTINE                        VARIOUS                              Wildfire               UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                  Litigation
        116060RAHUL RAVIPUDI,         ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.41210 MONICA VALENTINE                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                  Litigation
        NO. 71460                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.41211 MONICA VENTURA                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                         Litigation
        296101)ROBERT T. BRYSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41212 MONIKA ANNETTE ZRATE-COOK                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.41213 MONIKA ANNETTE ZRATE-COOK                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41214 MONIKA ANNETTE ZRATE-COOK                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41215 MONIKA ANNETTE ZRATE-COOK                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41216 MONIKA ANNETTE ZRATE-COOK                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41217 MONIKA LYNN MYERS                        VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN AND MILLER LAW FINN     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.41218 MONIKA LYNN MYERS                        VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704



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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41219 MONIKA LYNN MYERS                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.41220 MONIQUE AVILES                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                      Litigation
        BRYSONKEVIN M. POLLACK         ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.41221 MONIQUE AVILES                           VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                               Litigation
        EDGAR LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.41222 MONIQUE FOURNIER                         VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                      Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.41223 MONIQUE GURLUE-GALLEGOS                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41224 MONIQUE GURLUE-GALLEGOS                  VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41225 MONIQUE GURLUE-GALLEGOS                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.41226 MONIQUE GURLUE-GALLEGOS                    VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.41227 MONIQUE GURLUE-GALLEGOS                    VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.41228 MONIQUE JAASMA                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41229 MONIQUE JAASMA                             VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                       Litigation
        (SBN 99126)NATASHA N.            ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41230 MONIQUE JAASMA                          VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.41231 MONIQUE JAASMA                          VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                  Litigation
        248092)JACK W. WEAVER,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.41232 MONIQUE MCGOWAN                         VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                   Litigation
        167700STEVEN S. KANE, ESQ.,   ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.41233 MONIQUE MCGOWAN                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228BRETT R. PARKINSON,    ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.41234 MONIQUE MCGOWAN                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41235 MONIQUE MCGOWAN                         VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                    Litigation
        SBN: 147086                   ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41236 MONQUESE DUBOSE                          VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.41237 MONQUESE DUBOSE                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.41238 MONROE, SANDI                            VARIOUS                              Wildfire               UNDETERMINED
        3025 HOME RD                                                                  Litigation
        SANTA ROSA, CA 95403           ACCOUNT NO.: NOT AVAILABLE


3.41239 MONROY, PAULETTE                         VARIOUS                              Wildfire               UNDETERMINED
        602 WASHINGTON STREET                                                         Litigation
        8                              ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.41240 MONTANA GRACE BROWN                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.41241 MONTANA GRACE BROWN                      VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.41242 MONTANEZ, ALICIA                         VARIOUS                              Wildfire               UNDETERMINED
        4471 MEADOWLARK DR                                                            Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.41243 MONTANEZ, CHRIS                          VARIOUS                              Wildfire               UNDETERMINED
        3671 NORFOLK STREET                                                           Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41244 MONTANEZ, FILBERTA                      VARIOUS                              Wildfire               UNDETERMINED
        1412 N OAK ST                                                                Litigation
        CALISTOGA, CA 94515           ACCOUNT NO.: NOT AVAILABLE


3.41245 MONTANEZ, PEDRO                         VARIOUS                              Wildfire               UNDETERMINED
        1313 SPRING STREET                                                           Litigation
        APT. D                        ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.41246 MONTANEZ, RAFAEL                        VARIOUS                              Wildfire               UNDETERMINED
        38 BRANNAN ST                                                                Litigation
        207                           ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.41247 MONTANO, JUSTINA                        VARIOUS                              Wildfire               UNDETERMINED
        17220 HILLSIDE                                                               Litigation
        SONOMA, CA 94576              ACCOUNT NO.: NOT AVAILABLE


3.41248 MONTEITH, RAYMOND AND                   VARIOUS                              Wildfire               UNDETERMINED
        ROBERTA                                                                      Litigation
        SCOTT SAMMY, ESQ.BRITT K.     ACCOUNT NO.: NOT AVAILABLE
        STROTTMAN, ESQ.JOHN
        FISKE, ESQ.
        BARON & BUDD
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.41249 MONTEITH, RAYMOND AND                   VARIOUS                              Wildfire               UNDETERMINED
        ROBERTA                                                                      Litigation
        JOHN GOMEZAHMED DIAB          ACCOUNT NO.: NOT AVAILABLE
        GOMEZ TRIAL ATTORNEYS
        655 W. BROADWAY, SUITE 1700
        SAN DIEGO, CA 92101


3.41250 MONTENEZ, ROSAURA                       VARIOUS                              Wildfire               UNDETERMINED
        1715 WASHINGTON STREET                                                       Litigation
        34                            ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.41251 MONTEREY INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                      Litigation
        MARK S. GROTEFELDMAURA        ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939



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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41252 MONTEREY INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                      Litigation
        ALAN J. JANG SALLY NOMA       ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.41253 MONTEREY INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                      Litigation
        ERIC M. SCHROEDER (SBN        ACCOUNT NO.: NOT AVAILABLE
        153251) WILLIAM LOSCOTOTL
        (SBN 224638) AMANDA
        STEVENS (SBN 2S23S0)
        SCHROEDER LOSCOTOFF, LLP
        7410 OREENBAVEN DRIVE,
        SUITE 200
        SACRAMENTO, CA 95831


3.41254 MONTEROSSO, STEVE AND                   VARIOUS                              Wildfire               UNDETERMINED
        LAURA                                                                        Litigation
        15391 THOMAS ST               ACCOUNT NO.: NOT AVAILABLE
        GLEN ELLEN, CA 95442


3.41255 MONTES, IMELDA                          VARIOUS                              Wildfire               UNDETERMINED
        40 NEWELL CIRCLE                                                             Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.41256 MONT-ETON, ROBIN                        VARIOUS                              Wildfire               UNDETERMINED
        11532 SHAGRILA LANE                                                          Litigation
        GRASS VALLEY, CA 95949        ACCOUNT NO.: NOT AVAILABLE


3.41257 MONTEVERDI, GEORGE                      VARIOUS                              Wildfire               UNDETERMINED
        1228 ARROYO SARCO                                                            Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE


3.41258 MONTGOMERY, BROCK ELAM;                 VARIOUS                              Wildfire               UNDETERMINED
        (BRYAN NOT ON DEMAND)                                                        Litigation
        ELLIOT ADLER                  ACCOUNT NO.: NOT AVAILABLE
        402 W BROADWAY
        SUITE 860
        SAN DIEGO, CA 92101


3.41259 MONTGOMERY, BROCK ELAM;                 VARIOUS                              Wildfire               UNDETERMINED
        (BRYAN NOT ON DEMAND)                                                        Litigation
        GERALD SINGLETON              ACCOUNT NO.: NOT AVAILABLE
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41260 MONTGOMERY, BROCK ELAM;                 VARIOUS                              Wildfire               UNDETERMINED
        (BRYAN NOT ON DEMAND)                                                        Litigation
        CO-COUNSEL                    ACCOUNT NO.: NOT AVAILABLE
        525 B STREET
        SUITE 1500
        SAN DIEGO, CA 92101


3.41261 MONTGOMERY, BRYAN G.                    VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS                                                        Litigation
        TRUSTEE OF THE BRYAN          ACCOUNT NO.: NOT AVAILABLE
        MONTGOMERY LIVING TRUST)
        (JOSES AND ADAIR)
        GERALD SINGLETON
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41262 MONTGOMERY, BRYAN G.                    VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS                                                        Litigation
        TRUSTEE OF THE BRYAN          ACCOUNT NO.: NOT AVAILABLE
        MONTGOMERY LIVING TRUST)
        (JOSES AND ADAIR)
        STEVEN M. CAMPORA, CATIA G.
        SARAIVA
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41263 MONTGOMERY, BRYAN G.                    VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS                                                        Litigation
        TRUSTEE OF THE BRYAN          ACCOUNT NO.: NOT AVAILABLE
        MONTGOMERY LIVING TRUST)
        (JOSES AND ADAIR)
        ELLIOT ADLER
        402 W BROADWAY
        SUITE 860
        SAN DIEGO, CA 92101


3.41264 MONTGOMERY, BRYAN G.                    VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS                                                        Litigation
        TRUSTEE OF THE BRYAN          ACCOUNT NO.: NOT AVAILABLE
        MONTGOMERY LIVING TRUST)
        (JOSES AND ADAIR)
        CO-COUNSEL
        525 B STREET
        SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.41265 MONTIE WHITEHEAD                       VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                    Litigation
        AMANWILLIAM P. HARRIS        ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.41266 MONTIE WHITEHEAD                       VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                            Litigation
        ABRAHAM, WATKINS, NICHOLS,   ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.41267 MONTY VAN BIBBER                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41268 MONTY VAN BIBBER                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                       Litigation
        SINGLETONERIKA L.            ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41269 MONTY VAN BIBBER                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41270 MONTY VAN BIBBER                       VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.41271 MONTY VAN BIBBER                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.41272 MONVILLE, KYLE                          VARIOUS                              Wildfire               UNDETERMINED
        2422 NORTH VILLAGE DRIVE                                                     Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.41273 MOORE, AMELIA                           VARIOUS                              Wildfire               UNDETERMINED
        4791 TARTON DRIVE                                                            Litigation
        SANTA ROSA, CA 95405          ACCOUNT NO.: NOT AVAILABLE


3.41274 MOORE, BRENT                            VARIOUS                              Wildfire               UNDETERMINED
        8072                                                                         Litigation
        SONOMA HWY                    ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95409


3.41275 MOORE, GEORGE                           VARIOUS                              Wildfire               UNDETERMINED
        90 OAK ISLAND PLACE                                                          Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.41276 MOORE, JOHN CODY;                 VARIOUS                                    Wildfire               UNDETERMINED
        SULLIVAN, SERENE STAR                                                        Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.41277 MOORE, JOHN CODY;                       VARIOUS                              Wildfire               UNDETERMINED
        SULLIVAN, SERENE STAR                                                        Litigation
        ELLIOT ADLERBRITTANY          ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41278 MOORE, JOHN CODY;                       VARIOUS                              Wildfire               UNDETERMINED
        SULLIVAN, SERENE STAR                                                        Litigation
        GERARD SINGLETONERIKA L.      ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.41279 MOORE, WILLIAM                         VARIOUS                              Wildfire               UNDETERMINED
        5451 PINE HILL COURT                                                        Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.41280 MORA, ASHLEY                           VARIOUS                              Wildfire               UNDETERMINED
        2521 COFFEY LN                                                              Litigation
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.41281 MORA, LUZ                              VARIOUS                              Wildfire               UNDETERMINED
        1412 TYARA WAY                                                              Litigation
        SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.41282 MORA, RENE                             VARIOUS                              Wildfire               UNDETERMINED
        2265 COPPERFIELD DR                                                         Litigation
        SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.41283 MORA, RENE                             VARIOUS                              Wildfire               UNDETERMINED
        2265 COPPERFIELD DR,                                                        Litigation
        SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE


3.41284 MORALES, FRANCISCO                     VARIOUS                              Wildfire               UNDETERMINED
        113 W. AGUA CALIENTE RD                                                     Litigation
        SONOMA, CA 95416             ACCOUNT NO.: NOT AVAILABLE


3.41285 MORALES, FRANCISCO                     VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 1845                                                               Litigation
        HOT SPRINGS, CA 95416        ACCOUNT NO.: NOT AVAILABLE


3.41286 MORALES, GERTRUDIS                     VARIOUS                              Wildfire               UNDETERMINED
        906 WASHINGTON ST                                                           Litigation
        APT 10                       ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.41287 MORALES, IRMA                          VARIOUS                              Wildfire               UNDETERMINED
        6778 YOUNT ST APT 2                                                         Litigation
        YOUNTVILLE, CA 94599         ACCOUNT NO.: NOT AVAILABLE


3.41288 MORALES, JOSE                          VARIOUS                              Wildfire               UNDETERMINED
        110 FOOTHILL BLVD                                                           Litigation
        APT 2                        ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.41289 MORALES, SILVIA                        VARIOUS                              Wildfire               UNDETERMINED
        1058 DORRIT AVE                                                             Litigation
        SANTA ROSA, CA 95401         ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.41290 MOREHEAD, SHELLY                             VARIOUS                              Wildfire               UNDETERMINED
        5663 MONTE VERDE DRIVE                                                            Litigation
        SANTA ROSA, CA 95409               ACCOUNT NO.: NOT AVAILABLE


3.41291 MORELLA, BROOKE                              VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 195                                                                        Litigation
        GLEN ELLEN, CA 95442               ACCOUNT NO.: NOT AVAILABLE


3.41292 MORENO, ANGELICA                             VARIOUS                              Wildfire               UNDETERMINED
        594 QUINCE STREET                                                                 Litigation
        WINDSOR, CA 95492                  ACCOUNT NO.: NOT AVAILABLE


3.41293 MORFIN, CAROLINA                             VARIOUS                              Wildfire               UNDETERMINED
        1408 FRANKLIN ST                                                                  Litigation
        APT 3                              ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.41294 Morgan, Lynda Kathleen (Joses);              VARIOUS                              Wildfire               UNDETERMINED
        Morgan, Lynda Kathleen (As                                                        Litigation
        Administrator And Successor In     ACCOUNT NO.: NOT AVAILABLE
        Interest Of The Estate Of Gloria
        Louallen Morgan) (Ashton)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.41295 Morgan, Lynda Kathleen (Joses);              VARIOUS                              Wildfire               UNDETERMINED
        Morgan, Lynda Kathleen (As                                                        Litigation
        Administrator And Successor In     ACCOUNT NO.: NOT AVAILABLE
        Interest Of The Estate Of Gloria
        Louallen Morgan) (Ashton)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.41296 MORGAN, LYNDA KATHLEEN                       VARIOUS                              Wildfire               UNDETERMINED
        (JOSES); MORGAN, LYNDA                                                            Litigation
        KATHLEEN (AS ADMINISTRATOR         ACCOUNT NO.: NOT AVAILABLE
        AND SUCCESSOR IN INTEREST
        OF THE ESTATE OF GLORIA
        LOUALLEN MORGAN) (ASHTON)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41297 MORI, NICOLE                             VARIOUS                              Wildfire               UNDETERMINED
        1519 SILVER TRAIL                                                             Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.41298 MORIA FAVORS                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41299 MORIA FAVORS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41300 MORIA FAVORS                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41301 MORIA FAVORS                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.41302 MORIA FAVORS                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.41303 MORNING STAR GROUP                       VARIOUS                              Wildfire               UNDETERMINED
        ENTERPRISES, LLC (AS DOING                                                    Litigation
        BUSINESS AS HOTEL LEGER)       ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.41304 MORNING STAR GROUP                     VARIOUS                              Wildfire               UNDETERMINED
        ENTERPRISES, LLC (AS DOING                                                  Litigation
        BUSINESS AS HOTEL LEGER)     ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41305 MORNING STAR GROUP                 VARIOUS                                  Wildfire               UNDETERMINED
        ENTERPRISES, LLC (AS DOING                                                  Litigation
        BUSINESS AS HOTEL LEGER)   ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.41306 MORRIS BOBROW                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADIDORIS             ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41307 MORRIS BOBROW                          VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                   Litigation
        BAR #104975)                 ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.41308 MORRIS BOBROW                          VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                   Litigation
        BAR #104975)                 ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104




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Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.41309 MORRIS BOBROW                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADIDORIS               ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41310 MORRIS MARZOLLA                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41311 MORRIS MARZOLLA                          VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.41312 MORRIS MARZOLLA                          VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.41313 MORRIS MARZOLLA                          VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.41314 MORRISON, DANIELLE                       VARIOUS                              Wildfire               UNDETERMINED
        960 ALTRURIA DRIVE                                                            Litigation
        322                            ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403




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Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.41315 MORRISSEY, BONNIE                      VARIOUS                              Wildfire               UNDETERMINED
        8802 OAKMONT DRIVE                                                          Litigation
        SANTA ROSA, CA 95409         ACCOUNT NO.: NOT AVAILABLE


3.41316 MORROW, COLLEEN                        VARIOUS                              Wildfire               UNDETERMINED
        314 LOMITAS LANE                                                            Litigation
        SANTA ROSA, CA 95404         ACCOUNT NO.: NOT AVAILABLE


3.41317 MORTENSON, KARL                        VARIOUS                              Wildfire               UNDETERMINED
        2266 DANCING PENNY WAY                                                      Litigation
        SANTA ROSA, CA 95403         ACCOUNT NO.: NOT AVAILABLE


3.41318 MORTON L. FRIEDKIN                     VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                   Litigation
        BAR #104975)                 ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.41319 MORTON L. FRIEDKIN                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADIDORIS             ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41320 MORTON SWALES                          VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                Litigation
        SCHACKNATASHA N. SERINO      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.41321 MORTON SWALES                          VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                     Litigation
        WEAVER                       ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41322 MORTON SWALES                             VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.41323 MORTON, FELICITY                          VARIOUS                              Wildfire               UNDETERMINED
        (ARMSTRONG); DYKEN,                                                            Litigation
        CORTEZ; LEFLER, SAHARA          ACCOUNT NO.: NOT AVAILABLE
        (THROUGH GAL FELICITY
        MORTON) (COLEMAN)
        DANIEL G. WHALEN
        ENGSTROM LIPSCOMB & LACK
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.41324 MOSS, HOWARD                              VARIOUS                              Wildfire               UNDETERMINED
        2145 VALDES DR                                                                 Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.41325 MOTOKO YAMADA                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.41326 MOTOKO YAMADA                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.41327 MOTOKO YAMADA                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41328 MOTOKO YAMADA                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.41329 MOTOKO YAMADA                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.41330 MOUAT, MICHAEL                            VARIOUS                              Wildfire               UNDETERMINED
        2400 WOODSTOCK CT.                                                             Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.41331 MOULTON, NOREEN                           VARIOUS                              Wildfire               UNDETERMINED
        850 RUSSELL AVE F3                                                             Litigation
        F3                              ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.41332 MOUNT VEEDER SPRINGS LLC                  VARIOUS                              Wildfire               UNDETERMINED
        DAN I. WOLFSAMANTHA R.                                                         Litigation
        MILLER                          ACCOUNT NO.: NOT AVAILABLE
        GILBERT LLP
        1100 NEW YORK AVENUE, NW
        SUITE 700
        WASHINGTON, DC 20005


3.41333 MOUNT VEEDER SPRINGS LLC                  VARIOUS                              Wildfire               UNDETERMINED
        PETER P. MERINGOLO                                                             Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       REBECCA L. KASSEKERT
       GILBERT LLP
       655 MONTGOMERY STREET,
       7TH FLOOR
       SAN FRANCISCO, CA 94111


3.41334 MOUNTAHA MUBARAKA                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41335 MOUNTAHA MUBARAKA                         VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.41336 MOUNTAHA MUBARAKA                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41337 MOUNTAHA MUBARAKA                         VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.41338 MOUNTAIN HOME RANCH                       VARIOUS                              Wildfire               UNDETERMINED
        RESORT                                                                         Litigation
        ERIC GIBBS - BAR NO. 178658     ACCOUNT NO.: NOT AVAILABLE

       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.41339 MOUNTAIN HOME RANCH                       VARIOUS                              Wildfire               UNDETERMINED
        RESORT                                                                         Litigation
        MICHAEL S. DANKO - BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        111359 KRISTINE K.
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.41340 Mountain Home Ranch Resort                     VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Sumble Manzoor- Bar No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.41341 MOUNTAIN HOME RANCH                            VARIOUS                              Wildfire               UNDETERMINED
        RESORT, INC.                                                                        Litigation
        ERIC GIBBS - BAR NO. 178658          ACCOUNT NO.: NOT AVAILABLE

        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41342 Mountain Home Ranch Resort, Inc.               VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Sumble Manzoor- Bar No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.41343 MOUNTAIN HOME RANCH                            VARIOUS                              Wildfire               UNDETERMINED
        RESORT, INC.                                                                        Litigation
        MICHAEL S. DANKO - BAR NO.           ACCOUNT NO.: NOT AVAILABLE
        111359 KRISTINE K.
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41344 MOUNTAIN HOME VINEYARD,                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN STRASSER AND LOUISE                                                       Litigation
        STRASSER DOING BUSINESS AS      ACCOUNT NO.: NOT AVAILABLE
        ANNE ANDREWSJOHN C.
        THORNTONSEAN THOMAS
        HIGGINS
        ANDREWS & THORNTON
        4701 VON KARMAN AVE., SUITE
        300
        NEWPORT BEACH, CALIFORNIA
        92660


3.41345 MOUNTAIN RANCH COMMUNITY                  VARIOUS                              Wildfire               UNDETERMINED
        CLUB, A CALIFORNIA NON-                                                        Litigation
        PROFIT CORPORATION              ACCOUNT NO.: NOT AVAILABLE
        ADDRESS NOT PROVIDED


3.41346 MOWER, MELISSA                            VARIOUS                              Wildfire               UNDETERMINED
        1620 HERBERT ST. APT 33                                                        Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.41347 MOYA, SINDY                               VARIOUS                              Wildfire               UNDETERMINED
        232 ROSEBUD LN                                                                 Litigation
        UNIT A                          ACCOUNT NO.: NOT AVAILABLE
        SAINT HELENA, CA 94574


3.41348 MOYADO, ADRIAN                            VARIOUS                              Wildfire               UNDETERMINED
        2350 MCBRIDE LANE                                                              Litigation
        APT#D26                         ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.41349 MOYLES, THOMAS                            VARIOUS                              Wildfire               UNDETERMINED
        552 RINALDO ST                                                                 Litigation
        SANTA ROSA, CA 95409-2840       ACCOUNT NO.: NOT AVAILABLE


3.41350 MTUWAHAKI PHILLIPS                        VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41351 MTUWAHAKI PHILLIPS                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.41352 MUCHOW, JOHNATHON                         VARIOUS                              Wildfire               UNDETERMINED
        1472 GLENSIDE STREET                                                           Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.41353 MUGAA, APOLLONIA                          VARIOUS                              Wildfire               UNDETERMINED
        P O BOX 6243                                                                   Litigation
        SANTA ROSA, CA 95406            ACCOUNT NO.: NOT AVAILABLE


3.41354 MULANIX, SHIRLEY                          VARIOUS                              Wildfire               UNDETERMINED
        1605 KELLY ST                                                                  Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.41355 MULERT, WILLIAM                           VARIOUS                              Wildfire               UNDETERMINED
        433 OAK VISTA DR                                                               Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.41356 MULFORD, RICHARD                          VARIOUS                              Wildfire               UNDETERMINED
        6211 FORGOTTEN WAY                                                             Litigation
        PARADISE, CA 95969              ACCOUNT NO.: NOT AVAILABLE


3.41357 MULLEN, SCOTT AND                         VARIOUS                              Wildfire               UNDETERMINED
        STEPHANIE                                                                      Litigation
        DARIO DE GHETALDI AMANDA        ACCOUNT NO.: NOT AVAILABLE
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41358 MULLEN, SCOTT AND                         VARIOUS                              Wildfire               UNDETERMINED
        STEPHANIE                                                                      Litigation
        MIKE DANKOKRISTINE              ACCOUNT NO.: NOT AVAILABLE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065



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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.41359 MUMFORD, JANET                                VARIOUS                              Wildfire               UNDETERMINED
        1706 WARM SPRINGS ROAD                                                             Litigation
        GLEN ELLEN, CA 95442                ACCOUNT NO.: NOT AVAILABLE


3.41360 Mundale, Peter F. (As Trustees of             VARIOUS                              Wildfire               UNDETERMINED
        The Peter F. Pamela S. Mundale                                                     Litigation
        Living Trust 2016); Mundale,        ACCOUNT NO.: NOT AVAILABLE
        Pamela S. (As Trustees of The
        Peter F. Pamela S. Mundale Living
        Trust 2016)
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.41361 Mundale, Peter F. (As Trustees of             VARIOUS                              Wildfire               UNDETERMINED
        The Peter F. Pamela S. Mundale                                                     Litigation
        Living Trust 2016); Mundale,        ACCOUNT NO.: NOT AVAILABLE
        Pamela S. (As Trustees of The
        Peter F. Pamela S. Mundale Living
        Trust 2016)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.41362 Mundale, Peter F. (As Trustees of             VARIOUS                              Wildfire               UNDETERMINED
        The Peter F. Pamela S. Mundale                                                     Litigation
        Living Trust 2016); Mundale,        ACCOUNT NO.: NOT AVAILABLE
        Pamela S. (As Trustees of The
        Peter F. Pamela S. Mundale Living
        Trust 2016)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.41363 MUNDY, JOHN                                   VARIOUS                              Wildfire               UNDETERMINED
        8922 ACORN LANE                                                                    Litigation
        SANTA ROSA, CA 95409                ACCOUNT NO.: NOT AVAILABLE


3.41364 MUNGIA DE BAIRES, IRMA                        VARIOUS                              Wildfire               UNDETERMINED
        1510 FOOTHILL BLVD                                                                 Litigation
        CALISTOGA, CA 94515                 ACCOUNT NO.: NOT AVAILABLE


3.41365 MUNGUIA, HENRY                                VARIOUS                              Wildfire               UNDETERMINED
        1429 3RD ST APT 2                                                                  Litigation
        CALISTOGA, CA 94515                 ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41366 MUNGUIA, RANDY                            VARIOUS                              Wildfire               UNDETERMINED
        1443 LAKE STREET                                                               Litigation
        CALISTOGA, CA 94515             ACCOUNT NO.: NOT AVAILABLE


3.41367 MUNOZ, NADIA                              VARIOUS                              Wildfire               UNDETERMINED
        4460 OLD REDWOOD HWY                                                           Litigation
        APT 29                          ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.41368 MUNOZLEDO, ERON                           VARIOUS                              Wildfire               UNDETERMINED
        3697 NORFOLK ST                                                                Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.41369 MUNSON, GERALD ALLAN;                     VARIOUS                              Wildfire               UNDETERMINED
        MARTIN, SUSAN BENKMAN                                                          Litigation
        CO-COUNSEL                      ACCOUNT NO.: NOT AVAILABLE
        525 B STREET
        SUITE 1500
        SAN DIEGO, CA 92101


3.41370 MUNSON, GERALD ALLAN;                     VARIOUS                              Wildfire               UNDETERMINED
        MARTIN, SUSAN BENKMAN                                                          Litigation
        GERALD SINGLETON                ACCOUNT NO.: NOT AVAILABLE
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41371 MUNSON, GERALD ALLAN;                     VARIOUS                              Wildfire               UNDETERMINED
        MARTIN, SUSAN BENKMAN                                                          Litigation
        ELLIOT ADLER                    ACCOUNT NO.: NOT AVAILABLE
        402 W BROADWAY
        SUITE 860
        SAN DIEGO, CA 92101


3.41372 MUNTZER, PAULINE                          VARIOUS                              Wildfire               UNDETERMINED
        5210 SAN LUIS AVE                                                              Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.41373 MURDOCH, KIM                              VARIOUS                              Wildfire               UNDETERMINED
        18509 FAIR OAKS DRIVE                                                          Litigation
        PENN VALLEY, CA 95946           ACCOUNT NO.: NOT AVAILABLE


3.41374 MURISSA ROGERS                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41375 MURISSA ROGERS                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41376 MURISSA ROGERS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41377 MURISSA ROGERS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41378 MURPHY, CATHLEEN                          VARIOUS                              Wildfire               UNDETERMINED
        751 LAUREL STREET                                                              Litigation
        908                             ACCOUNT NO.: NOT AVAILABLE
        SAN CARLOS, CA 94070


3.41379 MURPHY, KAREN                             VARIOUS                              Wildfire               UNDETERMINED
        1722 PAULSON WAY                                                               Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.41380 MURPHY, NICHOLETTE C                      VARIOUS                              Wildfire               UNDETERMINED
        1532 GREAT HERON DR                                                            Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.41381 MURRAY CREEK RANCH                VARIOUS                                      Wildfire               UNDETERMINED
        HOMEOWNERS ASSOCIATION,                                                        Litigation
        INC.                      ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41382 MURRAY CREEK RANCH                        VARIOUS                              Wildfire               UNDETERMINED
        HOMEOWNERS ASSOCIATION,                                                        Litigation
        INC.                            ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41383 MURRAY CREEK RANCH                        VARIOUS                              Wildfire               UNDETERMINED
        HOMEOWNERS ASSOCIATION,                                                        Litigation
        INC.                            ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41384 MURRAY, FORNIE                            VARIOUS                              Wildfire               UNDETERMINED
        17115 PARK AVE                                                                 Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.41385 MURRAY, RAMONA                            VARIOUS                              Wildfire               UNDETERMINED
        1239 STEELE CANYON RD                                                          Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.41386 MURRAY, WILLIAM                           VARIOUS                              Wildfire               UNDETERMINED
        4261 LAKESIDE RD                                                               Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.41387 MUSCHALEK, FRANKLIN H., JR.;              VARIOUS                              Wildfire               UNDETERMINED
        PAMELA K. MUSCHALEK                                                            Litigation
        FRANK M. PITREALISON E.         ACCOUNT NO.: NOT AVAILABLE
        CORDOVA
        COTCHETT PITRE & MCCARTHY
        LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.41388 MUSCHALEK, FRANKLIN H., JR.;              VARIOUS                              Wildfire               UNDETERMINED
        PAMELA K. MUSCHALEK                                                            Litigation
        (TRUSTEES)                      ACCOUNT NO.: NOT AVAILABLE
        FRANK M. PITREALISON E.
        CORDOVA
        COTCHETT PITRE & MCCARTHY
        LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.41389 MUZZINI, JAMES                            VARIOUS                              Wildfire               UNDETERMINED
        3261 SEMINOLE CIR                                                              Litigation
        FAIRFIELD, CA 94534             ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41390 MYCHEL JEFFREY                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41391 MYCHEL JEFFREY                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41392 MYCHEL JEFFREY                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.41393 MYCHEL JEFFREY                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.41394 MYCHEL JEFFREY                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41395 MYERS, CHRISTINA                          VARIOUS                              Wildfire               UNDETERMINED
        957 CREST DR                                                                   Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41396 MYKALYN STAHR                             VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.41397 MYLES HARLAND                             VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                     Litigation
        54426) DANIEL S. ROBINSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.41398 MYLES HARLAND                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41399 MYLES HARLAND                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41400 MYLES HARLAND                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41401 MYLES HARLAND                             VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.41402 MYLIMA ALLEN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41403 MYLIMA ALLEN                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41404 MYLIMA ALLEN                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41405 MYLIMA ALLEN                              VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.41406 MYLIMA ALLEN                              VARIOUS                              Wildfire               UNDETERMINED
        KEVIN 0. MOON, STATE BAR                                                       Litigation
        NO. 246792CHRISTOPHER D.        ACCOUNT NO.: NOT AVAILABLE
        MOON, STATE BAR NO. 246622
        MOON LAW APC
        499 SEAPORT COURT, SUITE 200
        REDWOOD CITY, CALIFORNIA
        94063


3.41407 MYRA WALLACE                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.41408 MYRA WALLACE                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41409 MYRIAM GELBER                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41410 MYRIAM GELBER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41411 MYRIAM GELBER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41412 MYRIAM GELBER                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41413 MYRIAM SHEPARD                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41414 MYRIAM SHEPARD                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.41415 MYRNA L. ANDREWS                          VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.41416 MYRNA L. ANDREWS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41417 NADIA ALRAWI                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.41418 NADIA ALRAWI                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41419 NADIA ALRAWI                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41420 NADIA ALRAWI                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.41421 NADIA ALRAWI                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.41422 NADIA MUNOZ                               VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.41423 NADIA MUNOZ                               VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.41424 NADIA MUNOZ                               VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41425 NADINE FEDASKO                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.41426 NADINE FEDASKO                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41427 NADINE FEDASKO                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41428 NADINE FEDASKO                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41429 NADINE FEDASKO                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41430 NAHABEDIAN, JESSICA                       VARIOUS                              Wildfire               UNDETERMINED
        18048 POPLAR AVE                                                               Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.41431 NAHABEDIAN, JESSICA                       VARIOUS                              Wildfire               UNDETERMINED
        18048 POPLAR AVE                                                               Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41432 NAIFY, JENNIFER ELIZABETH         VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.41433 NAIFY, JENNIFER ELIZABETH                 VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41434 NAIFY, JENNIFER ELIZABETH                 VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41435 NA-IRELAND, KEVIN                         VARIOUS                              Wildfire               UNDETERMINED
        5783 OWL HILL AVE                                                              Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.41436 NAJAT MEDWAY                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.41437 NAJAT MEDWAY                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41438 NAJAT MEDWAY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41439 NAJAT MEDWAY                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41440 NAJAT MEDWAY                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.41441 NANC SAWYER                               VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                     Litigation
        54426) DANIEL S. ROBINSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.41442 NANC SAWYER                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41443 NANC SAWYER                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41444 NANC SAWYER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41445 NANC SAWYER                               VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41446 NANCY ADAMS                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.41447 NANCY ALCOTT                              VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                      Litigation
        SIMES RACHEL B.                 ACCOUNT NO.: NOT AVAILABLE
        ABRAMSMEGHAN E.
        MCCORMICK
        LEVIN SIMES LLP
        44 MONTGOMERY ST., 32ND
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.41448 NANCY ALCOTT                              VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM F. MERLIN, JR.DENISE                                                   Litigation
        HSU SZESTEPHANIE POLI           ACCOUNT NO.: NOT AVAILABLE
        MERLIN LAW GROUP, P.A.
        505 MONTGOMERY ST., 11TH
        FLOOR
        SAN FRANCISCO, CA 94111


3.41449 NANCY BURKEY                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.41450 NANCY BURKEY                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.41451 NANCY BURKEY                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41452 NANCY BURKEY                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.41453 NANCY C. PETTIT                           VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.41454 NANCY C. PETTIT                           VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.41455 NANCY C. PETTIT                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41456 NANCY C. PETTIT                           VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.41457 NANCY CARROLL                             VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41458 NANCY CARROLL                             VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.41459 NANCY CASTILLO                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41460 NANCY CASTILLO                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41461 NANCY CASTILLO                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41462 NANCY CASTILLO                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41463 NANCY ELLIS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41464 NANCY ELLIS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41465 NANCY ELLIS                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41466 NANCY ELLIS                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41467 NANCY HANSEN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41468 NANCY HANSEN                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41469 NANCY HANSEN                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41470 NANCY HANSEN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41471 NANCY HITCHCOCK                      VARIOUS                                   Wildfire               UNDETERMINED
        ELIZABETH J. CABRASERLEXI                                                      Litigation
        J. HAZAMROBERT J.            ACCOUNT NO.: NOT AVAILABLE
        NELSONANNIKA K.
        MARTINABBY R. WOLF
        LIEFF CABRASER HEIMANN &
        BERNSTEIN LLP
        275 BATTERY STREET, 29TH
        FLOOR
        SAN FRANCISCO, CA 94111-3339


3.41472 NANCY HUBBARD                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41473 NANCY HUBBARD                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41474 NANCY HUBBARD                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41475 NANCY HUBBARD                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41476 NANCY HUBBARD                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41477 NANCY HUBBARD                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41478 NANCY HUBBARD                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41479 NANCY HUBBARD                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41480 NANCY KELLEY                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41481 NANCY KELLEY                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41482 NANCY KELLEY                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41483 NANCY KELLEY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41484 NANCY KELLEY                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.41485 NANCY KUHN                                VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.41486 NANCY KUHN                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.41487 NANCY L. EATON                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41488 NANCY L. EATON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41489 NANCY L. EATON                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41490 NANCY L. EATON                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41491 NANCY L. EATON                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.41492 NANCY L. ROMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41493 NANCY L. ROMAN                            VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.41494 NANCY LIEURANCE                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREALISON E.                                                          Litigation
        CORDOVADONALD J.                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.41495 NANCY LIEURANCE                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41496 NANCY LIEURANCE                             VARIOUS                              Wildfire               UNDETERMINED
        TELEPHONE: (650) 697-6000                                                        Litigation
                                          ACCOUNT NO.: NOT AVAILABLE
        FACSIMILE: (650) 697-
        0577FPITRE@CPMLEGAL.COM

        ACORDOVA@CPMLEGAL.COM
        DMAGILLIGAN@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.41497 NANCY LIEURANCE                             VARIOUS                              Wildfire               UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE


3.41498 NANCY LIEURANCE                             VARIOUS                              Wildfire               UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.41499 NANCY MANLEY                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41500 NANCY MANLEY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41501 NANCY MANLEY                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41502 NANCY MANLEY                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41503 NANCY OWENS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41504 NANCY OWENS                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41505 NANCY OWENS                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41506 NANCY OWENS                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41507 NANCY OWENS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41508 NANCY OWENS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41509 NANCY OWENS                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41510 NANCY OWENS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41511 NANCY PHILBRICK                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.41512 NANCY PHILBRICK                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.41513 NANCY PHILBRICK                           VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.41514 NANCY PHILBRICK                           VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41515 NANCY PHILBRICK                           VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41516 NANCY PHILBRICK                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.41517 NANCY ROBERTS BATSON                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.41518 NANCY ROBERTS BATSON                      VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON &PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.41519 NANCY ROBERTS BATSON                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.41520 NANCY ROBERTS BATSON                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.41521 NANCY SEALS                               VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                      Litigation
        160461)                         ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41522 NANCY SEALS                                VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH FEIST -- SBN                                                             Litigation
        249447JONATHAN J.                ACCOUNT NO.: NOT AVAILABLE
        GRIFFITH -- SBN 266891
        NORTHERN CALIFORNIA LAW
        GROUP, PC.
        2611 ESPLANADE
        CHICO, CA 95973


3.41523 NANCY SEALS                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41524 NANCY SEALS                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41525 NANCY SEALS                                VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.41526 NANCY SIDERIS                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                           Litigation
        SIMMONS                          ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.41527 NANCY SIDERIS                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                         Litigation
        R. PARKINSONDANIEL E.            ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41528 NANCY SIDERIS                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                   Litigation
        DEMAS LAW GROUP, P.C.            ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.41529 NANCY SIDERIS                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                              Litigation
        FRIEDEMANN GOLDBERG LLP          ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.41530 NANCY SILVERA                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41531 NANCY SILVERA                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41532 NANCY SILVERA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41533 NANCY SILVERA                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.41534 NANCY SILVERA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41535 NANCY STAPP                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.41536 NANCY STAPP                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41537 NANCY STAPP                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41538 NANCY STAPP                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41539 NANCY STAPP                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41540 NANCY THRASH                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41541 NANCY THRASH                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41542 NANCY THRASH                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41543 NANCY THRASH                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41544 NANCY THRASH                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.41545 NANCY TORRES                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.41546 NANCY TORRES                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.41547 NANCY TUANTHET                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41548 NANCY TUANTHET                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41549 NANCY TUANTHET                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41550 NANCY TUANTHET                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41551 NANCY WISNEWSKI                           VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.41552 NANCY WISNEWSKI                           VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41553 NANCY WISNEWSKI                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.41554 NAOKO JENKINS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.41555 NAOKO JENKINS                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.41556 NAOKO JENKINS                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.41557 NAOMI BALLEJOS                            VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41558 NAOMI BALLEJOS                            VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.41559 NAOMI BALLEJOS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41560 NAOMI BALLEJOS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41561 NAOMI BANUELOS, BY AND                    VARIOUS                              Wildfire               UNDETERMINED
        THROUGH HIS GURADIAN AD                                                        Litigation
        LITEM, DANIEL BANUELOS          ACCOUNT NO.: NOT AVAILABLE
        MARK P. ROBINSON, JR. (SBN
        054426)
        ROBINSON CALCAGNIE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CALIFORNIA
        92660


3.41562 NAOMI BANUELOS, BY AND                    VARIOUS                              Wildfire               UNDETERMINED
        THROUGH HIS GURADIAN AD                                                        Litigation
        LITEM, DANIEL BANUELOS          ACCOUNT NO.: NOT AVAILABLE
        STEVEN M. CAMPORA
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41563 NAOMI BANUELOS, BY AND                    VARIOUS                              Wildfire               UNDETERMINED
        THROUGH HIS GURADIAN AD                                                        Litigation
        LITEM, DANIEL BANUELOS          ACCOUNT NO.: NOT AVAILABLE
        MARY E. ALEXANDER, ESQ.
        (SBN: 104173)
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.41564 NAOMI BANUELOS, BY AND                    VARIOUS                              Wildfire               UNDETERMINED
        THROUGH HIS GURADIAN AD                                                        Litigation
        LITEM, DANIEL BANUELOS          ACCOUNT NO.: NOT AVAILABLE
        CATHERINE LOMBARDO (SBN #
        160461)
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.41565 NAOMI BANUELOS, BY AND                    VARIOUS                              Wildfire               UNDETERMINED
        THROUGH HIS GURADIAN AD                                                        Litigation
        LITEM, DANIEL BANUELOS          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLY
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41566 NAOMI E. MCGUINN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41567 NAOMI E. MCGUINN                          VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41568 NAOMI RYAN                                VARIOUS                              Wildfire               UNDETERMINED
        VICTOR                                                                         Litigation
        JACOBELLISSTEPHANIE POLI        ACCOUNT NO.: NOT AVAILABLE
        MERLIN LAW GROUP, P.A.
        505 MONTGOMERY ST., 11TH
        FLOOR
        SAN FRANCISCO, CA 94111


3.41569 NAOMI RYAN                                VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                      Litigation
        SIMES RACHEL B.                 ACCOUNT NO.: NOT AVAILABLE
        ABRAMSAMY ESKINMEGHAN
        E. MCCORMICK
        LEVIN SIMES LLP
        44 MONTGOMERY ST., 32ND
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.41570 NAPA COUNTY                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.41571 NAPA COUNTY                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P.             ACCOUNT NO.: NOT AVAILABLE
        FISKETORRI SHERLIN
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.41572 NAPA COUNTY                               VARIOUS                              Wildfire               UNDETERMINED
        JEFFREY M. RICHARD, ACTING                                                     Litigation
        COUNTY COUNSELJASON M.          ACCOUNT NO.: NOT AVAILABLE
        DOOLEY
        NAPA COUNTY COUNSEL
        1195 THIRD STREET, SUITE 301
        NAPA, CALIFORNIA 94559


3.41573 NAPA COUNTY                               VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS         ACCOUNT NO.: NOT AVAILABLE
        II
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41574 NAPA COUNTY                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH AVENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.41575 NAPA COUNTY                               VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.41576 NARANJO, LUIS                             VARIOUS                              Wildfire               UNDETERMINED
        2725 SOSCOL AVE                                                                Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.41577 NARS, FOR AXIS CAPITAL-                   VARIOUS                              Wildfire               UNDETERMINED
        WAGON WHEEL SALOON                                                             Litigation
        CA 0                            ACCOUNT NO.: NOT AVAILABLE


3.41578 NATALE LIMA                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41579 NATALE LIMA                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41580 NATALE LIMA                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.41581 NATALE LIMA                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.41582 NATALE MURAD                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.41583 NATALE MURAD                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.41584 NATALE MURAD                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41585 NATALE MURAD                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.41586 NATALE MURAD                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41587 NATALIA PADILLA                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.41588 NATALIA PADILLA                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.41589 NATALIA PADILLA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41590 NATALIA PADILLA                           VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41591 NATALIE CARR                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ.,COELL                                                      Litigation
        M. SIMMONS, ESQ.,               ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.41592 NATALIE CARR                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       BRETT R. PARKINSON, ESQ.,

       DANIEL E. PASSMORE, ESQ.,
       JACKSON & PARKINSON, TRIAL
       LAWYERS
       205 WEST ALVARADO STREET
       FALLBROOK, CALIFORNIA 92028


3.41593 NATALIE CARR                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        FRICDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.41594 NATALIE CARR                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS, ESQ.,                                                           Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.41595 NATALIE CHUPIL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41596 NATALIE CHUPIL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41597 NATALIE CHUPIL                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41598 NATALIE CHUPIL                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41599 NATALIE CONNOLLY                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.41600 NATALIE CONNOLLY                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.41601 NATALIE CORONADO                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41602 NATALIE CORONADO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.41603 NATALIE CORONADO                           VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.41604 NATALIE CORONADO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41605 NATALIE CORONADO                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.41606 NATALIE FOX                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41607 NATALIE FOX                                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                           Litigation
        SINGLETONERIKA L.                ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41608 NATALIE FOX                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41609 NATALIE FOX                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41610 NATALIE FOX                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.41611 NATALIE GAYTAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41612 NATALIE GAYTAN                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.41613 NATALIE GAYTAN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41614 NATALIE GAYTAN                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                     Litigation
         REINER, SLAUGHTER &             ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.41615 NATALIE GETSINGER                          VARIOUS                              Wildfire               UNDETERMINED
        J. GARY GWILLIAMRANDALL E.                                                      Litigation
        STRAUSSROBERT J.                 ACCOUNT NO.: NOT AVAILABLE
        SCHWARTZ
        GWILLIAM, IVARY, CHIOSSO,
        CAVALLI & BREWER
        1999 HARRISON ST., SUITE 1600,
        OAKLAND, CA 94612


3.41616 NATALIE GETSINGER                          VARIOUS                              Wildfire               UNDETERMINED
        OMAR I. HABBAS                                                                  Litigation
        HABBAS & ASSOCIATES              ACCOUNT NO.: NOT AVAILABLE
        675 N. FIRST STREET, SUITE
        1000
        SAN JOSE, CA 95112


3.41617 NATALIE GETSINGER                          VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                              Litigation
        DANIELS LAW                      ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.41618 NATALIE GOSPE                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERRENCE                                                        Litigation
        D. EDWARDS                       ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CA 94104


3.41619 NATALIE GOSPE                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNS JONATHAN                                                         Litigation
        E. DAVIS KEVIN M. OSBORNE        ACCOUNT NO.: NOT AVAILABLE

       SHOUNAK S. DHARAP
       THE ARNS LAW FIRM A
       PROFESSIONAL CORPORATION
       515 FOLSOM STREET, 3RD
       FLOOR
       SAN FRANCISCO, CALIFORNIA
       94105




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41620 NATALIE GRACE KELLY                        VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                   Litigation
        TOSDAL LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.41621 NATALIE GRACE KELLY                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                             Litigation
        MICHAEL S. FEINBERG, APLC        ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.41622 NATALIE GRACE KELLY                        VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                        Litigation
        60768GAYLE M. BLATT, SBN         ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.41623 NATALIE HOFFMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.41624 NATALIE HOFFMAN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41625 NATALIE HOFFMAN                            VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41626 NATALIE HOFFMAN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41627 NATALIE HOFFMAN                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.41628 NATALIE LASKER                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNS JONATHAN                                                        Litigation
        E. DAVIS KEVIN M. OSBORNE       ACCOUNT NO.: NOT AVAILABLE

       SHOUNAK S. DHARAP
       THE ARNS LAW FIRM A
       PROFESSIONAL CORPORATION
       515 FOLSOM STREET, 3RD
       FLOOR
       SAN FRANCISCO, CALIFORNIA
       94105


3.41629 NATALIE MORA                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.41630 NATALIE MORA                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.41631 NATALIE MORA                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.41632 NATALIE MORA                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                               Litigation
        FRIEDEMANN GOLDBERG LLP           ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.41633 NATALIE PORTIS                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                          Litigation
        COTCHETTALISON E.                 ACCOUNT NO.: NOT AVAILABLE
        CORDOVAACORDOVA@CPMLE
        GAL.COM
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.41634 NATALIE PORTIS                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORAROBERT                                                          Litigation
        A. BUCCOLACATIA G. SARAIVA        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41635 NATALIE PORTIS                              VARIOUS                              Wildfire               UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.41636 NATALIE PORTIS                              VARIOUS                              Wildfire               UNDETERMINED
        TELEPHONE: (650) 697-                                                            Litigation
        6000FACSIMILE: (650) 697-         ACCOUNT NO.: NOT AVAILABLE
        0577FPITRE@CPMLEGAL.COM

        JCOTCHETT@CPMLEGAL.COM
        JCOTCHETT@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.41637 NATALIE PORTIS                              VARIOUS                              Wildfire               UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41638 NATALIE REYNOSO                           VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                             Litigation
        ESQJENNIFER L. FIORE, ESQ       ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.41639 NATALIE WALKES                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.41640 NATALIE WYATT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41641 NATALIE WYATT                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41642 NATALIE WYATT                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41643 NATALIE WYATT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41644 NATALINO FERLITO                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.41645 NATALINO FERLITO                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                         Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.41646 NATALINO FERLITO                          VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.41647 NATASHA COLE                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                        Litigation
        COTCHETTDONALD                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE & MCCARTHY
        LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41648 NATASHA COLE                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                       Litigation
        SBN: 110909ROBERT A.            ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41649 NATASHA SUNSHINE-ANTONIONI         VARIOUS                                     Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ    ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.41650 NATASHA SUNSHINE-ANTONIONI         VARIOUS                                     Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE  ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.41651 NATASHA SUNSHINE-ANTONIONI         VARIOUS                                     Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON    ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41652 NATASHA SUNSHINE-ANTONIONI           VARIOUS                                   Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                     ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41653 NATASHA SUNSHINE-ANTONIONI          VARIOUS                                     Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                      Litigation
        (SBN 69176)IAN C.           ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.41654 NATE GARRISON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41655 NATE GARRISON                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41656 NATE GARRISON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.41657 NATE GARRISON                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.41658 NATE GARRISON                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41659 NATHAN BRAVO                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41660 NATHAN BRAVO                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                     Litigation
        87492WILLIAM P. HARRIS III,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.41661 NATHAN BRAVO                              VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                    Litigation
        SBN 119554MICHAEL H.            ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41662 NATHAN BRAVO                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41663 NATHAN BRAVO                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41664 NATHAN DEAL                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41665 NATHAN DEAL                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41666 NATHAN DEAL                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41667 NATHAN DEAL                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41668 NATHAN GORNEY                             VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.41669 NATHAN LOW                                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41670 NATHAN LOW                                VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.41671 NATHAN NINE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41672 NATHAN NINE                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.41673 NATHAN NINE                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.41674 NATHAN NINE                               VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.41675 NATHAN PUTTOCK                            VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                         Litigation
        SHEARJASON BOYER                ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41676 NATHAN PUTTOCK                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.41677 NATHAN PUTTOCK                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41678 NATHAN PUTTOCK                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.41679 NATHAN PUTTOCK                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41680 NATHAN RODRIGUEZ                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                       Litigation
        MARTINI                          ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.41681 NATHAN RODRIGUEZ                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41682 NATHAN RODRIGUEZ                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41683 NATHAN RODRIGUEZ                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41684 NATHAN RODRIGUEZ                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41685 NATHAN S KRAUS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.41686 NATHAN S KRAUS                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41687 NATHAN S KRAUS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Schedule E/F: Creditors Who Have Unsecured Claims
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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41688 NATHAN S KRAUS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41689 NATHAN S KRAUS                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41690 NATHAN SEABOURN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41691 NATHAN SEABOURN                           VARIOUS                              Wildfire               UNDETERMINED
        KEVIN 0. MOON, STATE BAR                                                       Litigation
        NO. 246792CHRISTOPHER D.        ACCOUNT NO.: NOT AVAILABLE
        MOON, STATE BAR NO. 246622
        MOON LAW APC
        499 SEAPORT COURT, SUITE 200
        REDWOOD CITY, CALIFORNIA
        94063


3.41692 NATHAN SEABOURN                           VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.41693 NATHAN SEABOURN                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41694 NATHAN SEABOURN                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41695 NATHAN SEEMAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.41696 NATHAN SEEMAN                             VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDTMIKAL C. WATTSGUY          ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.41697 NATHAN SEEMAN                             VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.41698 NATHAN TOWERS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41699 NATHAN TOWERS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41700 NATHAN TOWERS                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.41701 NATHAN TOWERS                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.41702 NATHAN TOWERS                                  VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                            Litigation
        #117228                              ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.41703 NATHAN TOWERS                                  VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                            Litigation
        #117228                              ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.41704 NATHAN TOWERS                                  VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                         Litigation
         REINER, SLAUGHTER &                 ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.41705 NATHAN TOWERS                                  VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                         Litigation
         REINER, SLAUGHTER &                 ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.41706 Nathan, Randall; Calaveras Creek               VARIOUS                              Wildfire               UNDETERMINED
        LLC; Rosaire Properties, Inc.; Tap                                                  Litigation
        Wine Systems, Inc. (Norfolk);        ACCOUNT NO.: NOT AVAILABLE
        Weinstein, Sidney (Individually,
        And As A Representative Of
        Pauline's Pizza) (Joses)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.41707 Nathan, Randall; Calaveras Creek               VARIOUS                              Wildfire               UNDETERMINED
        LLC; Rosaire Properties, Inc.; Tap                                                  Litigation
        Wine Systems, Inc. (Norfolk);        ACCOUNT NO.: NOT AVAILABLE
        Weinstein, Sidney (Individually,
        And As A Representative Of
        Pauline's Pizza) (Joses)
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.41708 Nathan, Randall; Calaveras Creek               VARIOUS                              Wildfire               UNDETERMINED
        LLC; Rosaire Properties, Inc.; Tap                                                  Litigation
        Wine Systems, Inc. (Norfolk);        ACCOUNT NO.: NOT AVAILABLE
        Weinstein, Sidney (Individually,
        And As A Representative Of
        Pauline's Pizza) (Joses)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.41709 NATHANIEL FREY                                 VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                               Litigation
        208783)ERIKA L. VASQUEZ              ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.41710 NATHANIEL FREY                                 VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                                Litigation
        VICEPENDING)JOHN P. FISKE            ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.41711 NATHANIEL FREY                                 VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                          Litigation
        583 I 6)                             ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.41712 NATHANIEL FREY                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                          Litigation
        (SBN 69176)IAN C.                    ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41713 NATHANIEL FREY                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41714 NATHANIEL RISLEY                          VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                    Litigation
        9858)JESSICA W. HAYES.,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.41715 NATHANIEL RISLEY                          VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                    Litigation
        248092)JACK W. WEAVER,          ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.41716 NATHANIEL RISLEY                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41717 NATHANIEL RISLEY                          VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                      Litigation
        (SBN 99126)NATASHA N.           ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41718 NATHANIEL WARWICK                          VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.41719 NATHANIEL WARWICK                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41720 NATHANIEL WARWICK                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.41721 NATHANIEL WARWICK                          VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.41722 NATHANIEL WARWICK                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41723 NATIONAL CASUALTY CO.                      VARIOUS                              Wildfire               UNDETERMINED
        MAURA WALSH                                                                     Litigation
        OCHOAWAYLON J.                   ACCOUNT NO.: NOT AVAILABLE
        PICKETTMARK S. GROTEFELD
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING CIR.,
        SUITE 280
        LARKSPUR, CA 94939




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Including Zip Code                             Account Number                             Claim

Wildfire Claims

3.41724 NATIONAL CASUALTY CO.                      VARIOUS                              Wildfire               UNDETERMINED
        CRAIG S. SIMON (SBN 78158)                                                      Litigation
        BERGER KAHN, A LAW              ACCOUNT NO.: NOT AVAILABLE
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.41725 NATIONAL CASUALTY COMPANY                  VARIOUS                              Wildfire               UNDETERMINED
        MARK S. GROTEFELDMAURA                                                          Litigation
        WALSH OCHOA WAYLON J.           ACCOUNT NO.: NOT AVAILABLE
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.41726 NATIONAL CASUALTY COMPANY                  VARIOUS                              Wildfire               UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                         Litigation
        JANG & ASSOCIATES LLP           ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.41727 NATIONAL CASUALTY COMPANY                  VARIOUS                              Wildfire               UNDETERMINED
        CRAIG S. SIMON                                                                  Litigation
        BERGER KHAN, A LAW              ACCOUNT NO.: NOT AVAILABLE
        CORPORATION
        1 PARK PLAZA, SUITE 340

       IRVINE, CALIFORNIA 92614-8516


3.41728 National Fire & Marine Insurance            VARIOUS                             Wildfire               UNDETERMINED
        Company                                                                         Litigation
        Paul A. Casetta (Pro Hac            ACCOUNT NO.: NOT AVAILABLE
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, CAlifornia 90067


3.41729 NATIONAL FIRE INSURANCE OF                 VARIOUS                              Wildfire               UNDETERMINED
        HARTFORD                                                                        Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


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Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.41730 NATIONAL FIRE INSURANCE OF                   VARIOUS                              Wildfire               UNDETERMINED
        HARTFORD                                                                          Litigation
        HOWARD D. MAYCON                   ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.41731 NATIONAL FIRE INSURANCE OF                   VARIOUS                              Wildfire               UNDETERMINED
        HARTFORD                                                                          Litigation
        ALAN J. JANG SALLY NOMA            ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.41732 NATIONAL GENERAL                             VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                                 Litigation
        CRAIG S. SIMON (SBN 78158)         ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.41733 NATIONAL GENERAL                             VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                                 Litigation
        CRAIG S. SIMON                     ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.41734 National General Insurance                   VARIOUS                              Wildfire               UNDETERMINED
        Company; Integon National                                                         Litigation
        Insurance Company; Tower Select    ACCOUNT NO.: NOT AVAILABLE
        Insurance Company; QBE
        Specialty Insurance Company;
        General Casualty Company of
        Wisconsin; IDS Property Casualty
        Insurance Company
        HOWARD D. MAYCON
        601 S FIGUEROA STREET
        SUITE 3700
        LOS ANGELES, CA 90017




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.41735 National General Insurance                     VARIOUS                              Wildfire               UNDETERMINED
        Company; Integon National                                                           Litigation
        Insurance Company; Tower Select      ACCOUNT NO.: NOT AVAILABLE
        Insurance Company; QBE
        Specialty Insurance Company;
        General Casualty Company of
        Wisconsin; IDS Property Casualty
        Insurance Company
        KEVIN D. BUSH
        501 WEST BROADWAY
        SUITE 1610
        SAN DIEGO, CA 92101


3.41736 National General Insurance                     VARIOUS                              Wildfire               UNDETERMINED
        Company; Integon National                                                           Litigation
        Insurance Company; Tower Select      ACCOUNT NO.: NOT AVAILABLE
        Insurance Company; QBE
        Specialty Insurance Company;
        General Casualty Company of
        Wisconsin; IDS Property Casualty
        Insurance Company
        Howard D. Maycon
        COZEN O'CONNOR
        601 S. Figueroa Street, Suite 3700
        Los Angeles, CA 90017


3.41737 National General Insurance                     VARIOUS                              Wildfire               UNDETERMINED
        Company; Integon National                                                           Litigation
        Insurance Company; Tower Select      ACCOUNT NO.: NOT AVAILABLE
        Insurance Company; QBE
        Specialty Insurance Company;
        General Casualty Company of
        Wisconsin; IDS Property Casualty
        Insurance Company
        Kevin D. Bush
        Cozen O'Connor
        501 West Broadway, Suite 1610
        San Diego, CA 92101


3.41738 NATIONAL SURETY                                VARIOUS                              Wildfire               UNDETERMINED
        CORPORATION                                                                         Litigation
        THOMAS M. REGAN (SBN                 ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41739 NATIONAL SURETY                           VARIOUS                              Wildfire               UNDETERMINED
        CORPORATION                                                                    Litigation
        HOWARD D. MAYCON                ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.41740 NATIONAL SURETY                           VARIOUS                              Wildfire               UNDETERMINED
        CORPORATION                                                                    Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.41741 NATIONAL SURETY                           VARIOUS                              Wildfire               UNDETERMINED
        CORPORATION                                                                    Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.41742 NATIONAL UNION FIRE                       VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY OF                                                           Litigation
        PITTSBURGH, PA                  ACCOUNT NO.: NOT AVAILABLE
        MAURA WALSH OCHOA (SBN
        193799)WAYLON J. PICKETT
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.41743 NATIONAL UNION FIRE                       VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY OF                                                           Litigation
        PITTSBURGH, PA                  ACCOUNT NO.: NOT AVAILABLE
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41744 NATIONAL UNION FIRE                       VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY OF                                                           Litigation
        PITTSBURGH, PA                  ACCOUNT NO.: NOT AVAILABLE
        MAURA WALSH OCHOA

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.41745 NATIONAL UNION FIRE                       VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY OF                                                           Litigation
        PITTSBURGH, PA                  ACCOUNT NO.: NOT AVAILABLE
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.41746 NATIONWIDE AFFINITY                       VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE CO.                                                                  Litigation
        MAURA WALSH                     ACCOUNT NO.: NOT AVAILABLE
        OCHOAWAYLON J.
        PICKETTMARK S. GROTEFELD
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING CIR.,
        SUITE 280
        LARKSPUR, CA 94939


3.41747 NATIONWIDE AFFINITY                       VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE CO.                                                                  Litigation
        CRAIG S. SIMON (SBN 78158)      ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.41748 NATIONWIDE AFFINITY                       VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41749 NATIONWIDE AFFINITY                       VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340

       IRVINE, CALIFORNIA 92614-8516


3.41750 NATIONWIDE AFFINITY                       VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MARK S. GROTEFELDMAURA          ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.41751 NATIONWIDE AGRIBUSINESS                   VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MARK S. GROTEFELDMAURA          ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.41752 NATIONWIDE AGRIBUSINESS                   VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.41753 NATIONWIDE AGRIBUSINESS                   VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340

       IRVINE, CALIFORNIA 92614-8516




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41754 NATIONWIDE AGRIBUSINESS                   VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE- NAIC                                                                Litigation
        MAURA WALSH                     ACCOUNT NO.: NOT AVAILABLE
        OCHOAWAYLON J.
        PICKETTMARK S. GROTEFELD
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING CIR.,
        SUITE 280
        LARKSPUR, CA 94939


3.41755 NATIONWIDE AGRIBUSINESS                   VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE- NAIC                                                                Litigation
        CRAIG S. SIMON (SBN 78158)      ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.41756 NATIONWIDE AGRIBUSINESS                   VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE-NAIC                                                                 Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.41757 NATIONWIDE AGRIBUSINESS                   VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE-NAIC                                                                 Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340

       IRVINE, CALIFORNIA 92614-8516


3.41758 NATIONWIDE AGRIBUSINESS                   VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE-NAIC                                                                 Litigation
        MARK S. GROTEFELDMAURA          ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41759 NATIONWIDE GENERAL                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE CO.                                                                  Litigation
        CRAIG S. SIMON (SBN 78158)      ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.41760 NATIONWIDE GENERAL                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE CO.                                                                  Litigation
        MAURA WALSH                     ACCOUNT NO.: NOT AVAILABLE
        OCHOAWAYLON J.
        PICKETTMARK S. GROTEFELD
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING CIR.,
        SUITE 280
        LARKSPUR, CA 94939


3.41761 NATIONWIDE GENERAL                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340

       IRVINE, CALIFORNIA 92614-8516


3.41762 NATIONWIDE GENERAL                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MARK S. GROTEFELDMAURA          ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.41763 NATIONWIDE GENERAL                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.41764 NATIONWIDE INDEMNITY CO.                  VARIOUS                              Wildfire               UNDETERMINED
        CRAIG S. SIMON (SBN 78158)                                                     Litigation
        BERGER KAHN, A LAW              ACCOUNT NO.: NOT AVAILABLE
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41765 NATIONWIDE INDEMNITY CO.                  VARIOUS                              Wildfire               UNDETERMINED
        MAURA WALSH                                                                    Litigation
        OCHOAWAYLON J.                  ACCOUNT NO.: NOT AVAILABLE
        PICKETTMARK S. GROTEFELD
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING CIR.,
        SUITE 280
        LARKSPUR, CA 94939


3.41766 NATIONWIDE INDEMNITY                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.41767 NATIONWIDE INDEMNITY                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340

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3.41768 NATIONWIDE INDEMNITY                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        MARK S. GROTEFELDMAURA          ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.41769 NATIONWIDE INSURANCE CO.                  VARIOUS                              Wildfire               UNDETERMINED
        OF AMERICA                                                                     Litigation
        CRAIG S. SIMON (SBN 78158)      ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41770 NATIONWIDE INSURANCE CO.                  VARIOUS                              Wildfire               UNDETERMINED
        OF AMERICA                                                                     Litigation
        MAURA WALSH                     ACCOUNT NO.: NOT AVAILABLE
        OCHOAWAYLON J.
        PICKETTMARK S. GROTEFELD
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING CIR.,
        SUITE 280
        LARKSPUR, CA 94939


3.41771 NATIONWIDE INSURANCE COMP                 VARIOUS                              Wildfire               UNDETERMINED
        ANY OF AMERICA                                                                 Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340

       IRVINE, CALIFORNIA 92614-8516


3.41772 NATIONWIDE INSURANCE COMP                 VARIOUS                              Wildfire               UNDETERMINED
        ANY OF AMERICA                                                                 Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.41773 NATIONWIDE INSURANCE COMP                 VARIOUS                              Wildfire               UNDETERMINED
        ANY OF AMERICA                                                                 Litigation
        MARK S. GROTEFELDMAURA          ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.41774 NATIONWIDE JOINT                          VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITING                                                                   Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41775 NATIONWIDE JOINT                          VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITING                                                                   Litigation
        MAURA WALSH                     ACCOUNT NO.: NOT AVAILABLE
        OCHOAWAYLON J.
        PICKETTMARK S. GROTEFELD
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING CIR.,
        SUITE 280
        LARKSPUR, CA 94939


3.41776 NATIONWIDE JOINT                          VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITING                                                                   Litigation
        CRAIG S. SIMON (SBN 78158)      ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.41777 NATIONWIDE JOINT                          VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITING                                                                   Litigation
        MARK S. GROTEFELDMAURA          ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.41778 NATIONWIDE JOINT                          VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITING                                                                   Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340

       IRVINE, CALIFORNIA 92614-8516


3.41779 NATIONWIDE LLOYDS                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE CO.                                                                  Litigation
        CRAIG S. SIMON (SBN 78158)      ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41780 NATIONWIDE LLOYDS                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE CO.                                                                  Litigation
        MAURA WALSH                     ACCOUNT NO.: NOT AVAILABLE
        OCHOAWAYLON J.
        PICKETTMARK S. GROTEFELD
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING CIR.,
        SUITE 280
        LARKSPUR, CA 94939


3.41781 NATIONWIDE LLOYDS                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.41782 NATIONWIDE LLOYDS                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340

       IRVINE, CALIFORNIA 92614-8516


3.41783 NATIONWIDE LLOYDS                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MARK S. GROTEFELDMAURA          ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.41784 NATIONWIDE MUTUAL FIRE                    VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE CO.                                                                  Litigation
        MAURA WALSH                     ACCOUNT NO.: NOT AVAILABLE
        OCHOAWAYLON J.
        PICKETTMARK S. GROTEFELD
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING CIR.,
        SUITE 280
        LARKSPUR, CA 94939




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41785 NATIONWIDE MUTUAL FIRE                    VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE CO.                                                                  Litigation
        CRAIG S. SIMON (SBN 78158)      ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.41786 NATIONWIDE MUTUAL FIRE                    VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340

       IRVINE, CALIFORNIA 92614-8516


3.41787 NATIONWIDE MUTUAL FIRE                    VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.41788 NATIONWIDE MUTUAL FIRE                    VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MARK S. GROTEFELDMAURA          ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.41789 NATIONWIDE MUTUAL                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE CO.                                                                  Litigation
        MAURA WALSH                     ACCOUNT NO.: NOT AVAILABLE
        OCHOAWAYLON J.
        PICKETTMARK S. GROTEFELD
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING CIR.,
        SUITE 280
        LARKSPUR, CA 94939




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41790 NATIONWIDE MUTUAL                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE CO.                                                                  Litigation
        CRAIG S. SIMON (SBN 78158)      ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.41791 NATIONWIDE MUTUAL                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        THOMAS M. REGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.41792 NATIONWIDE MUTUAL                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MARK S. GROTEFELDMAURA          ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.41793 NATIONWIDE MUTUAL                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340

       IRVINE, CALIFORNIA 92614-8516


3.41794 NATIONWIDE MUTUAL                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




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Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.41795 Nationwide Mutual Insurance                   VARIOUS                              Wildfire               UNDETERMINED
        Company; Nationwide Mutual Fire                                                    Litigation
        Insurance Company; Nationwide       ACCOUNT NO.: NOT AVAILABLE
        Agribusiness Insurance Company;
        Nationwide Insurance Company of
        America ; AMCO Insurance
        Company; Allied Property &
        Casualty Insurance Company;
        Victoria Insurance Co
        R. WESLEY BEAVERS, JOHN
        RUTAN, JEFFERY A. KORINKO
        4685 MACARTHUR COURT
        SUITE 200
        NEWPORT BEACH, CA 92660


3.41796 Nationwide Mutual Insurance                   VARIOUS                              Wildfire               UNDETERMINED
        Company; Nationwide Mutual Fire                                                    Litigation
        Insurance Company; Nationwide       ACCOUNT NO.: NOT AVAILABLE
        Agribusiness Insurance Company;
        Nationwide Insurance Company of
        America ; AMCO Insurance
        Company; Allied Property &
        Casualty Insurance Company;
        Victoria Insurance Co
        R. Wesley BeaversJohn
        RutanJeffrey A. Korinko
        Law Offices of Mccarthy & Beavers
        4685 MacArthur Court, Suite 200
        Newport Beach, CA 92660


3.41797 NATIONWIDE PROPERTY &                         VARIOUS                              Wildfire               UNDETERMINED
        CASUALTY INSURANCE CO.                                                             Litigation
        CRAIG S. SIMON (SBN 78158)          ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.41798 NATIONWIDE PROPERTY &                         VARIOUS                              Wildfire               UNDETERMINED
        CASUALTY INSURANCE CO.                                                             Litigation
        MAURA WALSH                         ACCOUNT NO.: NOT AVAILABLE
        OCHOAWAYLON J.
        PICKETTMARK S. GROTEFELD
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING CIR.,
        SUITE 280
        LARKSPUR, CA 94939




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41799 NATIONWIDE PROPERTY &                     VARIOUS                              Wildfire               UNDETERMINED
        CASUALTY INSURANCE COMP                                                        Litigation
        ANY                             ACCOUNT NO.: NOT AVAILABLE
        CRAIG S. SIMON
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340

       IRVINE, CALIFORNIA 92614-8516


3.41800 NATIONWIDE PROPERTY &                     VARIOUS                              Wildfire               UNDETERMINED
        CASUALTY INSURANCE COMP                                                        Litigation
        ANY                             ACCOUNT NO.: NOT AVAILABLE
        MARK S. GROTEFELDMAURA
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.41801 NATIONWIDE PROPERTY &                     VARIOUS                              Wildfire               UNDETERMINED
        CASUALTY INSURANCE COMP                                                        Litigation
        ANY                             ACCOUNT NO.: NOT AVAILABLE
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.41802 NATIVIDAD JOSE POMPA                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41803 NATIVIDAD JOSE POMPA                      VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41804 NATIVIDAD JOSE POMPA                      VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.41805 NATIVIDAD JOSE POMPA                      VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.41806 NATIVIDAD LOPEZ-GUERRERO                  VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.41807 NATIVIDAD LOPEZ-GUERRERO                  VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.41808 NATIVIDAD ORTEGA                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.41809 NATIVIDAD ORTEGA                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41810 NATIVIDAD ORTEGA                          VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FINN      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.41811 NAUTILUS INSURANCE                        VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        CRAIG S. SIMON (SBN 78158)      ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.41812 NAUTILUS INSURANCE                        VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        HOWARD D. MAYCON                ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.41813 NAUTILUS INSURANCE                        VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.41814 NAUTILUS INSURANCE                        VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.41815 NAVARRO, GRACE                            VARIOUS                              Wildfire               UNDETERMINED
        324 MIRAMONTE WAY                                                              Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.41816 NAVARRO, SARAH                            VARIOUS                              Wildfire               UNDETERMINED
        2791 MCBRIDE LN                                                                Litigation
        202                             ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.41817 NAVONE, CHRISTINA                         VARIOUS                              Wildfire               UNDETERMINED
        5 HIDDEN SPRINGS ROAD                                                          Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41818 NAYTA SAETURN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41819 NAYTA SAETURN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41820 NAYTA SAETURN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41821 NAYTA SAETURN                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41822 NEAL B BALLESTAD                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41823 NEAL B BALLESTAD                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41824 NEAL B BALLESTAD                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41825 NEAL B BALLESTAD                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41826 NEAL B BALLESTAD                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                       Litigation
        MARTINI                          ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.41827 NEALLEY, ELAINE                            VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 1164                                                                     Litigation
        GLEN ELLEN, CA 95442             ACCOUNT NO.: NOT AVAILABLE


3.41828 NEATIA DUCOMMUN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.41829 NEATIA DUCOMMUN                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.41830 NEATIA DUCOMMUN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41831 NEATIA DUCOMMUN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41832 NEATIA DUCOMMUN                           VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                           Litigation
        #109455LAURA E. BROWN           ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.41833 NED CAUSIN                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.41834 NED CAUSIN                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.41835 NED CAUSIN                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41836 NEDA MONSHAT                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.41837 NEDA MONSHAT                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.41838 NEDA MONSHAT                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.41839 NEDRA DUDKOWSKI                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41840 NEDRA DUDKOWSKI                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41841 NEDRA DUDKOWSKI                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41842 NEDRA DUDKOWSKI                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41843 NEDRA VANDERGRIFT                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41844 NEDRA VANDERGRIFT                         VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.41845 NEDRA VANDERGRIFT                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41846 NEDRA VANDERGRIFT                         VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41847 NEEDELS, NICOLE                           VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41848 NEEDELS, NICOLE                   VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.41849 NEEDELS, NICOLE                           VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41850 NEEFE, SHERRI                             VARIOUS                              Wildfire               UNDETERMINED
        1101 OLIVE HILL LN                                                             Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.41851 NEESE, BETHANY                            VARIOUS                              Wildfire               UNDETERMINED
        3844 SHERBROOK DR                                                              Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.41852 NEESE, TIM                                VARIOUS                              Wildfire               UNDETERMINED
        2005 LAPPER AVE                                                                Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.41853 NEIGHBORHOOD SPIRIT                       VARIOUS                              Wildfire               UNDETERMINED
        PROPERTY AND CASUALTY                                                          Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        CRAIG S. SIMON (SBN 78158)
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.41854 NEIL FRIEDMAN                             VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41855 NEIL FRIEDMAN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41856 NEIL FRIEDMAN                             VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.41857 NEIL FRIEDMAN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41858 NEIL HARRIS                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.41859 NEIL HARRIS                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.41860 NEIL HARRIS                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41861 NEIL HARRIS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41862 NEIL HARRIS                               VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41863 NELSON GOES                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                       Litigation
        SBN: 110909ROBERT A.            ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41864 NELSON GOES                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                        Litigation
        COTCHETTDONALD                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE & MCCARTHY
        LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.41865 NELSON, BRADLEY                           VARIOUS                              Wildfire               UNDETERMINED
        3463 BALDWIN WAY                                                               Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.41866 NELSON, KEITH                             VARIOUS                              Wildfire               UNDETERMINED
        2391 RANCHERIA RD                                                              Litigation
        REDWOOD VALLEY, CA 95470        ACCOUNT NO.: NOT AVAILABLE


3.41867 NELSON, KENNARD                           VARIOUS                              Wildfire               UNDETERMINED
        8867 OAK TRAIL DR                                                              Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41868 NELSON, TONIA MICHELE             VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.41869 NELSON, TONIA MICHELE                     VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41870 NELSON, TONIA MICHELE                     VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41871 NELSON, TONIA MICHELE (AS                 VARIOUS                              Wildfire               UNDETERMINED
        TRUSTEE OF THE TONIA M.                                                        Litigation
        NELSON REVOCABLE TRUST)         ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.41872 NELSON, TONIA MICHELE (AS                 VARIOUS                              Wildfire               UNDETERMINED
        TRUSTEE OF THE TONIA M.                                                        Litigation
        NELSON REVOCABLE TRUST)         ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41873 NELSON, TONIA MICHELE (AS         VARIOUS                                      Wildfire               UNDETERMINED
        TRUSTEE OF THE TONIA M.                                                        Litigation
        NELSON REVOCABLE TRUST)   ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.41874 NEMANICH, ROBERT                          VARIOUS                              Wildfire               UNDETERMINED
        209 DAPHNE DRIVE                                                               Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41875 NEMESIO RUIZ                              VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                             Litigation
        ESQJENNIFER L. FIORE,           ACCOUNT NO.: NOT AVAILABLE
        ESQSOPHIA M. ASLAMI, ESQ
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.41876 NEO CAMPAGNA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41877 NEO CAMPAGNA                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41878 NEO CAMPAGNA                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41879 NEO CAMPAGNA                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.41880 NEO CAMPAGNA                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41881 NERAT, CHRISTINA                          VARIOUS                              Wildfire               UNDETERMINED
        259 OAK SHADOW DR                                                              Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.41882 NEREIDA JIMENEZ MUNOZ                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.41883 NEREIDA JIMENEZ MUNOZ                     VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDTMIKAL C. WATTSGUY          ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.41884 NEREIDA JIMENEZ MUNOZ                     VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.41885 NESSLER JR., RONALD JACOB                 VARIOUS                              Wildfire               UNDETERMINED
        (POSSIBLE DUP, OR POSSIBLE                                                     Litigation
        JR./SR.)                        ACCOUNT NO.: NOT AVAILABLE
        DANIEL G. WHALEN
        ENGSTROM LIPSCOMB & LACK
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.41886 NESTOR MELCHOR                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41887 NESTOR MELCHOR                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41888 NESTOR MELCHOR                            VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.41889 NESTOR MELCHOR                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.41890 NETTA BERKENSTOCK                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41891 NETTA BERKENSTOCK                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41892 NETTA BERKENSTOCK                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41893 NETTA BERKENSTOCK                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41894 NEVA RODRIGUES                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41895 NEVA RODRIGUES                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41896 NEVA RODRIGUES                            VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                      Litigation
        160461)                         ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.41897 NEVA RODRIGUES                            VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                     Litigation
        54426) DANIEL S. ROBINSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.41898 NEVA RODRIGUES                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES LEE, ESQ. (PRO HAC                                                       Litigation
        PENDING)                        ACCOUNT NO.: NOT AVAILABLE
        LEE MURPHY LAW FIRM
        440 LOUISIANA ST. #300
        HOUSTON, TEXAS 77002


3.41899 NEVADA CAPITAL INSURANCE                  VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41900 NEVADA CAPITAL INSURANCE                  VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        MARK S. GROTEFELDMAURA          ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.41901 NEVADA CAPITAL INSURANCE                  VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        ERIC M. SCHROEDER (SBN          ACCOUNT NO.: NOT AVAILABLE
        153251) WILLIAM LOSCOTOTL
        (SBN 224638) AMANDA
        STEVENS (SBN 2S23S0)
        SCHROEDER LOSCOTOFF, LLP
        7410 OREENBAVEN DRIVE,
        SUITE 200
        SACRAMENTO, CA 95831


3.41902 NEVAREZ, ANTHONY                          VARIOUS                              Wildfire               UNDETERMINED
        P O BOX 252                                                                    Litigation
        REDWOOD VALLEY, CA 95470        ACCOUNT NO.: NOT AVAILABLE


3.41903 NEVAREZ, STEVEN                           VARIOUS                              Wildfire               UNDETERMINED
        P O BOX 252                                                                    Litigation
        REDWOOD VALLEY, CA 95470        ACCOUNT NO.: NOT AVAILABLE


3.41904 NEVIN, SCOTT                              VARIOUS                              Wildfire               UNDETERMINED
        970 ALTRURIA DR                                                                Litigation
        421                             ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.41905 NEVOTTI, GARY                             VARIOUS                              Wildfire               UNDETERMINED
        14123 ROLLINS CT                                                               Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


3.41906 NEVUAH RAUTENBERG                         VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41907 NEVUAH RAUTENBERG                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.41908 NEVUAH RAUTENBERG                         VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41909 NEVUAH RAUTENBERG                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.41910 NEVUAH RAUTENBERG                         VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.41911 NEW CINGULAR WIRELESS PCS,                VARIOUS                              Wildfire               UNDETERMINED
        LLC; PACIFIC BELL TELEPHONE                                                    Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        DOUGLAS W. SULLIVANLISA QI
        CROWELL & MORING LLP
        3 EMBARCADERO CENTER,
        26TH FLOOR
        SAN FRANCISCO, CA 94111


3.41912 NEW HAMPSHIRE INSURANCE                   VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41913 NEW HAMPSHIRE INSURANCE                   VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.41914 NEW HAMPSHIRE INSURANCE                   VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        MAURA WALSH OCHOA               ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.41915 NEW HAMPSIRE INSURANCE                    VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        MAURA WALSH OCHOA (SBN          ACCOUNT NO.: NOT AVAILABLE
        193799)WAYLON J. PICKETT
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.41916 NEW YORK MARINE & GENERAL                 VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.41917 NEW YORK MARINE & GENERAL                 VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41918 NEW YORK MARINE & GENERAL                 VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        HOWARD D. MAYCON                ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.41919 NEWBERG, DOUGLAS                          VARIOUS                              Wildfire               UNDETERMINED
        269 MOCKINGBIRD CIRCLE                                                         Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.41920 NEWELL, DAVID EDWARD;                     VARIOUS                              Wildfire               UNDETERMINED
        NEWELL, MARY CHALAE;                                                           Litigation
        NEWELL, HALLIE BELLE (A         ACCOUNT NO.: NOT AVAILABLE
        MINOR, BY AND THROUGH HER
        GUARDIAN AD LITEM, DAVID
        EDWARD NEWELL)
        ELLIOT ADLER
        402 W BROADWAY
        SUITE 860
        SAN DIEGO, CA 92101


3.41921 NEWELL, DAVID EDWARD;                     VARIOUS                              Wildfire               UNDETERMINED
        NEWELL, MARY CHALAE;                                                           Litigation
        NEWELL, HALLIE BELLE (A         ACCOUNT NO.: NOT AVAILABLE
        MINOR, BY AND THROUGH HER
        GUARDIAN AD LITEM, DAVID
        EDWARD NEWELL)
        CO-COUNSEL
        525 B STREET
        SUITE 1500
        SAN DIEGO, CA 92101


3.41922 NEWELL, DAVID EDWARD;                     VARIOUS                              Wildfire               UNDETERMINED
        NEWELL, MARY CHALAE;                                                           Litigation
        NEWELL, HALLIE BELLE (A         ACCOUNT NO.: NOT AVAILABLE
        MINOR, BY AND THROUGH HER
        GUARDIAN AD LITEM, DAVID
        EDWARD NEWELL)
        GERALD SINGLETON
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41923 NEWELL, SADIE                             VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 377328                                                                Litigation
        OCEAN VIEW, CA 96737`           ACCOUNT NO.: NOT AVAILABLE


3.41924 NEWICK, KIM                               VARIOUS                              Wildfire               UNDETERMINED
        144 JESSIE ST                                                                  Litigation
        KENWOOD, CA 95452               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41925 NEWICK, KIM                               VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 195                                                                   Litigation
        KENWOOD, CA 95452               ACCOUNT NO.: NOT AVAILABLE


3.41926 NEWMAN, INGRID                            VARIOUS                              Wildfire               UNDETERMINED
        38 WOODWARDIA SQ                                                               Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.41927 NEWMAN, JEANETTE                          VARIOUS                              Wildfire               UNDETERMINED
        17272 CRAGMONT DRIVE                                                           Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.41928 NEWMAN, JOSEPH                            VARIOUS                              Wildfire               UNDETERMINED
        1011 OLIVE HILL LANE                                                           Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.41929 NEWMAN, MARIANNA                          VARIOUS                              Wildfire               UNDETERMINED
        575 BAXTER AVE                                                                 Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.41930 NEWPORT, DENNIS                           VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 286                                                                     Litigation
        BROWNS VALLEY, CA 95918         ACCOUNT NO.: NOT AVAILABLE


3.41931 NEWTON, BARBARA                           VARIOUS                              Wildfire               UNDETERMINED
        8302 OAKMONT DR                                                                Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.41932 NEWTON, JOHN & STEFFAIN                   VARIOUS                              Wildfire               UNDETERMINED
        12230 LOMA RICA RD                                                             Litigation
        LOMA RICA, CA 95901             ACCOUNT NO.: NOT AVAILABLE


3.41933 NEYMAN, DONALD                            VARIOUS                              Wildfire               UNDETERMINED
        5209 OLD REDWOOD HIGHWAY                                                       Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.41934 NGUYEN, DAN                               VARIOUS                              Wildfire               UNDETERMINED
        2304 DANCING PENNY WAY                                                         Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.41935 NHOCK, LYDA                               VARIOUS                              Wildfire               UNDETERMINED
        1909 QUAIL RUN                                                                 Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41936 NICHLOAS NELSON                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.41937 NICHLOAS NELSON                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41938 NICHLOAS NELSON                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41939 NICHLOAS NELSON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41940 NICHLOAS NELSON                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41941 NICHOLAS A. PETERS                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41942 NICHOLAS A. PETERS                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.41943 NICHOLAS A. PETERS                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41944 NICHOLAS A. PETERS                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41945 NICHOLAS A. PETERS                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41946 NICHOLAS ABEYTA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41947 NICHOLAS ABEYTA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41948 NICHOLAS ABEYTA                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.41949 NICHOLAS ABEYTA                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.41950 NICHOLAS BAKER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41951 NICHOLAS BAKER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41952 NICHOLAS BAKER                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41953 NICHOLAS BAKER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.41954 NICHOLAS BAKER                             VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.41955 NICHOLAS CASELLA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41956 NICHOLAS CASELLA                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.41957 NICHOLAS CASELLA                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                            Litigation
        178658DYLAN HUGHES- BAR          ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41958 NICHOLAS CASELLA                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41959 NICHOLAS CAUGHIE                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.41960 NICHOLAS CAUGHIE                          VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.41961 NICHOLAS CROMARTIE                        VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERRENCE                                                       Litigation
        D. EDWARDS                      ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CA 94104


3.41962 NICHOLAS CROMARTIE                        VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNS JONATHAN                                                        Litigation
        E. DAVIS KEVIN M. OSBORNE       ACCOUNT NO.: NOT AVAILABLE

       SHOUNAK S. DHARAP
       THE ARNS LAW FIRM A
       PROFESSIONAL CORPORATION
       515 FOLSOM STREET, 3RD
       FLOOR
       SAN FRANCISCO, CALIFORNIA
       94105


3.41963 NICHOLAS GRIMM                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024



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Wildfire Claims

3.41964 NICHOLAS GRIMM                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.41965 NICHOLAS J COOK                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41966 NICHOLAS J COOK                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.41967 NICHOLAS J COOK                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41968 NICHOLAS J COOK                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.41969 NICHOLAS J COOK                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.41970 NICHOLAS LENCHNER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.41971 Nicholas Lenchner                              VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.41972 NICHOLAS LENCHNER                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41973 NICHOLAS MAFFEI                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.41974 Nicholas Maffei                                VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.41975 NICHOLAS MAFFEI                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.41976 NICHOLAS PEACOCK                               VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                        Litigation
        CABRASERROBERT J.                    ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

        FABRICE N. VINCENTANNIKA
        K. MARTINABBY R. WOLF
        LIEFF CABRASER HEIMANN &
        BERNSTEIN, LLP
        275 BATTERY STREET, 29TH
        FLOOR
        SAN FRANCISCO, CA 94111-3339


3.41977 NICHOLAS POWELL                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                            Litigation
        A. BAGHDADI                          ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41978 NICHOLAS POWELL                                VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                          Litigation
        STATE BAR NO. 157400)                ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41979 NICHOLAS POWELL                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                    Litigation
        APPLICATION                      ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.41980 Nicholas Powell                            VARIOUS                              Wildfire               UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                      Litigation
        083151)Robert J. Nelson (SBN     ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, CA 92101


3.41981 NICHOLAS SKLENAR-BROWN                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41982 NICHOLAS SKLENAR-BROWN                     VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                           Litigation
        VICE PENDINGTEXAS BAR NO.        ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.41983 NICHOLAS SKLENAR-BROWN                     VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.41984 NICHOLAS SKLENAR-BROWN                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41985 NICHOLAS SKLENAR-BROWN                     VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                    Litigation
        262319)DEBORAH S. DIXON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41986 NICHOLAS VASQUEZ JR.                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.41987 NICHOLAS VASQUEZ JR.                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.41988 NICHOLAS VASQUEZ JR.                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.41989 NICHOLAS VASQUEZ JR.                       VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41990 NICHOLAS VASQUEZ JR.                      VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                           Litigation
        #109455LAURA E. BROWN           ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.41991 NICHOLAS WILHELM                          VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.41992 NICHOLAS WILHELM                          VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.41993 NICHOLAS WILHELM                          VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.41994 NICHOLE BARCHUS                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                    Litigation
        9858)JESSICA W. HAYES.,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.41995 NICHOLE BARCHUS                           VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                    Litigation
        248092)JACK W. WEAVER,          ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.41996 NICHOLE BARCHUS                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.41997 NICHOLE BARCHUS                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.41998 NICHOLE BARCHUS                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.41999 NICHOLE BARCHUS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42000 NICHOLE BARCHUS                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42001 NICHOLE BARCHUS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42002 NICHOLE BARCHUS                           VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                      Litigation
        (SBN 99126)NATASHA N.           ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.42003 NICHOLE C GILBERT                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42004 NICHOLE C GILBERT                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42005 NICHOLE C GILBERT                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42006 NICHOLE C GILBERT                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42007 NICHOLE C GILBERT                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42008 NICHOLE JOLLY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42009 NICHOLE JOLLY                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42010 NICHOLE JOLLY                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42011 NICHOLE JOLLY                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42012 NICHOLE MARCH-SICKLEY                     VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42013 NICHOLE MARCH-SICKLEY                     VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42014 NICHOLE MARCH-SICKLEY                     VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.42015 NICHOLE MARCH-SICKLEY                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42016 NICHOLE SHELTON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42017 NICHOLE SHELTON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42018 NICHOLE SHELTON                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42019 NICHOLE SHELTON                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.42020 NICHOLS, MARK                             VARIOUS                              Wildfire               UNDETERMINED
        4070 FISHER LAKE DR                                                            Litigation
        REDWOOD VALLEY, CA 95470        ACCOUNT NO.: NOT AVAILABLE


3.42021 NICHOLS, MARK                             VARIOUS                              Wildfire               UNDETERMINED
        8551 EAST ROAD                                                                 Litigation
        REDWOOD VALLEY, CA 95470        ACCOUNT NO.: NOT AVAILABLE


3.42022 NICHOLS, TRAVIS                   VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.42023 NICHOLS, TRAVIS                           VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42024 NICHOLS, TRAVIS                           VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42025 NICHOLSON, AMANDA                         VARIOUS                              Wildfire               UNDETERMINED
        2001 PINER ROAD                                                                Litigation
        227                             ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.42026 NICK BATTAGLIA                            VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42027 NICK BATTAGLIA                            VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                     Litigation
        54426) DANIEL S. ROBINSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.42028 NICK BATTAGLIA                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42029 NICK BATTAGLIA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42030 NICK BATTAGLIA                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42031 NICK GRIFFEN                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.42032 NICK GRIFFEN                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42033 NICK GRIFFEN                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42034 NICK GRIFFEN                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.42035 NICK GRIFFEN                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.42036 NICK MURPHY                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42037 NICK MURPHY                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42038 NICK MURPHY                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42039 NICK MURPHY                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.42040 NICK MURPHY                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42041 NICK REED                                 VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.42042 NICK SARGANIS                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.42043 NICK SARGANIS                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.42044 NICK SARGANIS                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42045 NICK SARGANIS                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42046 NICK SARGANIS                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.42047 NICK TABELLIJA                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.42048 NICKLAS C THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42049 NICKLAS C THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42050 NICKLAS C THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42051 NICKLAS C THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.42052 NICKLAS C THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42053 NICKOLAS BECERRIL                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42054 NICKOLAS BECERRIL                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.42055 NICKOLAS BECERRIL                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42056 NICKOLAS BECERRIL                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42057 NICKOLAS BECERRIL                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42058 NICKOLAS OGLE                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.42059 NICKOLAS OGLE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42060 NICKOLAS OGLE                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42061 NICKOLAS OGLE                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42062 NICKOLAS OGLE                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.42063 NICKY FOLTZ                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42064 NICKY FOLTZ                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42065 NICKY FOLTZ                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42066 NICKY FOLTZ                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42067 NICKY FOLTZ                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42068 NICO AQUILINO                        VARIOUS                                   Wildfire               UNDETERMINED
        ROBERT M. BONE, ESQ. (SBN                                                      Litigation
        181526)                      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF ROBERT M.
        BONE
        645 FOURTH STREET, SUITE 205
        SANTA ROSA, CALIFORNIA 95401


3.42069 NICO AQUILINO                             VARIOUS                              Wildfire               UNDETERMINED
        DANIEL F. CROWLEY, ESQ. (SBN                                                   Litigation
        130261)                         ACCOUNT NO.: NOT AVAILABLE
        DANIEL CROWLEY &
        ASSOCIATES
        P.O. BOX R
        SAN RAFAEL, CALIFORNIA 94913


3.42070 NICOLA DEGRADI                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42071 NICOLA DEGRADI                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42072 NICOLA DEGRADI                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42073 NICOLA DEGRADI                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.42074 NICOLA DEGRADI                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.42075 NICOLAS BELLIVEAU                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.42076 NICOLAS BELLIVEAU                         VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42077 NICOLAS BELLIVEAU                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.42078 NICOLAS BELLIVEAU                         VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.42079 NICOLAS BELLIVEAU                         VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42080 NICOLAS PELOSI                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42081 NICOLAS PELOSI                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42082 NICOLAS PELOSI                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42083 NICOLAS PELOSI                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.42084 NICOLE AGUILERA                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.42085 NICOLE AGUILERA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42086 NICOLE AGUILERA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42087 NICOLE AGUILERA                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42088 NICOLE ALARCON                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42089 NICOLE ALARCON                            VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42090 NICOLE ALARCON                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42091 NICOLE ALARCON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42092 NICOLE BACH                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42093 NICOLE BACH                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42094 NICOLE BACH                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.42095 NICOLE BACH                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.42096 NICOLE BACH                                VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.42097 NICOLE BARLOW                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                                Litigation
        ABRAHAM, WATKINS, NICHOLS,       ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.42098 NICOLE BARLOW                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42099 NICOLE BELFIORE                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42100 NICOLE BELFIORE                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.42101 NICOLE CHESTER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42102 NICOLE CHESTER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42103 NICOLE CHESTER                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42104 NICOLE CHESTER                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.42105 NICOLE CHESTER                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42106 NICOLE DONATO                             VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.42107 NICOLE DONATO                             VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                     Litigation
        54426) DANIEL S. ROBINSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.42108 NICOLE DONATO                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42109 NICOLE DONATO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42110 NICOLE DONATO                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42111 NICOLE ENGELBRECHT                        VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42112 NICOLE ENGELBRECHT                        VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.42113 NICOLE GREENER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42114 NICOLE GREENER                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42115 NICOLE GREENER                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42116 NICOLE GREENER                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42117 NICOLE HEREFORD                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.42118 NICOLE HEREFORD                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                          Litigation
        AMANWILLIAM P. HARRIS              ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42119 NICOLE MARIE LA WHUN                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                  Litigation
        WALKUP, MELODIA, KELLY &           ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42120 NICOLE MARIE LA WHUN                         VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                            Litigation
        (STATE BAR #103252)BRIANNA         ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.42121 NICOLE MARIE LA WHUN                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                 Litigation
        DREYER BABICH BUCCOLA              ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42122 NICOLE MARIE LA WHUN                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                      Litigation
        BAR #1999994) (PRO HAE VICE        ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.42123 Nicole Marie La Whun                         VARIOUS                              Wildfire               UNDETERMINED
        Ronald L.M. Goldman, Esq. (State                                                  Litigation
        Bar #33422) Diane Marger Moore,    ACCOUNT NO.: NOT AVAILABLE
        Esq. (Fla. Bar #268364) (Pro Hae

        Vice Application Pending)
        Baum Hedlund Aristei & Goldman,
        P.C.
        10940 Wilshire Boulevard., 17th
        Floor
        Los Angeles, California 90024


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42124 NICOLE MEDEIROS                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.42125 NICOLE MEDEIROS                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42126 NICOLE QUESADA                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42127 NICOLE QUESADA                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.42128 NICOLE QUESADA                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.42129 NICOLE QUESADA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Wildfire Claims

3.42130 NICOLE QUESADA                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42131 NICOLE R LORENZ                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42132 NICOLE R LORENZ                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42133 NICOLE R LORENZ                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42134 NICOLE R LORENZ                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.42135 NICOLE R LORENZ                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42136 NICOLE REED                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42137 NICOLE REED                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42138 NICOLE REED                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42139 NICOLE REED                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.42140 NICOLE REED                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42141 NICOLE RITZA                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42142 NICOLE RITZA                              VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42143 NICOLE RITZA                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42144 NICOLE RITZA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42145 NICOLE STUERMER                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42146 NICOLE STUERMER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.42147 NICOLE STUERMER                           VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.42148 NICOLE STUERMER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42149 NICOLE SUSAN ELAINE RIVERA                VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42150 NICOLE SUSAN ELAINE RIVERA                VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.42151 NICOLE WIDICK                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42152 NICOLE WIDICK                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.42153 NICOSIA, SOFIA                            VARIOUS                              Wildfire               UNDETERMINED
        18807 BEATRICE DR                                                              Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.42154 NICOSIA, SOFIA                            VARIOUS                              Wildfire               UNDETERMINED
        18807 BEATRICE DR                                                              Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.42155 NIDIA KERR                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42156 NIDIA KERR                                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.42157 NIDIA KERR                                VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42158 NIDIA KERR                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.42159 NIDIA KERR                                VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.42160 NIEBUR, CHELSEA M.                        VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS                                                          Litigation
        TRUSTEE OF THE CHRIS            ACCOUNT NO.: NOT AVAILABLE
        NIEBUR TRUST DATED 2011)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42161 NIEBUR, CHELSEA M.                        VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS                                                          Litigation
        TRUSTEE OF THE CHRIS            ACCOUNT NO.: NOT AVAILABLE
        NIEBUR TRUST DATED 2011)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42162 NIEBUR, CHELSEA M.                VARIOUS                                      Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS                                                          Litigation
        TRUSTEE OF THE CHRIS      ACCOUNT NO.: NOT AVAILABLE
        NIEBUR TRUST DATED 2011)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.42163 NIELSEN, DEBORAH                          VARIOUS                              Wildfire               UNDETERMINED
        1325 CRESTMONT DR.                                                             Litigation
        ANGWIN, CA 94508                ACCOUNT NO.: NOT AVAILABLE


3.42164 NIELSEN, FLETCHER                         VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42165 NIELSEN, FLETCHER                         VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42166 NIELSEN, FLETCHER                 VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42167 NIHAL HORDAGODA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42168 NIHAL HORDAGODA                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42169 NIHAL HORDAGODA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42170 NIHAL HORDAGODA                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.42171 NIKITA BOSNELL                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                      Litigation
        SBN: 110909ANDREA R.            ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.42172 NIKITA BOSNELL                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42173 NIKITA BOSNELL                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42174 NIKITA BOSNELL                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.42175 NIKITA BOSNELL                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.42176 NIKKI JO SMITH                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                     Litigation
         REINER, SLAUGHTER &             ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42177 NIKKI JO SMITH                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.42178 NIKKI JO SMITH                                  VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                         Litigation
        ERIC RATINOFF LAW CORP.               ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42179 NIKKI JO SMITH                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                             Litigation
        A. BAGHDADI                           ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42180 NIKKI JOHANN                                    VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                             Litigation
        NO. 197687)                           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42181 Nikki Johann                                    VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                         Litigation
        application anticipated)Guy           ACCOUNT NO.: NOT AVAILABLE
        Watts, II (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.42182 NIKKI MAE ROBERTS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                             Litigation
        A. BAGHDADI                           ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42183 NIKKI MAE ROBERTS                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                         Litigation
        ERIC RATINOFF LAW CORP.               ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42184 NIKKI MAE ROBERTS                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42185 NIKKI MAE ROBERTS                         VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42186 NIKKI N. ROETHLER                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42187 NIKKI N. ROETHLER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42188 NIKKI N. ROETHLER                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42189 NIKKI N. ROETHLER                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.42190 NIKKI N. ROETHLER                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                          Litigation
        DOMENIC MARTINI                  ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.42191 NIKKO SNEAD                                VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.42192 NIKKO SNEAD                                VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.42193 NIKKO SNEAD                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42194 NIKKO SNEAD                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42195 NIKKO SNEAD                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42196 NIMPA S. GUTIERREZ                        VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.42197 NIMPA S. GUTIERREZ                        VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.42198 NIMPA S. GUTIERREZ                        VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.42199 NINA FAUGHN                               VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42200 NINA FAUGHN                               VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.42201 NINA FENNELL                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDI                                                               Litigation
        #53208TERENCE D. EDWARDS,       ACCOUNT NO.: NOT AVAILABLE
        #168095JASON B. FRIEDMAN
        #277888
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42202 NINA FENNELL                              VARIOUS                              Wildfire               UNDETERMINED
        ROBRT S. ARNS, #65071                                                          Litigation
        THE ARNS LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.42203 NINA FRENCH                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42204 NINA WYATT                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42205 NINA WYATT                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42206 NINA WYATT                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.42207 NINA WYATT                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.42208 NINNETTE RHODEHOUSE                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42209 NINNETTE RHODEHOUSE                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42210 NINNETTE RHODEHOUSE                       VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42211 NINNETTE RHODEHOUSE                       VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.42212 NINNETTE RHODEHOUSE                       VARIOUS                              Wildfire               UNDETERMINED
        KEVIN 0. MOON, STATE BAR                                                       Litigation
        NO. 246792CHRISTOPHER D.        ACCOUNT NO.: NOT AVAILABLE
        MOON, STATE BAR NO. 246622
        MOON LAW APC
        499 SEAPORT COURT, SUITE 200
        REDWOOD CITY, CALIFORNIA
        94063


3.42213 NIOCLA WELCH                              VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                    Litigation
        248092)JACK W. WEAVER,          ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.42214 NIOCLA WELCH                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.42215 NIOCLA WELCH                                   VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                           Litigation
        (SBN 99126)NATASHA N.                ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.42216 NIOCLA WELCH                                   VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                         Litigation
        9858)JESSICA W. HAYES.,              ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.42217 Nita Hiltz                                     VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.42218 NITA HILTZ                                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.42219 NITA HILTZ                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                     Litigation
                                         ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.42220 NIVRETYE GREEN-JACKSON                     VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.42221 NIVRETYE GREEN-JACKSON                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.42222 NIVRETYE GREEN-JACKSON                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42223 NIVRETYE GREEN-JACKSON                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42224 NIVRETYE GREEN-JACKSON                     VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42225 NOAH EDWARDS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42226 NOAH EDWARDS                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42227 NOAH EDWARDS                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42228 NOAH EDWARDS                              VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42229 NOAH MADRUGA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42230 NOAH MADRUGA                              VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42231 NOAH MADRUGA                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42232 NOAH MADRUGA                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.42233 NOAH MADRUGA                              VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                      Litigation
        (STATE BAR #33422) DIANE        ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.42234 NOAH N HENRY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42235 NOAH N HENRY                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.42236 NOAH N HENRY                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42237 NOAH N HENRY                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42238 NOAH N HENRY                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42239 NOAH TATUM                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42240 NOAH TATUM                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42241 NOAH TATUM                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42242 NOAH TATUM                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42243 NOBERT, LORI                              VARIOUS                              Wildfire               UNDETERMINED
        402 TWIN LAKES CIRCLE                                                          Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.42244 NOBLE, WILLIAM                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREALISON E.                                                        Litigation
        CORDOVA                         ACCOUNT NO.: NOT AVAILABLE
        COTCHETT PITRE & MCCARTHY
        LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.42245 NOE JIMENEZ-MUNOZ                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42246 NOE JIMENEZ-MUNOZ                         VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.42247 NOE JIMENEZ-MUNOZ                         VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.42248 NOEL PEREZ                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42249 NOEL PEREZ                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42250 NOEL PEREZ                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42251 NOEL PEREZ                                VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42252 NOEL SANTO-DOMINGO                        VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                       Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.42253 NOEL, TALIS                               VARIOUS                              Wildfire               UNDETERMINED
        3993 SHADOWHILL DR                                                             Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.42254 NOELLA WROTEN-KENNEDY                     VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42255 NOELLA WROTEN-KENNEDY                     VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42256 NOELLE ROSSI                              VARIOUS                              Wildfire               UNDETERMINED
        SANDRA RIBERA SPEEDMIA                                                         Litigation
        MATTIS                          ACCOUNT NO.: NOT AVAILABLE
        RIBERA LAW FIRM APC
        157 WEST PORTAL AVENUE,
        SUITE 2
        SAN FRANCISCO, CA 94127


3.42257 NOEMI NARANJO                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.42258 NOEMI NARANJO                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42259 NOEMI NARANJO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42260 NOEMI NARANJO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42261 NOEMIA MCCLUNG                            VARIOUS                              Wildfire               UNDETERMINED
        LOUISE H. RENNEGEOFFREY                                                        Litigation
        SPELLBERGALEX LEMBERG           ACCOUNT NO.: NOT AVAILABLE
        RENNE PUBLIC LAW GROUP
        350 SANSOME STREET, SUITE
        300
        SAN FRANCISCO, CALIFORNIA
        94104


3.42262 NOEN MICHAEL RODRIGUES                    VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.42263 NOETHIG, TALIA                            VARIOUS                              Wildfire               UNDETERMINED
        2924 ALOHA LN                                                                  Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.42264 NOI DANG                                  VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150DANIEL E.
        PASSMORE, ESQ., #312155
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42265 NOI DANG                                  VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ.,                                                           Litigation
        #166204GREGORY A. STUCK,        ACCOUNT NO.: NOT AVAILABLE
        ESQ., #311162
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42266 NOI DANG                                  VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        #115632                         ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42267 NOI DANG                                  VARIOUS                              Wildfire               UNDETERMINED
                                                                                       Litigation
       DEMAS LAW GROUP, P.C.            ACCOUNT NO.: NOT AVAILABLE
       701 HOWE AVENUE, SUITE A-1
       SACRAMENTO, CA 95825


3.42268 NOJIMA, MARINA                            VARIOUS                              Wildfire               UNDETERMINED
        2520 MARK WEST SPRINGS RD.                                                     Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.42269 NOKILA PRATAP                             VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                       Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.42270 NOLAN, MATTHEW                            VARIOUS                              Wildfire               UNDETERMINED
        24 BOXELDER CT                                                                 Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.42271 NONPROFITS INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        ALLIANCE OF CALIFORNIA                                                         Litigation
        THOMAS M. REGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.42272 NONPROFITS INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        ALLIANCE OF CALIFORNIA                                                         Litigation
        HOWARD D. MAYCON                ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.42273 NONPROFITS INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        ALLIANCE OF CALIFORNIA                                                         Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42274 NONPROFITS INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        ALLIANCE OF CALIFORNIA                                                         Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.42275 NOR CAL RENTALS & SALES                   VARIOUS                              Wildfire               UNDETERMINED
        INC, CHELSEY FORSETH                                                           Litigation
        8537 COMMERCIAL WAY             ACCOUNT NO.: NOT AVAILABLE
        REDDING, CA 96002


3.42276 NORA BLAY                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42277 NORA L. HILL                              VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.42278 NORA L. HILL                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42279 NORA L. HILL                              VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42280 NORA L. HILL                              VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.42281 NORA PEARSON                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42282 NORA PEARSON                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.42283 NORBERTO AVILA                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.42284 NORBY, ASHLY                              VARIOUS                              Wildfire               UNDETERMINED
        2357 MANDARIN LN                                                               Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.42285 NORCAL WIRELESS, INC.                     VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42286 NORCAL WIRELESS, INC.                     VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42287 NORCAL WIRELESS, INC.                     VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42288 NORCAL WIRELESS, INC.                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42289 NOREA ISRAEL                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.42290 NOREA ISRAEL                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42291 NORMA ALICIA PEREZ                        VARIOUS                              Wildfire               UNDETERMINED
        VELAZQUEZ                                                                      Litigation
        BILL ROBINS III (SBN            ACCOUNT NO.: NOT AVAILABLE
        296101)ROBERT T. BRYSON
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.42292 NORMA BARRIENTOS                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.42293 NORMA BARRIENTOS                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42294 NORMA BARRIENTOS                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42295 NORMA BARRIENTOS                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42296 NORMA BARRIENTOS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42297 NORMA DOUGLAS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42298 NORMA DOUGLAS                             VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42299 NORMA DOUGLAS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.42300 NORMA DOUGLAS                             VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.42301 NORMA MEDINA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42302 NORMA MEDINA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42303 NORMA MEDINA                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.42304 NORMA MEDINA                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.42305 NORMA ORTMAN                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                        Litigation
        COTCHETTALISON E.               ACCOUNT NO.: NOT AVAILABLE
        CORDOVA
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.42306 NORMA ORTMAN                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                        Litigation
        COTCHETTALISON E.               ACCOUNT NO.: NOT AVAILABLE
        CORDOVA
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.42307 NORMA ORTMAN                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.42308 NORMA ORTMAN                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42309 NORMA ORTMAN                                VARIOUS                              Wildfire               UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL D. GREEN
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT ROAD, SUITE
        200, SANTA ROSA CA


3.42310 NORMA ORTMAN                                VARIOUS                              Wildfire               UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL D. GREEN
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT ROAD, SUITE
        200, SANTA ROSA CA


3.42311 NORMA ORTMAN                                VARIOUS                              Wildfire               UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLY
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.42312 NORMA ORTMAN                                VARIOUS                              Wildfire               UNDETERMINED
        TELEPHONE: (650) 697-6000                                                        Litigation
                                          ACCOUNT NO.: NOT AVAILABLE
        FACSIMILE: (650) 697-
        0577FPITRE@CPMLEGAL.COM

        JCOTCHETT@CPMLEGAL.COM
        ACORDOVA@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.42313 NORMA ORTMAN                                VARIOUS                              Wildfire               UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLY
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.42314 NORMA ORTMAN                                VARIOUS                              Wildfire               UNDETERMINED
        TELEPHONE: (650) 697-6000                                                        Litigation
                                          ACCOUNT NO.: NOT AVAILABLE
        FACSIMILE: (650) 697-
        0577FPITRE@CPMLEGAL.COM

        JCOTCHETT@CPMLEGAL.COM
        ACORDOVA@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.42315 NORMA ROMO                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                         Litigation
        81867                             ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.42316 NORMA ROMO                                  VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                         Litigation
        60768ANGELA JAE CHUN, SBN         ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.42317 NORMA ROMO                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42318 NORMA ROMO                                  VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                         Litigation
        TOSDAL LAW FIRM                   ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42319 NORMA V. KAST                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42320 NORMA V. KAST                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42321 NORMA V. KAST                             VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.42322 NORMA V. KAST                             VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.42323 NORMAL KUMAR                              VARIOUS                              Wildfire               UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                    Litigation
        116060RAHUL RAVIPUDI,           ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42324 NORMAL KUMAR                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                      Litigation
        NO. 100077                      ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.42325 NORMAL KUMAR                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                    Litigation
        NO. 71460                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.42326 NORMAN BARNHART                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.42327 NORMAN BARNHART                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.42328 NORMAN CARTER                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON &PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42329 NORMAN CARTER                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42330 NORMAN CARTER                             VARIOUS                              Wildfire               UNDETERMINED
        JESSE B. CHRISP                                                                Litigation
        LAW OFFICES OF J. CHRISP        ACCOUNT NO.: NOT AVAILABLE
        15322 LAKESHORE DRIVE,
        SUITE 301
        CLEARLAKE, CA 95422


3.42331 NORMAN MC VEA                             VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.42332 NORMAN MC VEA                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42333 NORMAN MC VEA                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42334 NORMAN MC VEA                             VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.42335 NORMAN SAUNDERS,                          VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND DBA                                                           Litigation
        AFFORDABLE CARPET CARE          ACCOUNT NO.: NOT AVAILABLE
        JOSEPH M. EARLEY III (CAL.
        STATE BAR NO. 157400)
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Wildfire Claims

3.42336 NORMAN SAUNDERS,                              VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND DBA                                                               Litigation
        AFFORDABLE CARPET CARE              ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42337 Norman Saunders, individually and             VARIOUS                              Wildfire               UNDETERMINED
        dba Affordable Carpet Care                                                         Litigation
        Mikal C. Watts (Pro Hac Vice        ACCOUNT NO.: NOT AVAILABLE
        Application anticipated)Guy Watts
        (Pro Hac Vice Application
        anticipated)Paige Boldt (Cal.
        State Bar No. 308772)
        Watts Guerra LLP
        70 Stony Point Road, Suite A
        Santa Rosa, CA 95401


3.42338 NORMAN SAUNDERS,                              VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND DBA                                                               Litigation
        AFFORDABLE CARPET CARE              ACCOUNT NO.: NOT AVAILABLE
        E. ELLIOT ADLERBRITTANY S.
        ZUMMERAMANDA J.
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42339 NORMAN WEIR                                   VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                      Litigation
        TOSDAL LAW FIRM                     ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42340 NORMAN WEIR                                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                                Litigation
        MICHAEL S. FEINBERG, APLC           ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.42341 NORMAN WEIR                                   VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                           Litigation
        60768GAYLE M. BLATT, SBN            ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101



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Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.42342 NORMAN, ALLISON                              VARIOUS                              Wildfire               UNDETERMINED
        2524 SAM DR.                                                                      Litigation
        SANTA ROSA, CA 95403               ACCOUNT NO.: NOT AVAILABLE


3.42343 Norman, Grant; Earl, Marissa;                VARIOUS                              Wildfire               UNDETERMINED
        Norman, Bailey and Norman                                                         Litigation
        Kinsley, minors, by and through    ACCOUNT NO.: NOT AVAILABLE
        their guardian ad litema Marissa
        Earl; Earl, Brandon Leslie
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.42344 NORMAN, GRANT; EARL,                         VARIOUS                              Wildfire               UNDETERMINED
        MARISSA; NORMAN, BAILEY                                                           Litigation
        AND NORMAN KINSLEY,                ACCOUNT NO.: NOT AVAILABLE
        MINORS, BY AND THROUGH
        THEIR GUARDIAN AD LITEMA
        MARISSA EARL; EARL,
        BRANDON LESLIE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42345 Norman, Grant; Earl, Marissa;                VARIOUS                              Wildfire               UNDETERMINED
        Norman, Bailey and Norman                                                         Litigation
        Kinsley, minors, by and through    ACCOUNT NO.: NOT AVAILABLE
        their guardian ad litema Marissa
        Earl; Earl, Brandon Leslie
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.42346 NORRIS C. GODSEY                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                            Litigation
        DOMENIC MARTINI                    ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42347 NORRIS C. GODSEY                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42348 NORRIS C. GODSEY                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42349 NORRIS C. GODSEY                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42350 NORRIS C. GODSEY                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42351 NORTH AMERICAN ELITE                      VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        THOMAS M. REGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.42352 NORTH AMERICAN SPECIALITY                 VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        THOMAS M. REGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101




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Wildfire Claims

3.42353 NORTH LIGHT SPECIALTY                     VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ERIC M. SCHROEDER (SBN          ACCOUNT NO.: NOT AVAILABLE
        153251) WILLIAM LOSCOTOTL
        (SBN 224638) AMANDA
        STEVENS (SBN 2S23S0)
        SCHROEDER LOSCOTOFF, LLP
        7410 OREENBAVEN DRIVE,
        SUITE 200
        SACRAMENTO, CA 95831


3.42354 NORTH LIGHT SPECIALTY                     VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MARK S. GROTEFELDMAURA          ACCOUNT NO.: NOT AVAILABLE
        WALSH OCHOA WAYLON J.
        PICKETT
        GROTEFELD, HOFFMAN,
        SCHLEITER, GORDON, OCHOA &
        EVINGER, LLP
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.42355 NORTH LIGHT SPECIALTY                     VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.42356 NORTH LIGHT SPECIALTY                     VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ERIC M. SCHROEDERWILLIAM        ACCOUNT NO.: NOT AVAILABLE
        M. LOSCOTOFFAMANDA R.
        STEVENS
        SCHROEDER LOSCOTOFF LLP
        7410 GREENHAVEN DRIVE,
        SUITE 200
        SACRAMENTO, CA 95831


3.42357 NORTHERN CALIFORNIA                       VARIOUS                              Wildfire               UNDETERMINED
        CONFERENCE OF SEVENTH                                                          Litigation
        DAY ADVENTISTS                  ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42358 NORTHERN CALIFORNIA                       VARIOUS                              Wildfire               UNDETERMINED
        CONFERENCE OF SEVENTH                                                          Litigation
        DAY ADVENTISTS                  ACCOUNT NO.: NOT AVAILABLE
        DAVE FOXJOANNA
        FOXCOURTNEY VASQUEZ
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.42359 NORTHERN CALIFORNIA                       VARIOUS                              Wildfire               UNDETERMINED
        CONFERENCE OF SEVENTH                                                          Litigation
        DAY ADVENTISTS                  ACCOUNT NO.: NOT AVAILABLE
        ERIC GIBBS - BAR NO.
        178658DYLAN HUGHES- BAR
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42360 NORTHERN CALIFORNIA                       VARIOUS                              Wildfire               UNDETERMINED
        CONFERENCE OF SEVENTH                                                          Litigation
        DAY ADVENTISTS                  ACCOUNT NO.: NOT AVAILABLE
        CHRISTOPHER C.
        SIEGLOCKRACHEL
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.42361 NORTHLAND INSURANCE                       VARIOUS                              Wildfire               UNDETERMINED
        A. SCOTT LOEWE,                                                                Litigation
        #230606MARIE BAUMAN.            ACCOUNT NO.: NOT AVAILABLE
        #252584PA1RICK Y. HOWELL,
        #298296
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85265


3.42362 NORWOOD, ADAM O'NEAL;             VARIOUS                                      Wildfire               UNDETERMINED
        NORWOOD, AMANDA MARY;                                                          Litigation
        NORWOOD, DAVID BETCHER;   ACCOUNT NO.: NOT AVAILABLE
        NORWOOD, GRACE LILLIAN;
        NORWOOD, MARY CROWLEY
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42363 NORWOOD, ADAM O'NEAL;                     VARIOUS                              Wildfire               UNDETERMINED
        NORWOOD, AMANDA MARY;                                                          Litigation
        NORWOOD, DAVID BETCHER;         ACCOUNT NO.: NOT AVAILABLE
        NORWOOD, GRACE LILLIAN;
        NORWOOD, MARY CROWLEY
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42364 NORWOOD, ADAM O'NEAL;                     VARIOUS                              Wildfire               UNDETERMINED
        NORWOOD, AMANDA MARY;                                                          Litigation
        NORWOOD, DAVID BETCHER;         ACCOUNT NO.: NOT AVAILABLE
        NORWOOD, GRACE LILLIAN;
        NORWOOD, MARY CROWLEY
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42365 NOSAL, LISA                               VARIOUS                              Wildfire               UNDETERMINED
        1851 HYDE BURNDALE RD                                                          Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.42366 NOU CHENG                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42367 NOU CHENG                                 VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42368 NOU CHENG                                 VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42369 NOU CHENG                                 VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.42370 NOUVEAUX, LEIGH                           VARIOUS                              Wildfire               UNDETERMINED
        904 SHADY OAK DR                                                               Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.42371 NOVAE 2007 SYNDICATE                      VARIOUS                              Wildfire               UNDETERMINED
        HOWARD D. MAYCON                                                               Litigation
        COZEN O'CONNOR                  ACCOUNT NO.: NOT AVAILABLE
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.42372 NOVAE 2007 SYNDICATE                      VARIOUS                              Wildfire               UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                        Litigation
        JANG & ASSOCIATES LLP           ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.42373 NOVAE 2007 SYNDICATE                      VARIOUS                              Wildfire               UNDETERMINED
        KEVIN D. BUSHTHOMAS M.                                                         Litigation
        REGANDAVID D. BRISCO            ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.42374 NOVI, SHERRY                              VARIOUS                              Wildfire               UNDETERMINED
        15546 BROOKVIEW DR                                                             Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.42375 NOWELL, JOYCE                             VARIOUS                              Wildfire               UNDETERMINED
        15119 JACK PINE WAY                                                            Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42376 NQOUA YANG                                VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42377 NQOUA YANG                                VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42378 NQOUA YANG                                VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.42379 NQOUA YANG                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42380 NULL, SUSAN                               VARIOUS                              Wildfire               UNDETERMINED
        1040 N ARM ROAD                                                                Litigation
        GREENVILLE, CA 95947            ACCOUNT NO.: NOT AVAILABLE


3.42381 NUNEZ, ADRIANNA                           VARIOUS                              Wildfire               UNDETERMINED
        2918 LUTZTOWN COURT                                                            Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.42382 NUNEZ, CARLOS                             VARIOUS                              Wildfire               UNDETERMINED
        2431 SAN MIGUEL AVE                                                            Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.42383 NUNEZ, SANTIAGO                           VARIOUS                              Wildfire               UNDETERMINED
        1833 PETERSON LANE                                                             Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42384 NUNEZ, TONY                               VARIOUS                              Wildfire               UNDETERMINED
        3561 LEHI LANE                                                                 Litigation
        OROVILLE, CA 95965              ACCOUNT NO.: NOT AVAILABLE


3.42385 NUNN, EDWIN LAWRENCE;              VARIOUS                                     Wildfire               UNDETERMINED
        NUNN, SHEILA JANE                                                              Litigation
        (INDIVIDUALLY AND AS       ACCOUNT NO.: NOT AVAILABLE
        TRUSTEES OF THE EDWIN
        LAWRENCE NUNN AND SHELIA
        JANE NUNN REVOCABLE TRUST)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42386 NUNN, EDWIN LAWRENCE;              VARIOUS                                     Wildfire               UNDETERMINED
        NUNN, SHEILA JANE                                                              Litigation
        (INDIVIDUALLY AND AS       ACCOUNT NO.: NOT AVAILABLE
        TRUSTEES OF THE EDWIN
        LAWRENCE NUNN AND SHELIA
        JANE NUNN REVOCABLE TRUST)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.42387 NUNN, EDWIN LAWRENCE;              VARIOUS                                     Wildfire               UNDETERMINED
        NUNN, SHEILA JANE                                                              Litigation
        (INDIVIDUALLY AND AS       ACCOUNT NO.: NOT AVAILABLE
        TRUSTEES OF THE EDWIN
        LAWRENCE NUNN AND SHELIA
        JANE NUNN REVOCABLE TRUST)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42388 NUTH, NORIN                               VARIOUS                              Wildfire               UNDETERMINED
        2440 VAN PATTER DR                                                             Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.42389 OBACK, DANIEL                             VARIOUS                              Wildfire               UNDETERMINED
        1012 LAYTON RD.                                                                Litigation
        REDDING, CA 96002               ACCOUNT NO.: NOT AVAILABLE


3.42390 OBERG, CHERYL                             VARIOUS                              Wildfire               UNDETERMINED
        6320 SPAR WAY                                                                  Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42391 OBERMAN, BRIAN                            VARIOUS                              Wildfire               UNDETERMINED
        3515 MARIPOSA CT                                                               Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.42392 OBRIEN, ANNE                              VARIOUS                              Wildfire               UNDETERMINED
        1101 CHAUVET ROAD                                                              Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.42393 O'BRIEN, LISA                             VARIOUS                              Wildfire               UNDETERMINED
        5244 OLD REDWOOD HIGHWAY                                                       Litigation
        11                              ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95405


3.42394 O'BRIEN, MARY                             VARIOUS                              Wildfire               UNDETERMINED
        354 OAK LEAF CIRCLE                                                            Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.42395 OBRIEN, PATRICIA                          VARIOUS                              Wildfire               UNDETERMINED
        492 SAN GABRIEL DRIVE                                                          Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.42396 OCCHIPINTI, WILLIAM                       VARIOUS                              Wildfire               UNDETERMINED
        4846 BURLINGTON CT                                                             Litigation
        SANTA ROSA, CA 95405            ACCOUNT NO.: NOT AVAILABLE


3.42397 OCON, JESSE                               VARIOUS                              Wildfire               UNDETERMINED
        344 2ND ST E                                                                   Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.42398 O'CONNOR, ANNETTE                         VARIOUS                              Wildfire               UNDETERMINED
        3153 MOUNT VEEDER RD APT A                                                     Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.42399 O'DEA, JOHN                               VARIOUS                              Wildfire               UNDETERMINED
        235 LAUREL AVE                                                                 Litigation
        KENWOOD, CA 95452               ACCOUNT NO.: NOT AVAILABLE


3.42400 OFELIA PAULSON                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42401 OFELIA PAULSON                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42402 OFELIA PAULSON                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.42403 OFELIA PAULSON                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.42404 OGG, JANELLE                              VARIOUS                              Wildfire               UNDETERMINED
        3787 SHERBROOK DR                                                              Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.42405 OGLE, DAVID                               VARIOUS                              Wildfire               UNDETERMINED
        1672 BRYCE COURT                                                               Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.42406 OGUZ H. CAGLARCAN                         VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42407 OGUZ H. CAGLARCAN                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.42408 OGUZ H. CAGLARCAN                         VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42409 O'HARA, FRANK                             VARIOUS                              Wildfire               UNDETERMINED
        3935 ALEXANDER ST                                                              Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.42410 OHIO CASUALTY INSURANCE                   VARIOUS                              Wildfire               UNDETERMINED
        COMPANY (THE)                                                                  Litigation
        THOMAS M. REGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.42411 OHIO SECURITY INSURANCE                   VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.42412 OHIO SECURITY INSURANCE                   VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        MAURA WALSH OCHOA               ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.42413 OHIO SECURITY INSURANCE                   VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.42414 OHLEYER, MICHEAL                          VARIOUS                              Wildfire               UNDETERMINED
        172 BAY POINT                                                                  Litigation
        SAN RAFAEL, CA 94901            ACCOUNT NO.: NOT AVAILABLE


3.42415 OHLEYER, MICHEAL                          VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 776                                                                     Litigation
        SAN RAFAEL, CA 94901            ACCOUNT NO.: NOT AVAILABLE



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42416 OHN THOMAS KUNST                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42417 OHN THOMAS KUNST                          VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.42418 OHN THOMAS KUNST                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42419 OHN THOMAS KUNST                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.42420 OHN THOMAS KUNST                          VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                      Litigation
        (STATE BAR #33422) DIANE        ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.42421 OK S. SHIN                                VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Wildfire Claims

3.42422 OK S. SHIN                                VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.42423 OK SUN LEE                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42424 OK SUN LEE                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42425 OK SUN LEE                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42426 OK SUN LEE                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.42427 OKLAHOMA FIREFIGHTERS                     VARIOUS                              Wildfire               UNDETERMINED
        PENSION AND RETIREMENT                                                         Litigation
        SYSTEM                          ACCOUNT NO.: NOT AVAILABLE
        BERMAN TABACCO
        44 MONTGOMERY STREET
        SAN FRANCISCO, CA 94104




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Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.42428 OLA FAYE VAN ECK                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                                 Litigation
        178658DYLAN HUGHES- BAR               ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42429 OLA FAYE VAN ECK                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                          Litigation
        126782AMANDA L. RIDDLE -              ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.42430 OLA FAYE VAN ECK                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                             Litigation
        A. BAGHDADI                           ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42431 OLA FAYE VAN ECK                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                           Litigation
        111359KRISTINE K.                     ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42432 Olemma Arellano                                 VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                         Litigation
        application anticipated)Guy           ACCOUNT NO.: NOT AVAILABLE
        Watts, II (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42433 OLEMMA ARELLANO                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42434 OLGA PATLAND                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42435 OLGA PATLAND                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.42436 OLGA PATLAND                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.42437 OLINGER, PERI                             VARIOUS                              Wildfire               UNDETERMINED
        8898 OAK TRAIL DRIVE                                                           Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.42438 OLIVARES, LOUISE                          VARIOUS                              Wildfire               UNDETERMINED
        43 BRANNAN ST                                                                  Litigation
        APT 3                           ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.42439 OLIVEIRA, JENNIFER                        VARIOUS                              Wildfire               UNDETERMINED
        16 COBBLESTONE CT                                                              Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.42440 OLIVER BUSHON                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. THOMPSON                                                             Litigation
        THOMPSON LAW OFFICES, P.C.      ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42441 OLIVER CONOLY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42442 OLIVER CONOLY                             VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42443 OLIVER CONOLY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.42444 OLIVER CONOLY                             VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.42445 OLIVER, SIMONE                            VARIOUS                              Wildfire               UNDETERMINED
        2305 ORLEANS ST                                                                Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.42446 OLIVIA BUJOR                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42447 OLIVIA BUJOR                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42448 OLIVIA BUJOR                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42449 OLIVIA BUJOR                              VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42450 OLIVIA DAWN CHAUVIN                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42451 OLIVIA DAWN CHAUVIN                       VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42452 OLIVIA DAWN CHAUVIN                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.42453 OLIVIA DAWN CHAUVIN                       VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42454 OLIVIA MILLER                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42455 OLIVIA MILLER                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.42456 OLIVIA MILLER                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42457 OLIVIA MILLER                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42458 OLIVIA MILLER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42459 OLIVIA STALCUP                            VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42460 OLIVIA STALCUP                            VARIOUS                              Wildfire               UNDETERMINED
        DAVE A. FOXJOANNA L.                                                           Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANO BEACH, CA 92075


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42461 OLIVIA STALCUP                            VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL SIEGLOCK         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK LAW, APC
        1221 CAMINO DEL MAR


3.42462 OLMER MORALES DBA                         VARIOUS                              Wildfire               UNDETERMINED
        PATTERNS & TILE DESIGNS                                                        Litigation
        ROBERT W. JACKSON BRETT         ACCOUNT NO.: NOT AVAILABLE
        R. PARKINSONDANIEL E.
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42463 OLMER MORALES DBA                         VARIOUS                              Wildfire               UNDETERMINED
        PATTERNS & TILE DESIGNS                                                        Litigation
        ERIC RATINOFFCOELL M.           ACCOUNT NO.: NOT AVAILABLE
        SIMMONS
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42464 OLMER MORALES DBA                         VARIOUS                              Wildfire               UNDETERMINED
        PATTERNS & TILE DESIGNS                                                        Litigation
        JOHN F. FRIEDEMANN              ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.42465 OLMER MORALES DBA                         VARIOUS                              Wildfire               UNDETERMINED
        PATTERNS & TILE DESIGNS                                                        Litigation
        JOHN N. DEMAS                   ACCOUNT NO.: NOT AVAILABLE
        DEMAS LAW GROUP, P.C.
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.42466 OLSEN, KIMBERLY                           VARIOUS                              Wildfire               UNDETERMINED
        135 PALO VERDE COURT                                                           Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.42467 OLSON, JOSEPH                             VARIOUS                              Wildfire               UNDETERMINED
        3410 MORICONI DR                                                               Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.42468 OLSON, KAREN                              VARIOUS                              Wildfire               UNDETERMINED
        444 MOON MOUNTAIN RD                                                           Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.42469 OLSON, MARY                                VARIOUS                              Wildfire               UNDETERMINED
        22 TIFFANY PL                                                                   Litigation
        SANTA ROSA, CA 95409             ACCOUNT NO.: NOT AVAILABLE


3.42470 OMAR ELKHECHEN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                    Litigation
        ERIC RATINOFF LAW CORP.          ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42471 OMAR ELKHECHEN                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42472 OMAR ELKHECHEN                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                     Litigation
         REINER, SLAUGHTER &             ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42473 OMAR ELKHECHEN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42474 OMAR MARTINEZ                              VARIOUS                              Wildfire               UNDETERMINED
        OMAR I. HABBAS                                                                  Litigation
        HAABBAS & ASSOCIATES             ACCOUNT NO.: NOT AVAILABLE
        675 N. FIRST STREET, SUITE
        1000
        SAN JOSE, CA 95112


3.42475 OMAR MARTINEZ                              VARIOUS                              Wildfire               UNDETERMINED
        J. GARY GWILLIAMRANDALL E.                                                      Litigation
        STRAUSSROBERT J.                 ACCOUNT NO.: NOT AVAILABLE
        SCHWARTZGWILLIAM, IVARY,
        CHIOSSO
        CAVALLI & BREWER
        1999 HARRISON ST., SUITE 1600,
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42476 OMAR MARTINEZ                             VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.42477 ON BEHALF OF FIFE,                        VARIOUS                              Wildfire               UNDETERMINED
        PROGRESSIVE                                                                    Litigation
        24344 NETWORK PLACE             ACCOUNT NO.: NOT AVAILABLE
        ATTN. LEVELLA PARKER
        CHICAGO, CA 60673-1243


3.42478 O'NEAL, ASHLEY                            VARIOUS                              Wildfire               UNDETERMINED
        1707 OLDFIELD WAY                                                              Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.42479 O'NEAL, BRIAN KEITH; O'NEAL,              VARIOUS                              Wildfire               UNDETERMINED
        JANET LYNN                                                                     Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42480 O'NEAL, BRIAN KEITH; O'NEAL,              VARIOUS                              Wildfire               UNDETERMINED
        JANET LYNN                                                                     Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42481 O'NEAL, BRIAN KEITH; O'NEAL,         VARIOUS                                   Wildfire               UNDETERMINED
        JANET LYNN                                                                     Litigation
        CO-COUNSELDEMETRIOS A.       ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.42482 O'NEIL, KATIE                             VARIOUS                              Wildfire               UNDETERMINED
        4145 SHADOW LN APT 224                                                         Litigation
        SANTA ROSA, CA 95405            ACCOUNT NO.: NOT AVAILABLE


3.42483 ONELDAHODSON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                    Litigation
        WALKUP MELODIA KELLY&           ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Wildfire Claims

3.42484 ONELDAHODSON                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE (SBN                                                            Litigation
        100077)ALISON E. CORDOVA        ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


3.42485 ONELDAHODSON                              VARIOUS                              Wildfire               UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                    Litigation
        PANISH SHEA &BOYLE, LLP         ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.42486 ONELDAHODSON                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42487 ONESTI, ROBBIE                            VARIOUS                              Wildfire               UNDETERMINED
        6380 TUNNEL LOOP ROAD                                                          Litigation
        GRANTS PASS, CA 97526           ACCOUNT NO.: NOT AVAILABLE


3.42488 ONEY CARRELL                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42489 ONEY CARRELL                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42490 ONEY CARRELL                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42491 ONEY CARRELL                              VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42492 ONG, REBECCA CHERIE                       VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42493 ONG, REBECCA CHERIE                       VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42494 ONG, REBECCA CHERIE               VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.42495 ONJELLE WASHINGTON                        VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                       Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.42496 OPDYKE, ERICA                             VARIOUS                              Wildfire               UNDETERMINED
        1601 GAMAY                                                                     Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.42497 ORA ELIZABETH WEAVER                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42498 ORA ELIZABETH WEAVER                      VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.42499 ORA ELIZABETH WEAVER                      VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42500 ORA ELIZABETH WEAVER                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.42501 ORALEE MURILLO                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.42502 ORALEE MURILLO                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.42503 ORALEE MURILLO                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42504 ORALEE MURILLO                            VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.42505 ORALEE MURILLO                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.42506 ORANTES, CHRISTY                          VARIOUS                              Wildfire               UNDETERMINED
        1300 MISSION BLVD                                                              Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.42507 ORD, JENNIFER                             VARIOUS                              Wildfire               UNDETERMINED
        1345 ZACHERY PL                                                                Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.42508 OREGON MUTUAL INSURANCE                   VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        BRIAN J. FERBERJEFFREY K.       ACCOUNT NO.: NOT AVAILABLE
        JAYSON
        LAW OFFICES OF BRIAN J.
        FERBER, INC.
        5611 FALLBROOK AVENUE
        WOODLAND HILLS, CALIFORNIA
        91367


3.42509 ORION FOLTZ                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42510 ORION FOLTZ                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42511 ORION FOLTZ                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42512 ORION FOLTZ                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42513 ORION FOLTZ                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.42514 ORLANDO BONILLA                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.42515 ORLANDO, DEBORAH                          VARIOUS                              Wildfire               UNDETERMINED
        811 SENTINEL CT                                                                Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.42516 ORNELAS, SARA                             VARIOUS                              Wildfire               UNDETERMINED
        6131 MONTECITO BLVD. APT. 22                                                   Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.42517 ORR, CATHIE CHILDRESS; JOHN               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT ORR                                                                     Litigation
        DARIO DE GHETALDI AMANDA        ACCOUNT NO.: NOT AVAILABLE
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42518 ORR, CATHIE CHILDRESS; JOHN               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT ORR                                                                     Litigation
        MIKE DANKOKRISTINE              ACCOUNT NO.: NOT AVAILABLE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42519 ORR, JULIA                                VARIOUS                              Wildfire               UNDETERMINED
        2401 OLD SODA SPRINGS ROAD                                                     Litigation
        HOUSE A                         ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.42520 ORTEGA, RONALD                            VARIOUS                              Wildfire               UNDETERMINED
        5767 LOCHCARRON DRIVE                                                          Litigation
        MARYSVILLE, CA 95901            ACCOUNT NO.: NOT AVAILABLE


3.42521 ORTIZ MADRIGAL, JOSE                      VARIOUS                              Wildfire               UNDETERMINED
        4105 SILVERADO TRL                                                             Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.42522 ORTIZ, CARLOS                             VARIOUS                              Wildfire               UNDETERMINED
        1182 TROWER AVE                                                                Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.42523 ORTIZ, GINGER                             VARIOUS                              Wildfire               UNDETERMINED
        21023 PEARY AVE                                                                Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.42524 ORTIZ, JENIFER                            VARIOUS                              Wildfire               UNDETERMINED
        2517 CHANATE RD                                                                Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.42525 ORTIZ, PANFILO                            VARIOUS                              Wildfire               UNDETERMINED
        1402 WASHINGTON STREET                                                         Litigation
        CALISTOGA, CA 94515             ACCOUNT NO.: NOT AVAILABLE


3.42526 ORVILLE STEPHEN GRAY                      VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




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Wildfire Claims

3.42527 ORVILLE STEPHEN GRAY                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.42528 ORVILLE STEPHEN GRAY                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42529 ORVILLE STEPHEN GRAY                      VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42530 OSCAR QUIJANO                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42531 OSCAR QUIJANO                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42532 OSCAR QUIJANO                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.42533 OSCAR QUIJANO                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825




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Wildfire Claims

3.42534 OSHANA MISKELLY                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42535 OSHANA MISKELLY                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.42536 OSTER, KATHERINE                  VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.42537 OSTER, KATHERINE                          VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42538 OSTER, KATHERINE                          VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42539 OSTERLYE, ARAM                            VARIOUS                              Wildfire               UNDETERMINED
        14644 COLTER WAY                                                               Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


3.42540 O'SULLIVAN, NEIL                          VARIOUS                              Wildfire               UNDETERMINED
        18480 RIVERSIDE DR                                                             Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.42541 OTTOLITRI, ALICE                          VARIOUS                              Wildfire               UNDETERMINED
        171 W SPAIN STREET                                                             Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE




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Wildfire Claims

3.42542 OVIATT, MARSHA AND NEVIN W.               VARIOUS                              Wildfire               UNDETERMINED
        MIKE DANKOKRISTINE                                                             Litigation
        MEREDITHSHAWN                   ACCOUNT NO.: NOT AVAILABLE
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42543 OVIATT, MARSHA AND NEVIN W.               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI AMANDA                                                       Litigation
        L. RIDDLE CLARE CAPACCIOLI      ACCOUNT NO.: NOT AVAILABLE
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.42544 OWEN GRAY                                 VARIOUS                              Wildfire               UNDETERMINED
        THE ARNS LAW FIRM                                                              Litigation
        ROBERT S. ARNS                  ACCOUNT NO.: NOT AVAILABLE
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.42545 OWEN GRAY                                 VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                        Litigation
        D. EDWARDSJASON B.              ACCOUNT NO.: NOT AVAILABLE
        FRIEDMAN
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.42546 OWEN MCFARLAND                            VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                    Litigation
        248092)JACK W. WEAVER,          ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.42547 OWEN MCFARLAND                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Wildfire Claims

3.42548 OWEN MCFARLAND                            VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                      Litigation
        (SBN 99126)NATASHA N.           ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.42549 OWEN MCFARLAND                            VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                    Litigation
        9858)JESSICA W. HAYES.,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.42550 OWENS, BURCH                              VARIOUS                              Wildfire               UNDETERMINED
        1052 SONOMA GLEN CIRCLE                                                        Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.42551 P31 ENTERPRISES, INC-FINLEY,              VARIOUS                              Wildfire               UNDETERMINED
        KASI                                                                           Litigation
        4288 HIGHWAY 70                 ACCOUNT NO.: NOT AVAILABLE
        OROVILLE, CA 95966


3.42552 PACHECO, GUSTAVO                          VARIOUS                              Wildfire               UNDETERMINED
        1759 WINDROSE LANE                                                             Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.42553 PACHECO, RAMON                            VARIOUS                              Wildfire               UNDETERMINED
        2324 HEIDI PLANCE                                                              Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.42554 PACIFIC PROPERTY AND                      VARIOUS                              Wildfire               UNDETERMINED
        CASUALTY COMPANY                                                               Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES, LLP
        1766 LACASSIDE AVE, SUITE 200
        WALNUT CREEK, CA 94596




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42555 PACIFIC PROPERTY AND                      VARIOUS                              Wildfire               UNDETERMINED
        CASUALTY COMPANY                                                               Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JAND & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.42556 PACIFIC SPECIALTY                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MICHELLE L. BURTON, ESQ.        ACCOUNT NO.: NOT AVAILABLE
        (SBN -187152)RACHAEL K.
        KELLEY, ESQ. (SBN - 292718)
        SHOECRAFT BURTON, LLP
        750 B STREET, SUITE 2610
        SAN DIEGO, CA 92101


3.42557 PACIFIC SPECIALTY                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.42558 PACIFIC SPECIALTY                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.42559 PADEN, MICHAEL & MARJORIE                 VARIOUS                              Wildfire               UNDETERMINED
        DANIEL G. WHALEN                                                               Litigation
        ENGSTROM LIPSCOMB & LACK        ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.42560 PAGE, LARRY                               VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 1376                                                                  Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.42561 PAGE, LARRY                               VARIOUS                              Wildfire               UNDETERMINED
        13351 GIBSON ST.                                                               Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.42562 PAGE, MICHAEL STEVEN; PAGE,                 VARIOUS                              Wildfire               UNDETERMINED
        AARON MICHAEL CARNAHAN (A                                                        Litigation
        MINOR, BY AND THROUGH HIS         ACCOUNT NO.: NOT AVAILABLE
        GUARDIAN AD LITEM MICHAEL
        STEVEN PAGE)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42563 PAGE, MICHAEL STEVEN; PAGE,                 VARIOUS                              Wildfire               UNDETERMINED
        AARON MICHAEL CARNAHAN (A                                                        Litigation
        MINOR, BY AND THROUGH HIS         ACCOUNT NO.: NOT AVAILABLE
        GUARDIAN AD LITEM MICHAEL
        STEVEN PAGE)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42564 PAGE, MICHAEL STEVEN; PAGE,         VARIOUS                                      Wildfire               UNDETERMINED
        AARON MICHAEL CARNAHAN (A                                                        Litigation
        MINOR, BY AND THROUGH HIS   ACCOUNT NO.: NOT AVAILABLE
        GUARDIAN AD LITEM MICHAEL
        STEVEN PAGE)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.42565 PAGLIERO, JOHN                              VARIOUS                              Wildfire               UNDETERMINED
        2808 REDWOOD ROAD                                                                Litigation
        NAPA, CA 94558                    ACCOUNT NO.: NOT AVAILABLE


3.42566 PAGNANO, WILLIAM                            VARIOUS                              Wildfire               UNDETERMINED
        2815 ALTON LANE                                                                  Litigation
        SANTA ROSA, CA 95403              ACCOUNT NO.: NOT AVAILABLE


3.42567 Pagtakhan, Fatima Luceia                    VARIOUS                              Wildfire               UNDETERMINED
        Bonotan; Hughes, Douglas Keith,                                                  Litigation
        Jr.; Hughes, Keith Raymond (A     ACCOUNT NO.: NOT AVAILABLE
        Minor, By And Through His
        Guardian Ad Litem Fatima Luceia
        Bonotan Pagtakhan)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.42568 Pagtakhan, Fatima Luceia                    VARIOUS                              Wildfire               UNDETERMINED
        Bonotan; Hughes, Douglas Keith,                                                  Litigation
        Jr.; Hughes, Keith Raymond (A     ACCOUNT NO.: NOT AVAILABLE
        Minor, By And Through His
        Guardian Ad Litem Fatima Luceia
        Bonotan Pagtakhan)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.42569 Pagtakhan, Fatima Luceia                    VARIOUS                              Wildfire               UNDETERMINED
        Bonotan; Hughes, Douglas Keith,                                                  Litigation
        Jr.; Hughes, Keith Raymond (A     ACCOUNT NO.: NOT AVAILABLE
        Minor, By And Through His
        Guardian Ad Litem Fatima Luceia
        Bonotan Pagtakhan)
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.42570 PAIGE HENDRIX                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                         Litigation
        VASQUEZ AMANDA LOCURTO            ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.42571 PAIGE HENDRIX                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                        Litigation
        PENDING)JOHN P. FISKE             ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.42572 PAIGE HENDRIX                               VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                   Litigation
        LAW OFFICES OF ALEXANDER          ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.42573 PAIGE HENDRIX                               VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                          Litigation
        DIXONROBERT J. CHAMBERS II        ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42574 PAIGE HENDRIX                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.42575 PAIGE HENDRIX                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.42576 PAIGE JANNETT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42577 PAIGE JANNETT                             VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.42578 PAIGE JANNETT                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42579 PAIGE JANNETT                             VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                      Litigation
        SBN: 147086                     ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.42580 PAIGE JOHNSON                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42581 PAIGE JOHNSON                               VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                     Litigation
        APPLICATION                       ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42582 PAIGE JOHNSON                               VARIOUS                              Wildfire               UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                         Litigation
        315962)TODD LOGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.42583 Paige Johnson                               VARIOUS                              Wildfire               UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111


3.42584 PALMA, AMY                                  VARIOUS                              Wildfire               UNDETERMINED
        44 JUNIPER DR                                                                    Litigation
        NAPA, CA 94558                    ACCOUNT NO.: NOT AVAILABLE


3.42585 PALMA, NIDIA                                VARIOUS                              Wildfire               UNDETERMINED
        1511 MYRTLE ST                                                                   Litigation
        CALISTOGA, CA 94515               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42586 PALMER DE PEYSTER                         VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.42587 PALMER DE PEYSTER                         VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.42588 PALMER DE PEYSTER                         VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.42589 PALMER, IDA                               VARIOUS                              Wildfire               UNDETERMINED
        122 CALISTOGA RD. # 358                                                        Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.42590 PALMER, JOHN                              VARIOUS                              Wildfire               UNDETERMINED
        1080 MAIN ST. #A                                                               Litigation
        SAINT HELENA, CA 94574          ACCOUNT NO.: NOT AVAILABLE


3.42591 PALMER, JOHN                              VARIOUS                              Wildfire               UNDETERMINED
        750 TRINITY ROAD                                                               Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.42592 PALMER, KIRK                              VARIOUS                              Wildfire               UNDETERMINED
        14810 CLINTON RD.                                                              Litigation
        JACKSON, CA 95642               ACCOUNT NO.: NOT AVAILABLE


3.42593 PALMER, KIRK                              VARIOUS                              Wildfire               UNDETERMINED
        750 TRWITY RD., GLEN ELLEN,                                                    Litigation
        CA., 95442                      ACCOUNT NO.: NOT AVAILABLE
        JACKSON, CA 95642


3.42594 PALOMARES, JOHN                           VARIOUS                              Wildfire               UNDETERMINED
        1415 RANGE AVE                                                                 Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42595 PAM COX                                   VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42596 PAM COX                                   VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.42597 PAM COX                                   VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42598 PAM COX                                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42599 PAM COX                                   VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.42600 PAM THRONTON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Wildfire Claims

3.42601 PAM THRONTON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42602 PAM THRONTON                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42603 PAM THRONTON                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.42604 PAMELA A. MOSELEY                         VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.42605 PAMELA A. MOSELEY                         VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                      Litigation
        (STATE BAR #33422) DIANE        ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024



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Wildfire Claims

3.42606 PAMELA A. MOSELEY                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42607 PAMELA A. MOSELEY                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42608 PAMELA A. MOSELEY                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.42609 PAMELA BAILEY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42610 PAMELA BAILEY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42611 PAMELA BAILEY                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42612 PAMELA BAILEY                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.42613 PAMELA BEEBE                              VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.42614 PAMELA BEEBE                              VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.42615 PAMELA BEEBE                              VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.42616 PAMELA BENSON                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.42617 PAMELA BENSON                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42618 PAMELA BENSON                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.42619 PAMELA BENSON                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42620 PAMELA BENSON                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.42621 PAMELA BROSNAN                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ.,                                                           Litigation
        #166204GREGORY A. STUCK,        ACCOUNT NO.: NOT AVAILABLE
        ESQ., #311162
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42622 PAMELA BROSNAN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150DANIEL E.
        PASSMORE, ESQ., #312155
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42623 PAMELA BROSNAN                            VARIOUS                              Wildfire               UNDETERMINED
                                                                                       Litigation
       DEMAS LAW GROUP, P.C.            ACCOUNT NO.: NOT AVAILABLE
       701 HOWE AVENUE, SUITE A-1
       SACRAMENTO, CA 95825




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.42624 PAMELA BROSNAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                       Litigation
        #115632                          ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.42625 PAMELA COX                                 VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.42626 PAMELA COX                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.42627 PAMELA COX                                 VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.42628 PAMELA COX                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                       Litigation
        MARTINI                          ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.42629 PAMELA COX                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42630 PAMELA COX                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42631 PAMELA COX                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.42632 PAMELA COX                                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42633 PAMELA COX                                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42634 PAMELA COX                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.42635 PAMELA COX                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42636 PAMELA COX                                VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42637 PAMELA COX                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.42638 PAMELA COX                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42639 PAMELA COX                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42640 PAMELA COX                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42641 PAMELA COX                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42642 PAMELA COX                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42643 PAMELA COX                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42644 PAMELA D. HALL                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42645 PAMELA D. HALL                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42646 PAMELA D. HALL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42647 PAMELA D. HALL                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42648 PAMELA D. HALL                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42649 PAMELA DAVIS                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42650 PAMELA DAVIS                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.42651 PAMELA DORSEY                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.42652 PAMELA DORSEY                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.42653 PAMELA DORSEY                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42654 PAMELA DORSEY                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.42655 PAMELA DORSEY                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                      Litigation
        (SBN 69176)IAN C.                ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.42656 PAMELA DUNLAP                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42657 PAMELA DUNLAP                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42658 PAMELA DUNLAP                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.42659 PAMELA DUNLAP                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.42660 PAMELA DUNLAP                              VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42661 PAMELA FRAYNE                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.42662 PAMELA FRAYNE                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42663 PAMELA GARRISON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42664 PAMELA GARRISON                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42665 PAMELA GARRISON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.42666 PAMELA GARRISON                           VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42667 PAMELA HULETT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.42668 PAMELA HULETT                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.42669 PAMELA HULETT                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.42670 PAMELA LIEMS                              VARIOUS                              Wildfire               UNDETERMINED
        BRENDAN M. KUNKLEMICHAEL                                                       Litigation
        D. GREENSCOTT R.                ACCOUNT NO.: NOT AVAILABLE
        MONTGOMERY
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE 200
        SANTA ROSA, CA 95401


3.42671 PAMELA LYONS                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.42672 PAMELA LYONS                                   VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                                Litigation
        #109455LAURA E. BROWN                ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.42673 PAMELA LYONS                                   VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42674 PAMELA LYONS                                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42675 PAMELA LYONS                                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                      Litigation
        71460KHALDOUN A. BAGHDADI            ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.42676 Pamela Rumberg                                 VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42677 PAMELA RUMBERG                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.42678 PAMELA RUMBERG                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.42679 PAMELA S. LARIMER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42680 PAMELA S. LARIMER                         VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42681 PAMELA S. LARIMER                         VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42682 PAMELA S. LARIMER                         VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.42683 PAMELA SAMUELSON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42684 PAMELA SAMUELSON                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42685 PAMELA SAMUELSON                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42686 PAMELA SAMUELSON                          VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.42687 PAMELA SAMUELSON                          VARIOUS                              Wildfire               UNDETERMINED
        KEVIN 0. MOON, STATE BAR                                                       Litigation
        NO. 246792CHRISTOPHER D.        ACCOUNT NO.: NOT AVAILABLE
        MOON, STATE BAR NO. 246622
        MOON LAW APC
        499 SEAPORT COURT, SUITE 200
        REDWOOD CITY, CALIFORNIA
        94063


3.42688 PAMELA SCHEIDEMAN                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.42689 PAMELA SCHEIDEMAN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.42690 PAMELA SCHEIDEMAN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42691 PAMELA SCHEIDEMAN                          VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.42692 PAMELA SCHEIDEMAN                          VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.42693 PAMELA SCHROCK                             VARIOUS                              Wildfire               UNDETERMINED
        DAVE A. FOXCOURTNEY                                                             Litigation
        VASQUEZ                          ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANO BEACH, CA 92075


3.42694 PAMELA SCHROCK                             VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                      Litigation
        ZUMMER                           ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42695 PAMELA SCHROCK                            VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C. SIEGLOCK                                                        Litigation
        SIEGLOCK LAW, APC               ACCOUNT NO.: NOT AVAILABLE
        2715 W. KETTLEMAN LANE,
        SUITE 203 #266
        LODI, CA 95242


3.42696 PAMELA STEED                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.42697 PAMELA STEED                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42698 PAMELA STEED                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42699 PAMELA STEED                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42700 PAMELA STEED                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42701 PAMELA T. FOWLER                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.42702 PAMELA T. FOWLER                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.42703 PAMELA T. FOWLER                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.42704 PAMELA T. FOWLER                          VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42705 PAMELA T. FOWLER                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.42706 PAMELA VENTURI-COWAN                      VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42707 PAMELA VENTURI-COWAN                      VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.42708 PAMELA VENTURI-COWAN                      VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42709 PAMELA VENTURI-COWAN                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.42710 PAMELA VENTURI-COWAN                      VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.42711 PAMELA WATSON                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.42712 PAMELA WATSON                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42713 PAMELA WATSON                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42714 PAMELA WATSON                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42715 PAMELA WATSON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42716 PANA Y AH A. LESTER                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42717 PANA Y AH A. LESTER                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.42718 PANA Y AH A. LESTER                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42719 PANA Y AH A. LESTER                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42720 PANA Y AH A. LESTER                       VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42721 PANIAGUA, JAIME                           VARIOUS                              Wildfire               UNDETERMINED
        161 MOSS LN                                                                    Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.42722 PAOLA ESQUIVEL HERNANDEZ                  VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42723 PAOLA ESQUIVEL HERNANDEZ                  VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.42724 PAOLA ESQUIVEL HERNANDEZ                  VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FINN      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.42725 PAPWORTH, SONYA                           VARIOUS                              Wildfire               UNDETERMINED
        2661 NORTHCOAST STREET                                                         Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.42726 PARADISE COMMUNITY                        VARIOUS                              Wildfire               UNDETERMINED
        VILLAGE 1, L.P.                                                                Litigation
        MICHAEL A. KELLYKHALDOUN        ACCOUNT NO.: NOT AVAILABLE
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42727 PARADISE COMMUNITY                        VARIOUS                              Wildfire               UNDETERMINED
        VILLAGE 1, L.P.                                                                Litigation
        MICHAEL S. FEINBERG, SBN        ACCOUNT NO.: NOT AVAILABLE
        81867
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.42728 PARADISE COMMUNITY                        VARIOUS                              Wildfire               UNDETERMINED
        VILLAGE 1, L.P.                                                                Litigation
        THOMAS TOSDAL, SBN 67834        ACCOUNT NO.: NOT AVAILABLE
        TOSDAL LAW FIRM
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42729 PARADISE COMMUNITY                        VARIOUS                              Wildfire               UNDETERMINED
        VILLAGE 1, L.P.                                                                Litigation
        DAVID S. CASEY, JR., SBN        ACCOUNT NO.: NOT AVAILABLE
        60768ANGELA JAE CHUN, SBN
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.42730 PARADISE GAS & FOOD INC.                  VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42731 PARADISE GAS & FOOD INC.                  VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42732 PARADISE GAS & FOOD INC.                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42733 PARADISE GAS & FOOD INC.                  VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42734 PARADISE LENS LAB LLC                     VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42735 PARADISE LENS LAB LLC                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42736 PARADISE LENS LAB LLC                     VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42737 PARADISE LENS LAB LLC                     VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42738 PARADISE MEDICAL GROUP INC.               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42739 PARADISE MEDICAL GROUP INC.               VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42740 PARADISE MEDICAL GROUP INC.               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42741 PARADISE MEDICAL GROUP INC.               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42742 PARADISE MEDICAL GROUP PC                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42743 PARADISE MEDICAL GROUP PC                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42744 PARADISE MEDICAL GROUP PC                 VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42745 PARADISE MEDICAL GROUP PC                 VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


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Including Zip Code                                    Account Number                            Claim

Wildfire Claims

3.42746 PARADISE MOBILE ESTATES,                         VARIOUS                              Wildfire               UNDETERMINED
        LLC, A CALIFORNIA LIMITED                                                             Litigation
        LIABILITY COMPANY                      ACCOUNT NO.: NOT AVAILABLE
        MICHAELA. KELLY (SBN 71460)
        WALKUP MELODIA KELLY&
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42747 PARADISE MOBILE ESTATES,                         VARIOUS                              Wildfire               UNDETERMINED
        LLC, A CALIFORNIA LIMITED                                                             Litigation
        LIABILITY COMPANY                      ACCOUNT NO.: NOT AVAILABLE
        BRIANJ. PANISH (SBN 116060)
        PANISH SHEA &BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.42748 Paradise Mobile Estates, LLC, A                  VARIOUS                              Wildfire               UNDETERMINED
        California Limited Liability Company                                                  Litigation
        Frank M. Pitre (SBN                    ACCOUNT NO.: NOT AVAILABLE
        100077)Alison E. Cordova (SBN
        284942)John P. Thyken (SBN
        286598)
        Cotchett, Pitre & Mccarthy, LLP
        San Francisco Airport Office
        Center840 Malcolm Road, Suite
        200
        Burlingame, CA 94010


3.42749 PARADISE MOBILE ESTATES,                         VARIOUS                              Wildfire               UNDETERMINED
        LLC, A CALIFORNIA LIMITED                                                             Litigation
        LIABILITY COMPANY                      ACCOUNT NO.: NOT AVAILABLE
        RICHARD L. HARRIMAN
        (SBN66124)
        LAW OFFICES OF RICHARD L.
        HARRIMAN
        1078 VIA VERONA DR.
        CHICO, CA 95973


3.42750 PARADISE MOOSE LODGE                             VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH FEIST -- SBN                                                                   Litigation
        249447JONATHAN J.                      ACCOUNT NO.: NOT AVAILABLE
        GRIFFITH -- SBN 266891
        NORTHERN CALIFORNIA LAW
        GROUP, PC.
        2611 ESPLANADE
        CHICO, CA 95973




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.42751 PARADISE MOOSE LODGE                       VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.42752 PARADISE MOOSE LODGE                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42753 PARADISE MOOSE LODGE                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42754 PARADISE MOOSE LODGE                       VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.42755 PARASTO SEDIGH FARASATI                    VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                        Litigation
        LAW OFFICES OF JOHN COX          ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42756 PARASTO SEDIGH FARASATI                    VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                      Litigation
        HANSEN AND MILLER LAW FINN       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.42757 PARASTO SEDIGH FARASATI                    VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                           Litigation
        BOLDT                            ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.42758 PARDELLA, JOHN                                 VARIOUS                              Wildfire               UNDETERMINED
        7524 FERROGGIARO WAY                                                                Litigation
        SANTA ROSA, CA 95409                 ACCOUNT NO.: NOT AVAILABLE


3.42759 PARGETT, RONALD; SHARON                        VARIOUS                              Wildfire               UNDETERMINED
        ALBAUGH PARGETT                                                                     Litigation
        DANIEL G. WHALEN                     ACCOUNT NO.: NOT AVAILABLE
        ENGSTROM LIPSCOMB & LACK
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.42760 PARISI, GINA                                   VARIOUS                              Wildfire               UNDETERMINED
        312 LAKE ST                                                                         Litigation
        SONOMA, CA 95476                     ACCOUNT NO.: NOT AVAILABLE


3.42761 PARISI, MADALENA                               VARIOUS                              Wildfire               UNDETERMINED
        295 LAKE ST                                                                         Litigation
        SONOMA, CA 95476                     ACCOUNT NO.: NOT AVAILABLE


3.42762 PARKER, MARRIAH                                VARIOUS                              Wildfire               UNDETERMINED
        4675 QUIGG DR                                                                       Litigation
        133                                  ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95409


3.42763 PARKER, ROBERT                                 VARIOUS                              Wildfire               UNDETERMINED
        12077 LOMA RICA RD                                                                  Litigation
        MARYSVILLE, CA 95901                 ACCOUNT NO.: NOT AVAILABLE


3.42764 Parker, Silas Daniel; Rummerfield,             VARIOUS                              Wildfire               UNDETERMINED
        Erika Francine; Rummerfield, Joyce                                                  Litigation
        Louise; Rummerfield, Eric Eugene,    ACCOUNT NO.: NOT AVAILABLE
        Sr.; Sandoval, Daniel David;
        Valdez, Shaina Eveningstar;
        Williams, Bonnie Sue; Strickland,
        Andrew (Minors, By And Through
        Their Guardian Ad Litem Erika
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.42765 Parker, Silas Daniel; Rummerfield,             VARIOUS                              Wildfire               UNDETERMINED
        Erika Francine; Rummerfield, Joyce                                                  Litigation
        Louise; Rummerfield, Eric Eugene,    ACCOUNT NO.: NOT AVAILABLE
        Sr.; Sandoval, Daniel David;
        Valdez, Shaina Eveningstar;
        Williams, Bonnie Sue; Strickland,
        Andrew (Minors, By And Through
        Their Guardian Ad Litem Erika
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.42766 Parker, Silas Daniel; Rummerfield,             VARIOUS                              Wildfire               UNDETERMINED
        Erika Francine; Rummerfield, Joyce                                                  Litigation
        Louise; Rummerfield, Eric Eugene,    ACCOUNT NO.: NOT AVAILABLE
        Sr.; Sandoval, Daniel David;
        Valdez, Shaina Eveningstar;
        Williams, Bonnie Sue; Strickland,
        Andrew (Minors, By And Through
        Their Guardian Ad Litem Erika
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.42767 PARKER, THOMAS                                 VARIOUS                              Wildfire               UNDETERMINED
        17275 CRAGMONT DRIVE                                                                Litigation
        SONOMA, CA 95476                     ACCOUNT NO.: NOT AVAILABLE


3.42768 PARKER, TRACEY                                 VARIOUS                              Wildfire               UNDETERMINED
        DANIEL G. WHALEN                                                                    Litigation
        ENGSTROM LIPSCOMB & LACK             ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.42769 PARKERSWAIN, CHRISTOPHER                       VARIOUS                              Wildfire               UNDETERMINED
        1466 TALLAC ST                                                                      Litigation
        NAPA, CA 94558                       ACCOUNT NO.: NOT AVAILABLE


3.42770 PARKISON, DEBBIE                               VARIOUS                              Wildfire               UNDETERMINED
        1932 DRENDEL CIRCLE                                                                 Litigation
        PARADISE, CA 95969                   ACCOUNT NO.: NOT AVAILABLE


3.42771 PARMELEE, LORI                                 VARIOUS                              Wildfire               UNDETERMINED
        17200 KEATON                                                                        Litigation
        SONOMA, CA 95476                     ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.42772 PARNELL, ROWING                               VARIOUS                              Wildfire               UNDETERMINED
        83 ZINFANDEL LANE                                                                  Litigation
        SAINT HELENA, CA 94574              ACCOUNT NO.: NOT AVAILABLE


3.42773 PARRA, MARIA                                  VARIOUS                              Wildfire               UNDETERMINED
        18837 ARNOLD DR                                                                    Litigation
        SONOMA, CA 95476                    ACCOUNT NO.: NOT AVAILABLE


3.42774 Parry Murray                                  VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.42775 PARRY MURRAY                                  VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.42776 PARTAIN, MARIE                                VARIOUS                              Wildfire               UNDETERMINED
        847 CAMELIA DR                                                                     Litigation
        LIVERMORE, CA 94550                 ACCOUNT NO.: NOT AVAILABLE


3.42777 PARTICELLI, AMY                               VARIOUS                              Wildfire               UNDETERMINED
        1137 HUDSON AVE                                                                    Litigation
        SAINT HELENA, CA 94574              ACCOUNT NO.: NOT AVAILABLE


3.42778 PASSARINO, MAGGIE                             VARIOUS                              Wildfire               UNDETERMINED
        2470 CALISTOGA RD                                                                  Litigation
        SANTA ROSA, CA 95404                ACCOUNT NO.: NOT AVAILABLE


3.42779 PAT BELARDI                                   VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. THOMPSON                                                                 Litigation
        THOMPSON LAW OFFICES, P.C.          ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42780 PAT SHEPARD                               VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42781 PAT SHEPARD                               VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.42782 PATEL, ANASTASIA                          VARIOUS                              Wildfire               UNDETERMINED
        435 CHESTNUT AVE.                                                              Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.42783 PATEL, JITESH                             VARIOUS                              Wildfire               UNDETERMINED
        2306 AVIGNON CIRCLE                                                            Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.42784 PATINO, JENNIFER                          VARIOUS                              Wildfire               UNDETERMINED
        2410 ZURLO CT                                                                  Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.42785 PATLAND ESTATE VINEYARDS,                 VARIOUS                              Wildfire               UNDETERMINED
        LLC                                                                            Litigation
        THOMAS TOSDAL                   ACCOUNT NO.: NOT AVAILABLE
        TOSDAL LAW FIRM
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42786 PATLAND ESTATE VINEYARDS,                 VARIOUS                              Wildfire               UNDETERMINED
        LLC                                                                            Litigation
        MICHAEL S. FEINBERG             ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42787 PATLAND ESTATE VINEYARDS,                 VARIOUS                              Wildfire               UNDETERMINED
        LLC                                                                            Litigation
        DAVID S. CASEY, JR., SBN        ACCOUNT NO.: NOT AVAILABLE
        60768GAYLE M. BLATT, SBN
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.42788 PATRICE SNYDER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42789 PATRICE SNYDER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42790 PATRICE SNYDER                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42791 PATRICE SNYDER                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42792 PATRICIA A. CRILE                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42793 PATRICIA A. CRILE                         VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.42794 PATRICIA A. MEDINAS                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42795 PATRICIA A. MEDINAS                       VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                      Litigation
        SBN: 147086                     ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I


3.42796 PATRICIA A. MEDINAS                       VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.42797 PATRICIA A. MEDINAS                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42798 PATRICIA A. SANFORD                       VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.42799 PATRICIA A. SANFORD                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42800 PATRICIA A. SANFORD                       VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42801 PATRICIA A. SANFORD                       VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42802 PATRICIA ALLEN                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42803 PATRICIA ALLEN                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.42804 PATRICIA ANN BIAS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42805 PATRICIA ANN BIAS                         VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.42806 PATRICIA ANN MALNICK                      VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42807 PATRICIA ANN MALNICK                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42808 PATRICIA ANN MALNICK                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42809 PATRICIA ANN MALNICK                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42810 PATRICIA ANN MALNICK                      VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42811 PATRICIA ANN MALNICK                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.42812 PATRICIA ANN MALNICK                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.42813 PATRICIA ANN MALNICK                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.42814 PATRICIA BATOOSINGH                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42815 PATRICIA BATOOSINGH                       VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42816 PATRICIA BATOOSINGH                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.42817 PATRICIA BATOOSINGH                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.42818 PATRICIA BENSON                           VARIOUS                              Wildfire               UNDETERMINED
        KEVIN 0. MOON, STATE BAR                                                       Litigation
        NO. 246792CHRISTOPHER D.        ACCOUNT NO.: NOT AVAILABLE
        MOON, STATE BAR NO. 246622
        MOON LAW APC
        499 SEAPORT COURT, SUITE 200
        REDWOOD CITY, CALIFORNIA
        94063


3.42819 PATRICIA BENSON                           VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.42820 PATRICIA BENSON                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42821 PATRICIA BENSON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42822 PATRICIA BENSON                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42823 PATRICIA BRADLEY                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42824 PATRICIA BRADLEY                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42825 PATRICIA BRADLEY                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42826 PATRICIA BRADLEY                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.42827 PATRICIA BREWER                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42828 PATRICIA BREWER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.42829 PATRICIA BREWER                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.42830 PATRICIA BREWER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.42831 PATRICIA BREWER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42832 PATRICIA BRIGHT                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42833 PATRICIA BRIGHT                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42834 PATRICIA BRIGHT                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42835 PATRICIA BRIGHT                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42836 PATRICIA BRUNO                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.42837 PATRICIA BRUNO                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.42838 PATRICIA BRUNO                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42839 PATRICIA BRUNO                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42840 PATRICIA BRUNO                            VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.42841 PATRICIA BURKE                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42842 PATRICIA BURKE                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.42843 PATRICIA CHERMACK                         VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.42844 PATRICIA CHERMACK                         VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42845 PATRICIA CHERMACK                         VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.42846 PATRICIA CRONE                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150DANIEL E.
        PASSMORE, ESQ. #312155
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42847 PATRICIA CRONE                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ.,                                                           Litigation
        #166204GREGORY A. STUCK,        ACCOUNT NO.: NOT AVAILABLE
        ESQ., #311162
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42848 PATRICIA CRONE                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        #115632                         ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.42849 PATRICIA CRONE                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS, ESQ., #161563                                                   Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.42850 PATRICIA CUMMINGS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42851 PATRICIA CUMMINGS                         VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42852 PATRICIA CUMMINGS                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42853 PATRICIA CUMMINGS                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.42854 PATRICIA CUMMINGS                         VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.42855 PATRICIA CUNAG                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42856 PATRICIA CUNAG                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42857 PATRICIA CUNAG                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42858 PATRICIA CUNAG                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42859 PATRICIA DAVY                             VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.42860 PATRICIA DAVY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42861 PATRICIA DAVY                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42862 PATRICIA DAVY                             VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.42863 PATRICIA DECKER                           VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.42864 PATRICIA DECKER                           VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.42865 PATRICIA DECKER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42866 PATRICIA DECKER                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42867 PATRICIA DONOFRIO                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42868 PATRICIA DONOFRIO                         VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42869 PATRICIA DONOFRIO                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42870 PATRICIA DONOFRIO                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.42871 PATRICIA DONOFRIO                         VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.42872 PATRICIA DUMBADSE                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.42873 PATRICIA DUMBADSE                         VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTSGUY WATTS                                                        Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       RYAN L. THOMPSON PAIGE
       BOLDT
       WATTS GUERRA LLP
       811 BARTON SPRINGS RD. STE.
       725
       AUSTIN, TEXAS 78704




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42874 PATRICIA ELKUS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.42875 PATRICIA ELKUS                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTSGUY WATTS                                                        Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       RYAN L. THOMPSON PAIGE
       BOLDT
       WATTS GUERRA LLP
       811 BARTON SPRINGS RD. STE.
       725
       AUSTIN, TEXAS 78704


3.42876 PATRICIA FERLITO                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.42877 PATRICIA FERLITO                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                         Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.42878 PATRICIA FERLITO                          VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.42879 PATRICIA FINLEY                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42880 PATRICIA FINLEY                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.42881 PATRICIA FOSTER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42882 PATRICIA FOSTER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42883 PATRICIA FOSTER                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42884 PATRICIA FOSTER                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42885 PATRICIA GARRISON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42886 PATRICIA GARRISON                         VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42887 PATRICIA GARRISON                         VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.42888 PATRICIA GARRISON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.42889 PATRICIA GEE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42890 PATRICIA GEE                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.42891 PATRICIA GEE                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Wildfire Claims

3.42892 PATRICIA GEE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.42893 PATRICIA GEE                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42894 PATRICIA GERIEN                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                         Litigation
        COTCHETTDONALD                   ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE & MCCARTHY
        LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.42895 PATRICIA GERIEN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                        Litigation
        SBN: 110909ROBERT A.             ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42896 PATRICIA GITTINS                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                        Litigation
        NO. 197687)                      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42897 PATRICIA GITTINS                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                         Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.42898 PATRICIA GITTINS                          VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.42899 PATRICIA GOODBERG                         VARIOUS                              Wildfire               UNDETERMINED
        QUENTIN L. KOPPFREDERICK                                                       Litigation
        P. FURTHDANIEL S. MASON         ACCOUNT NO.: NOT AVAILABLE

       THOMAS W. JACKSON
       FURTH SALEM MASON & LI LLP
       101 CALIFORNIA STREET, SUITE
       2710
       SAN FRANCISCO, CA 94111


3.42900 PATRICIA GOODBERG                         VARIOUS                              Wildfire               UNDETERMINED
        FRANCIS O. SCARPULLA                                                           Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       PATRICK B. CLAYTON
       LAW OFFICES OF FRANCIS O.
       SCARPULLA
       456 MONTGOMERY STREET,
       17TH FLOOR
       SAN FRANCISCO, CA 94104


3.42901 PATRICIA GOODBERG                         VARIOUS                              Wildfire               UNDETERMINED
        JEREMIAH F. HALLISEY                                                           Litigation
        HALLISEY AND JOHNSON, PC        ACCOUNT NO.: NOT AVAILABLE
        465 CALIFORNIA STREETM
        SUITE 405
        SAN FANCISCO, CA 94104-1812


3.42902 PATRICIA GOODBERG                         VARIOUS                              Wildfire               UNDETERMINED
        EDWARD J. NEVIN, JR.                                                           Litigation
        LAW OFFICES OF EDWARD J.        ACCOUNT NO.: NOT AVAILABLE
        NEVIN
        396 WINDMILL LANE
        PETALUMA, CA 94954




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42903 PATRICIA GOODBERG                         VARIOUS                              Wildfire               UNDETERMINED
        TAD S. SHAPIRO                                                                 Litigation
        SHAPIRO, GALVIN, SHAPIRO &      ACCOUNT NO.: NOT AVAILABLE
        MORGAN
        640 THIRD STREET
        SANTA ROSA, CA 95404


3.42904 PATRICIA GOODBERG                         VARIOUS                              Wildfire               UNDETERMINED
        FRANKLIN D. AZARHUGH                                                           Litigation
        ZACHARY BALKIN                  ACCOUNT NO.: NOT AVAILABLE
        FRANKLIN D. AZAR &
        ASSOCIATES, P.C.
        14426 EAST EVANS AVENUE
        AURORA, CO 80014


3.42905 PATRICIA GOODEN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42906 PATRICIA GOODEN                           VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42907 PATRICIA GOODEN                           VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.42908 PATRICIA GOODEN                           VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42909 PATRICIA GRANADOS                         VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.42910 PATRICIA HEISSMAN                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42911 PATRICIA HEISSMAN                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.42912 PATRICIA HEISSMAN                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42913 PATRICIA HEISSMAN                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42914 PATRICIA HEISSMAN                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42915 PATRICIA HERAZ ROJAS                      VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.42916 PATRICIA HERAZ ROJAS                      VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FINN      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.42917 PATRICIA HERAZ ROJAS                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42918 PATRICIA HIGHTOWER                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42919 PATRICIA HIGHTOWER                        VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42920 PATRICIA HIGHTOWER                        VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42921 PATRICIA HIGHTOWER                        VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.42922 PATRICIA J VAN BIBBER                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.42923 PATRICIA J VAN BIBBER                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42924 PATRICIA J VAN BIBBER                     VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42925 PATRICIA J VAN BIBBER                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42926 PATRICIA J VAN BIBBER                     VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42927 PATRICIA J. CLARK-ARIS                    VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.42928 PATRICIA J. CLARK-ARIS                    VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42929 PATRICIA J. CLARK-ARIS                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.42930 PATRICIA J. CLARK-ARIS                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42931 PATRICIA K. SOLLARS                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42932 PATRICIA K. SOLLARS                       VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.42933 PATRICIA K. SOLLARS                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42934 PATRICIA K. SOLLARS                       VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.42935 PATRICIA K. ULCH                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42936 PATRICIA K. ULCH                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42937 PATRICIA K. ULCH                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42938 PATRICIA K. ULCH                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.42939 PATRICIA K. ULCH                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42940 PATRICIA KELLEY                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42941 PATRICIA KELLEY                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.42942 PATRICIA KELLEY                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42943 PATRICIA KELLEY                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42944 PATRICIA KELLEY                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.42945 PATRICIA KOLODZIEJCZYK                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Wildfire Claims

3.42946 PATRICIA KOLODZIEJCZYK                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                       Litigation
        111359KRISTINE K.                 ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42947 PATRICIA KOLODZIEJCZYK                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                             Litigation
        178658DYLAN HUGHES- BAR           ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42948 Patricia Kolodziejczyk                      VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No.                                                      Litigation
        126782Amanda L. Riddle - Bar      ACCOUNT NO.: NOT AVAILABLE
        No. 215221Steven M. Berki - Bar
        No. 245426Sumble Manzoor- Bar
        No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.42949 PATRICIA L. BURKE                           VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                        Litigation
        SIMES RACHEL B.                   ACCOUNT NO.: NOT AVAILABLE
        ABRAMSAMY ESKINMEGHAN
        E. MCCORMICK
        LEVIN SIMES LLP
        1160 BATTERY STREET EAST,
        SUITE 100
        SAN FRANCISCO, CALIFORNIA
        94111


3.42950 PATRICIA L. BURKE                           VARIOUS                              Wildfire               UNDETERMINED
        VICTOR                                                                           Litigation
        JACOBELLISSTEPHANIE POLI          ACCOUNT NO.: NOT AVAILABLE
        MERLIN LAW GROUP, P.A.
        1160 BATTERY STREET EAST,
        SUITE 100
        SAN FRANCISCO, CALIFORNIA
        94111




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42951 PATRICIA L. STEERS                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42952 PATRICIA L. STEERS                        VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.42953 PATRICIA LEE                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42954 PATRICIA LEE                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.42955 PATRICIA M HARPER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42956 PATRICIA M HARPER                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42957 PATRICIA M HARPER                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42958 PATRICIA M HARPER                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42959 PATRICIA M HARPER                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.42960 PATRICIA MCCAFFREY                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.42961 PATRICIA MCCAFFREY                        VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.42962 PATRICIA MCCAFFREY                        VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42963 PATRICIA MCCAFFREY                        VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.42964 PATRICIA MCCAFFREY                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.42965 PATRICIA OSTRANDER                        VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.42966 PATRICIA PASCOE                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES O'CALLAHAN                                                               Litigation
        GIRARDI KEESE                   ACCOUNT NO.: NOT AVAILABLE
        1126 WILSHIRE BOULEVARD
        LOS ANGELES, CALIFORNIA
        90017


3.42967 PATRICIA Q. WICKES                        VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                    Litigation
        SBN 119554MICHAEL H.            ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42968 PATRICIA Q. WICKES                        VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                     Litigation
        87492WILLIAM P. HARRIS III,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42969 PATRICIA Q. WICKES                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42970 PATRICIA Q. WICKES                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42971 PATRICIA Q. WICKES                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.42972 PATRICIA R. BARRIENTOS                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42973 PATRICIA R. BARRIENTOS                    VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.42974 PATRICIA R. BARRIENTOS                    VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42975 PATRICIA R. BARRIENTOS                    VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.42976 PATRICIA RASMUSSEN                        VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.42977 PATRICIA RASMUSSEN                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.42978 PATRICIA RASMUSSEN                        VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.42979 PATRICIA RASMUSSEN                        VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.42980 PATRICIA RASMUSSEN                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.42981 PATRICIA RASMUSSEN                         VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                         Litigation
        DIXONROBERT J. CHAMBERS II       ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.42982 PATRICIA ROLD                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42983 PATRICIA ROLD                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                    Litigation
        ERIC RATINOFF LAW CORP.          ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.42984 PATRICIA ROLD                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                        Litigation
        #117228                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.42985 PATRICIA ROLD                              VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                     Litigation
         REINER, SLAUGHTER &             ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.42986 PATRICIA SMITH                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42987 PATRICIA SMITH                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                      Litigation
        SBN: 110909ANDREA R.            ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42988 PATRICIA SMITH                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.42989 PATRICIA SMITH                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42990 PATRICIA SMITH                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.42991 PATRICIA STRECKTUSS                       VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.42992 PATRICIA STRECKTUSS                       VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42993 PATRICIA VICHI                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.42994 PATRICIA VICHI                            VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.42995 PATRICIA VICHI                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.42996 PATRICIA VICHI                            VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.42997 PATRICIA WENNER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.42998 PATRICIA WENNER                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.42999 PATRICIA WENNER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43000 PATRICIA WENNER                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.43001 PATRICIA WHITEMAN                         VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.43002 PATRICIA WHITEMAN                         VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.43003 PATRICK BURDICK                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43004 PATRICK BURDICK                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.43005 PATRICK CLEWETT                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43006 PATRICK CLEWETT                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43007 PATRICK CLEWETT                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43008 PATRICK CLEWETT                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43009 PATRICK CLEWETT                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43010 PATRICK CONNOLLY                          VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43011 PATRICK CONNOLLY                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.43012 PATRICK CONNOLLY                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43013 PATRICK CONNOLLY                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43014 PATRICK CONNOLLY                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43015 PATRICK D. PLACE                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43016 PATRICK D. PLACE                          VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43017 PATRICK D. PLACE                          VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43018 PATRICK D. PLACE                          VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43019 PATRICK E. CORBETT                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43020 PATRICK E. CORBETT                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43021 PATRICK E. CORBETT                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43022 PATRICK E. CORBETT                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43023 PATRICK E. CORBETT                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.43024 PATRICK ELLIOTT-SMITH                     VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                      Litigation
        DAVISKEVIN M.                   ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.43025 PATRICK ELLIOTT-SMITH                     VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                        Litigation
        D. EDWARDS                      ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.43026 PATRICK FOLEY                             VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.43027 PATRICK FOLEY                             VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43028 PATRICK FOLEY                             VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.43029 PATRICK GARRETT                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43030 PATRICK GARRETT                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43031 PATRICK GARRETT                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43032 PATRICK GARRETT                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43033 PATRICK HARRISON                          VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                       Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.43034 PATRICK HOGAN                             VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                      Litigation
        SIMESRACHEL B.                  ACCOUNT NO.: NOT AVAILABLE
        ABRAMSMEGHAN E.
        MCCORMICK
        LEVIN SIMES LLP
        44 MONTGOMERY ST., 32ND
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.43035 PATRICK HOGAN                             VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM F. MERLIN, JR.DENISE                                                   Litigation
        HSU SZESTEPHANIE POLI           ACCOUNT NO.: NOT AVAILABLE
        MERLIN LAW GROUP, P.A.
        505 MONTGOMERY ST., 11TH
        FLOOR
        SAN FRANCISCO, CA 94111


3.43036 PATRICK HOLMES                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43037 PATRICK HOLMES                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43038 PATRICK HOLMES                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43039 PATRICK HOLMES                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43040 PATRICK HOLMES                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.43041 PATRICK JOSEPH POUNDS                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43042 PATRICK JOSEPH POUNDS                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43043 PATRICK JOSEPH POUNDS                     VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                      Litigation
        160461)                         ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.43044 PATRICK JOSEPH POUNDS                     VARIOUS                              Wildfire               UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                       Litigation
        315962)TODD LOGAN (SBN          ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)BRANDT SILVER-KORN
        (SBN 323530)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43045 PATRICK JOSEPH POUNDS                     VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J. CABRASER (SBN                                                     Litigation
        083151)LEXI J. HAZAM (SBN       ACCOUNT NO.: NOT AVAILABLE
        224457)ABBY R. WOLF(SBN
        313049)
        LIEFF CABRASER HEIMANN &
        BERNSTEIN, LLP
        275 BATTERY STREET, 29TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94111


3.43046 PATRICK KONZEN                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43047 PATRICK KONZEN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43048 PATRICK KONZEN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43049 PATRICK KONZEN                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.43050 PATRICK KONZEN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43051 PATRICK KYNTL                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ.PHILIP                                                    Litigation
        C. AMAN, ESQ.WILLIAM P.         ACCOUNT NO.: NOT AVAILABLE
        HARRIS III, ESQ.M. REGINA
        BAGDASARIAN, ESQ.GEORGE
        T. STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.43052 PATRICK KYNTL                             VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD,                                                          Litigation
        ESQ.MICHAEL H. ARTINIAN,        ACCOUNT NO.: NOT AVAILABLE
        ESQ.
        BRIDGFORD, GLEASON &
        ARTINIAN
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.43053 PATRICK KYNTL                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.43054 PATRICK MALONE                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43055 PATRICK MALONE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43056 PATRICK MALONE                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43057 PATRICK MALONE                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43058 PATRICK MALONE                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.43059 PATRICK MCCALLUM                          VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                   Litigation
        CABRASERROBERT J.               ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.43060 PATRICK MCCANN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43061 PATRICK MCCANN                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43062 PATRICK MCCANN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43063 PATRICK MCCANN                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.43064 PATRICK MCNEANY                           VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.43065 PATRICK MCNEANY                           VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.43066 PATRICK MCNEANY                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.43067 PATRICK MICHAEL RAINWATER                 VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43068 PATRICK MICHAEL RAINWATER                 VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43069 PATRICK MICHAEL RAINWATER                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43070 PATRICK MICHAEL RAINWATER                 VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43071 PATRICK MIRABELLI                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43072 PATRICK MIRABELLI                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43073 PATRICK MIRABELLI                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43074 PATRICK MIRABELLI                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.43075 PATRICK MOODY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.43076 PATRICK MOODY                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.43077 PATRICK MOODY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43078 PATRICK MOODY                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43079 PATRICK NICHOLS                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.43080 PATRICK NICHOLS                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.43081 PATRICK REEVES                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ.,                                                           Litigation
        #166204GREGORY A. STUCK,        ACCOUNT NO.: NOT AVAILABLE
        ESQ., #311162
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43082 PATRICK REEVES                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150DANIEL E.
        PASSMORE, ESQ., #312155
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.43083 PATRICK REEVES                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        #115632                         ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.43084 PATRICK REEVES                            VARIOUS                              Wildfire               UNDETERMINED
                                                                                       Litigation
       DEMAS LAW GROUP, P.C.            ACCOUNT NO.: NOT AVAILABLE
       701 HOWE AVENUE, SUITE A-1
       SACRAMENTO, CA 95825




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43085 PATRICK SAGER                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNS JONATHAN                                                        Litigation
        E. DAVIS KEVIN M. OSBORNE       ACCOUNT NO.: NOT AVAILABLE

       SHOUNAK S. DHARAP
       THE ARNS LAW FIRM A
       PROFESSIONAL CORPORATION
       515 FOLSOM STREET, 3RD
       FLOOR
       SAN FRANCISCO, CALIFORNIA
       94105


3.43086 PATRICK SAGER                             VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERRENCE                                                       Litigation
        D. EDWARDS                      ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CA 94104


3.43087 PATRICK TOGNOZZI                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.43088 PATRICK TOGNOZZI                          VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.43089 PATRICK WALSH                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43090 PATRICK WALSH                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.43091 PATRICK WARD                              VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.43092 PATRICK WARD                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDTMIKAL C. WATTSGUY          ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.43093 PATRICK WARD                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43094 PATRICK WILHELM                           VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.43095 PATRICK WILHELM                           VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43096 PATRICK WILHELM                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.43097 PATSY UEDA                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43098 PATSY UEDA                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43099 PATSY UEDA                                VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43100 PATSY UEDA                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43101 PATSY UEDA                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43102 PATTI A SAVAGE                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43103 PATTI A SAVAGE                            VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43104 PATTI A SAVAGE                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43105 PATTI A SAVAGE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43106 PATTI MEYER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIANDREW P.            ACCOUNT NO.: NOT AVAILABLE
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43107 PATTI MEYER                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE JOSEPH W.                                                       Litigation
        COTCHETTALISON E.               ACCOUNT NO.: NOT AVAILABLE
        CORDOVAABIGAIL D.
        BLODGETT
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.43108 PATTI MEYER                               VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. PANISHRAHUL                                                           Litigation
        RAVIPUDI                        ACCOUNT NO.: NOT AVAILABLE
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.43109 PATTI MEYER                               VARIOUS                              Wildfire               UNDETERMINED
        BRENDAN M. KUNKLEMICHAEL                                                       Litigation
        D. GREEN                        ACCOUNT NO.: NOT AVAILABLE
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE 200
        SANTA ROSA, CA 95401


3.43110 PATTI MEYER                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43111 PATTI SEXTON,                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43112 PATTI SEXTON,                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.43113 PATTI SEXTON,                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.43114 PATTON, KATHLEEN                          VARIOUS                              Wildfire               UNDETERMINED
        2010 GARDENVIEW PL                                                             Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.43115 PATTY AMERO                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43116 PATTY AMERO                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43117 PATTY AMERO                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.43118 PATTY AMERO                                 VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                      Litigation
        126782AMANDA L. RIDDLE -          ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.43119 PATTY GEISLER                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREALISON E.                                                          Litigation
        CORDOVADONALD J.                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.43120 PATTY GEISLER                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43121 PATTY GEISLER                               VARIOUS                              Wildfire               UNDETERMINED
        TELEPHONE: (650) 697-6000                                                        Litigation
                                          ACCOUNT NO.: NOT AVAILABLE
        FACSIMILE: (650) 697-
        0577FPITRE@CPMLEGAL.COM

        ACORDOVA@CPMLEGAL.COM
        DMAGILLIGAN@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.43122 PATTY GEISLER                               VARIOUS                              Wildfire               UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.43123 PATTY GEISLER                               VARIOUS                              Wildfire               UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.43124 PATTY HUMPHREY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                       Litigation
        111359KRISTINE K.                 ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43125 PATTY HUMPHREY                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                             Litigation
        178658DYLAN HUGHES- BAR           ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43126 PATTY HUMPHREY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43127 PATTY HUMPHREY                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                      Litigation
        126782AMANDA L. RIDDLE -          ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43128 PATTY LITTLEJOHN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43129 PATTY LITTLEJOHN                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43130 PATTY LITTLEJOHN                          VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.43131 PATTY LITTLEJOHN                          VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.43132 PATTY STANFORD                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43133 PATTY STANFORD                            VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                           Litigation
        #109455LAURA E. BROWN           ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.43134 PATTY STANFORD                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.43135 PATTY STANFORD                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43136 PATTY STANFORD                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.43137 PAUL AMLIN                                 VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                            Litigation
        VICEPENDING)JOHN P. FISKE        ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.43138 PAUL AMLIN                                 VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                           Litigation
        208783)ERIKA L. VASQUEZ          ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.43139 PAUL AMLIN                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                      Litigation
        (SBN 69176)IAN C.                ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43140 PAUL AMLIN                                VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.43141 PAUL AMLIN                                VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43142 PAUL ANDRESEN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43143 PAUL ANDRESEN                             VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J. CABRASER (SBN                                                     Litigation
        083151)LEXI J. HAZAM (SBN       ACCOUNT NO.: NOT AVAILABLE
        224457)ABBY R. WOLF(SBN
        313049)
        LIEFF CABRASER HEIMANN &
        BERNSTEIN, LLP
        275 BATTERY STREET, 29TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94111


3.43144 PAUL ANDRESEN                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43145 PAUL ANDRESEN                             VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                      Litigation
        160461)                         ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43146 PAUL ANDRESEN                             VARIOUS                              Wildfire               UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                       Litigation
        315962)TODD LOGAN (SBN          ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)BRANDT SILVER-KORN
        (SBN 323530)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107


3.43147 PAUL APPLETON                             VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.43148 PAUL APPLETON                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43149 PAUL APPLETON                             VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDTMIKAL C. WATTSGUY          ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.43150 PAUL ARNOLD                               VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.43151 PAUL ARNOLD                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.43152 PAUL ARNOLD                                VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                        Litigation
        TOSDAL LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.43153 PAUL ARNOLD                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                        Litigation
        81867                            ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.43154 PAUL BOWEN                                 VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.43155 PAUL BOWEN                                 VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH FEIST -- SBN                                                             Litigation
        249447JONATHAN J.                ACCOUNT NO.: NOT AVAILABLE
        GRIFFITH -- SBN 266891
        NORTHERN CALIFORNIA LAW
        GROUP, PC.
        2611 ESPLANADE
        CHICO, CA 95973


3.43156 PAUL BOWEN                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43157 PAUL BOWEN                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43158 PAUL BOWEN                                 VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43159 PAUL BRACKETT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43160 PAUL BRACKETT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43161 PAUL BRACKETT                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43162 PAUL BRACKETT                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.43163 PAUL BURNS                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43164 PAUL CAMERON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.43165 PAUL CAMERON                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.43166 PAUL CAMERON                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.43167 PAUL CURRERI                              VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                   Litigation
        CABRASERROBERT J.               ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.43168 PAUL DANOFF                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401

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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43169 PAUL DELBONTA                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.43170 PAUL DELBONTA                             VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.43171 PAUL DONALDSON                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.43172 PAUL DONALDSON                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43173 PAUL DONALDSON                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.43174 PAUL DONALDSON                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43175 PAUL DONOHUE                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                        Litigation
        D. EDWARDSJASON B.              ACCOUNT NO.: NOT AVAILABLE
        FRIEDMAN
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.43176 PAUL DONOHUE                              VARIOUS                              Wildfire               UNDETERMINED
        THE ARNS LAW FIRM                                                              Litigation
        ROBERT S. ARNS                  ACCOUNT NO.: NOT AVAILABLE
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.43177 PAUL ENGELHARDT                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                       Litigation
        SBN: 110909ROBERT A.            ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43178 PAUL FARSAI                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43179 PAUL FARSAI                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43180 PAUL FARSAI                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43181 PAUL FARSAI                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.43182 PAUL GAFFNEY                              VARIOUS                              Wildfire               UNDETERMINED
        BWARNE@DOWNEYBRAND.COM                                                         Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       BCARROLL@DOWNEYBRAND.C
       OM


3.43183 PAUL GAFFNEY                              VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM R. WAYNEBRADLEY                                                        Litigation
        C. CARROLL                      ACCOUNT NO.: NOT AVAILABLE
        DOWNEY BRAND LLP
        621 CAPITOL MALL, 18TH FLOOR
        SACRAMENTO, CA 95814-4731


3.43184 PAUL GLOEDEN                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.43185 PAUL GLOEDEN                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                      Litigation
        SBN: 110909ANDREA R.            ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43186 PAUL GLOEDEN                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.43187 PAUL GLOEDEN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43188 PAUL GLOEDEN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.43189 PAUL GODOWSKI                              VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                              Litigation
        SR.JESSICA HAYES                 ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.43190 PAUL GODOWSKI                              VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                         Litigation
        WEAVER                           ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.43191 PAUL GODOWSKI                              VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                    Litigation
        SCHACKNATASHA N. SERINO          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.43192 PAUL GOODBERG                              VARIOUS                              Wildfire               UNDETERMINED
        FRANCIS O. SCARPULLA                                                            Litigation
                                         ACCOUNT NO.: NOT AVAILABLE
       PATRICK B. CLAYTON
       LAW OFFICES OF FRANCIS O.
       SCARPULLA
       456 MONTGOMERY STREET,
       17TH FLOOR
       SAN FRANCISCO, CA 94104




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43193 PAUL GOODBERG                             VARIOUS                              Wildfire               UNDETERMINED
        QUENTIN L. KOPPFREDERICK                                                       Litigation
        P. FURTHDANIEL S. MASON         ACCOUNT NO.: NOT AVAILABLE

       THOMAS W. JACKSON
       FURTH SALEM MASON & LI LLP
       101 CALIFORNIA STREET, SUITE
       2710
       SAN FRANCISCO, CA 94111


3.43194 PAUL GOODBERG                             VARIOUS                              Wildfire               UNDETERMINED
        FRANKLIN D. AZARHUGH                                                           Litigation
        ZACHARY BALKIN                  ACCOUNT NO.: NOT AVAILABLE
        FRANKLIN D. AZAR &
        ASSOCIATES, P.C.
        14426 EAST EVANS AVENUE
        AURORA, CO 80014


3.43195 PAUL GOODBERG                             VARIOUS                              Wildfire               UNDETERMINED
        TAD S. SHAPIRO                                                                 Litigation
        SHAPIRO, GALVIN, SHAPIRO &      ACCOUNT NO.: NOT AVAILABLE
        MORGAN
        640 THIRD STREET
        SANTA ROSA, CA 95404


3.43196 PAUL GOODBERG                             VARIOUS                              Wildfire               UNDETERMINED
        EDWARD J. NEVIN, JR.                                                           Litigation
        LAW OFFICES OF EDWARD J.        ACCOUNT NO.: NOT AVAILABLE
        NEVIN
        396 WINDMILL LANE
        PETALUMA, CA 94954


3.43197 PAUL GOODBERG                             VARIOUS                              Wildfire               UNDETERMINED
        JEREMIAH F. HALLISEY                                                           Litigation
        HALLISEY AND JOHNSON, PC        ACCOUNT NO.: NOT AVAILABLE
        465 CALIFORNIA STREETM
        SUITE 405
        SAN FANCISCO, CA 94104-1812


3.43198 PAUL GOODLEY                         VARIOUS                                   Wildfire               UNDETERMINED
        LEE S. HARRIS, SBN                                                             Litigation
        76699ADRIAN HERN, SBN        ACCOUNT NO.: NOT AVAILABLE
        202958
        GOLDSTEIN, GELLMAN,
        MELBOSTAD, HARRIS &
        MCSPARRAN LLP
        1388 SUTTER STREET, SUITE
        1000
        SAN FRANCISCO, CA 94109-5494




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43199 PAUL H BURTON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43200 PAUL H BURTON                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43201 PAUL H BURTON                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43202 PAUL H BURTON                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.43203 PAUL H BURTON                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.43204 PAUL HANSSEN                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43205 PAUL HANSSEN                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.43206 PAUL HENTZ                                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.43207 PAUL HENTZ                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.43208 PAUL HENTZ                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.43209 PAUL HENTZ                                VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43210 PAUL HENTZ                                VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43211 PAUL J. DUGAN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43212 PAUL J. DUGAN                             VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.43213 PAUL KEMBLOWSKI                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43214 PAUL KEMBLOWSKI                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.43215 PAUL KEMBLOWSKI                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                      Litigation
        126782AMANDA L. RIDDLE -          ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.43216 PAUL KEMBLOWSKI                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                       Litigation
        111359KRISTINE K.                 ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43217 PAUL KITZEROW                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREALISON E.                                                          Litigation
        CORDOVADONALD J.                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.43218 PAUL KITZEROW                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43219 PAUL KITZEROW                               VARIOUS                              Wildfire               UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.43220 PAUL KITZEROW                               VARIOUS                              Wildfire               UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.43221 PAUL KITZEROW                               VARIOUS                              Wildfire               UNDETERMINED
        TELEPHONE: (650) 697-6000                                                        Litigation
                                          ACCOUNT NO.: NOT AVAILABLE
        FACSIMILE: (650) 697-
        0577FPITRE@CPMLEGAL.COM

        ACORDOVA@CPMLEGAL.COM
        DMAGILLIGAN@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.43222 PAUL MCCARTHY                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                           Litigation
        110909)                           ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43223 PAUL MCCARTHY                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE (SBN                                                              Litigation
        100077)ALISON E. CORDOVA          ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


3.43224 PAUL MCCARTHY                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                      Litigation
        WALKUP MELODIA KELLY&             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43225 PAUL MCCARTHY                             VARIOUS                              Wildfire               UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                    Litigation
        PANISH SHEA &BOYLE, LLP         ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.43226 PAUL MELLON                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43227 PAUL MELLON                               VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43228 PAUL MELLON                               VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43229 PAUL MELLON                               VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43230 PAUL MICHAEL ORLANDO                      VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43231 PAUL MICHAEL ORLANDO                      VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43232 PAUL MICHAEL ORLANDO                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43233 PAUL MICHAEL ORLANDO                      VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43234 PAUL N. CANTEY                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43235 PAUL N. CANTEY                            VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.43236 PAUL OPPER                                VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43237 PAUL OPPER                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43238 PAUL OPPER                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43239 PAUL OPPER                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.43240 PAUL ORLANDO                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.43241 PAUL ORLANDO                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43242 PAUL ORLANDO                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43243 PAUL ORLANDO                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43244 PAUL ORLANDO                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43245 PAUL RICHARD HIGDON                       VARIOUS                              Wildfire               UNDETERMINED
        SANDRA RIBERA SPEEDMIA                                                         Litigation
        MATTIS                          ACCOUNT NO.: NOT AVAILABLE
        RIBERA LAW FIRMA
        PROFESSIONAL CORPORATION
        157 WEST PORTAL AVENUE,
        SUITE
        SAN FRANCISCO, CA 94127


3.43246 PAUL ROBERT YEAGER                        VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.43247 PAUL ROBERT YEAGER                        VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43248 PAUL ROBERT YEAGER                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.43249 PAUL ROBERT YEAGER                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43250 PAUL ROBERTS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.43251 PAUL ROBERTS                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.43252 PAUL ROBERTS                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.43253 PAUL SPENCER                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.43254 PAUL SPENCER                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.43255 PAUL SPENCER                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43256 PAUL SPENCER                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.43257 PAUL SPENCER                              VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.43258 PAUL SPENCER                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43259 PAUL STAVISH                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43260 PAUL STAVISH                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43261 PAUL STAVISH                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43262 PAUL STAVISH                              VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.43263 PAUL TIFFANY                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.43264 PAUL TIFFANY                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.43265 PAUL TIFFANY                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.43266 PAUL TIFFANY                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43267 PAUL TIFFANY                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43268 PAUL TROUBETZKOY                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.43269 PAUL TROUBETZKOY                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.43270 PAUL WOODWARD                             VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                   Litigation
        CABRASERROBERT J.               ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.43271 PAULA A. TOMLINSON                        VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                   Litigation
        CABRASERROBERT J.               ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43272 PAULA ALVES                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.43273 PAULA ALVES                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.43274 PAULA ALVES                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.43275 PAULA ANNE LUCAS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43276 PAULA ANNE LUCAS                          VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43277 PAULA ANNE LUCAS                          VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43278 PAULA ANNE LUCAS                          VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43279 PAULA BELDEN                              VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J. WIESNER         ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43280 PAULA BELDEN                              VARIOUS                              Wildfire               UNDETERMINED
        DAVE A. FOXCOURTNEY                                                            Litigation
        VASQUEZ                         ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANO BEACH, CA 92075


3.43281 PAULA BELDEN                              VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C. SIEGLOCK                                                        Litigation
        SIEGLOCK LAW, APC               ACCOUNT NO.: NOT AVAILABLE
        1221 CAMINO DEL MAR
        DEL MAR, CA 92014


3.43282 PAULA BOWDEN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43283 PAULA BOWDEN                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.43284 PAULA BOWDEN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43285 PAULA BOWDEN                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.43286 PAULA BURNS-HERON                         VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                        Litigation
        COTCHETTDONALD                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE & MCCARTHY
        LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.43287 PAULA BURNS-HERON                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                       Litigation
        SBN: 110909ROBERT A.            ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43288 PAULA C MITCHELL                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43289 PAULA C MITCHELL                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43290 PAULA C MITCHELL                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.43291 PAULA C MITCHELL                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.43292 PAULA C MITCHELL                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43293 PAULA CHANEY                              VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                             Litigation
        ESQJENNIFER L. FIORE, ESQ       ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.43294 PAULA GEROUX                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43295 PAULA GEROUX                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.43296 PAULA GEROUX                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.43297 PAULA GEROUX                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43298 PAULA GEROUX                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.43299 PAULA GEROUX                              VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.43300 PAULA KANDAH                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43301 PAULA KANDAH                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.43302 PAULA KANDAH                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.43303 PAULA MASON                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                        Litigation
        D. EDWARDS                      ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.43304 PAULA MASON                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                      Litigation
        DAVISKEVIN M.                   ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.43305 PAULA MOULTON                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43306 PAULA MOULTON                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.43307 PAULA MOULTON                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.43308 PAULA MOULTON                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.43309 PAULA SCHNELLE                            VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.43310 PAULA SCHNELLE                            VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.43311 PAULA SCHNELLE                            VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.43312 PAULA TYLER                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43313 PAULA TYLER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43314 PAULA TYLER                               VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43315 PAULA TYLER                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43316 PAULA TYLER                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.43317 PAULENE TUCKER                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43318 PAULENE TUCKER                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43319 PAULENE TUCKER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43320 PAULENE TUCKER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43321 PAULETTE GOUPIL                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43322 PAULETTE GOUPIL                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43323 PAULETTE GOUPIL                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.43324 PAULETTE GOUPIL                           VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43325 PAULINE CONWAY                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.43326 PAULINE CONWAY                            VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.43327 PAULINE HOHENTHANER                       VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43328 PAULINE HOHENTHANER                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.43329 PAULINE HOHENTHANER                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43330 PAULINE HOHENTHANER                       VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.43331 PAULINE M CARRIKER                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43332 PAULINE M CARRIKER                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43333 PAULINE M CARRIKER                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.43334 PAULINE M CARRIKER                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.43335 PAULINE M CARRIKER                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43336 PAULINE MARY RICHARDSON                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.43337 PAULINE MARY RICHARDSON                   VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43338 PAULINE PEARSON                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43339 PAULINE PEARSON                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43340 PAULINE PEARSON                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43341 PAULINE PEARSON                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.43342 PAULINE PEARSON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43343 PAULSEN, LINDA KIM;                       VARIOUS                              Wildfire               UNDETERMINED
        YOUNGBLOOD, LARRY BLAKE                                                        Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43344 PAULSEN, LINDA KIM;               VARIOUS                                      Wildfire               UNDETERMINED
        YOUNGBLOOD, LARRY BLAKE                                                        Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.43345 PAULSEN, LINDA KIM;                       VARIOUS                              Wildfire               UNDETERMINED
        YOUNGBLOOD, LARRY BLAKE                                                        Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43346 PAULSON, AUDREY AND BRUCE                 VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI AMANDA                                                       Litigation
        L. RIDDLE CLARE CAPACCIOLI      ACCOUNT NO.: NOT AVAILABLE
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.43347 PAULSON, AUDREY AND BRUCE                 VARIOUS                              Wildfire               UNDETERMINED
        MIKE DANKOKRISTINE                                                             Litigation
        MEREDITHSHAWN                   ACCOUNT NO.: NOT AVAILABLE
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43348 PAVLICH, CRAIG                            VARIOUS                              Wildfire               UNDETERMINED
        17271 CRAGMONT DR                                                              Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.43349 PAXTON CLARK                              VARIOUS                              Wildfire               UNDETERMINED
        EUSTACE DE SAINT                                                               Litigation
        PHALLEJOSEPH R. LUCIA           ACCOUNT NO.: NOT AVAILABLE
        RAINS LUCIA STERN ST.
        PRALLE & SILVER, PC
        2300 CONTRA COSTA BLVD.,
        SUITE 500
        PLEASANT HILL, CA 94523




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43350 PAYL WILLIAM NOVIELLO                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43351 PAYL WILLIAM NOVIELLO                     VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43352 PAYL WILLIAM NOVIELLO                     VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43353 PAYL WILLIAM NOVIELLO                     VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43354 PAYNE, DOUGLAS                            VARIOUS                              Wildfire               UNDETERMINED
        6451 SONOMA HIGHWAY                                                            Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.43355 PAYNTER, ELIZABETH                        VARIOUS                              Wildfire               UNDETERMINED
        5651 RATERS DR.                                                                Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.43356 PEACE SOUTHARD                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43357 PEACE SOUTHARD                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.43358 PEDDY, BRUCE V.                           VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43359 PEDDY, BRUCE V.                           VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43360 PEDDY, BRUCE V.                   VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.43361 PEDRO BARBA                               VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.43362 PEDRO BARBA                               VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43363 PEDRO BARBA                               VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.43364 PEDRO CORRAL SANCHEZ                      VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.43365 PEDRO CORRAL SANCHEZ                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.43366 PEDRO HEALY, DAVID                        VARIOUS                              Wildfire               UNDETERMINED
        5627 KATHLEEN CT                                                               Litigation
        SANTA ROSA,, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.43367 PEDRO, JAUREGUI                           VARIOUS                              Wildfire               UNDETERMINED
        309 CURVA WAY                                                                  Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.43368 PEERLESS INDEMNITY                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43369 PEERLESS INDEMNITY                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA               ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.43370 PEERLESS INDEMNITY                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.43371 PEERLESS INSURANCE                        VARIOUS                              Wildfire               UNDETERMINED
        THOMAS M. REGAN (SBN                                                           Litigation
        113800)KEVIN BUSH (SBN          ACCOUNT NO.: NOT AVAILABLE
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.43372 PEERLESS INSURANCE                        VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.43373 PEERLESS INSURANCE                        VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        MAURA WALSH OCHOA               ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43374 PEERLESS INSURANCE                        VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.43375 PEGGY BERRY                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43376 PEGGY BERRY                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43377 PEGGY BERRY                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43378 PEGGY BERRY                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43379 PEGGY CAMP                                VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43380 PEGGY CAMP                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.43381 PEGGY CAMP                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43382 PEGGY CAMP                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43383 PEGGY CAMP                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43384 PEGGY EVANSON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43385 PEGGY EVANSON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43386 PEGGY EVANSON                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43387 PEGGY EVANSON                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.43388 PEGGY GALIANO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43389 PEGGY GALIANO                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43390 PEGGY GALIANO                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.43391 PEGGY GALIANO                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43392 PEGGY GALIANO                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                           Litigation
        VICE PENDINGTEXAS BAR NO.        ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.43393 PEGGY HUTTON                               VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.43394 PEGGY HUTTON                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43395 PEGGY HUTTON                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43396 PEGGY HUTTON                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43397 PEGGY HUTTON                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.43398 PEGGY RICKETTS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43399 PEGGY RICKETTS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43400 PEGGY RICKETTS                            VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.43401 PEGGY RICKETTS                            VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.43402 PEGGY ROTH                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.43403 PEGGY ROTH                                 VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.43404 PEGGY ROTH                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.43405 PEGGY ROTH                                 VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.43406 PEGGY ROTH                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43407 PEJSA, LEE                                 VARIOUS                              Wildfire               UNDETERMINED
        11782 BUTTE CREEK ISLAND RD                                                     Litigation
        CHICO, CA 95928                  ACCOUNT NO.: NOT AVAILABLE


3.43408 PELAYO, LUIS & SARA                        VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 24                                                                     Litigation
        ELDRIDGE, CA 95431               ACCOUNT NO.: NOT AVAILABLE


3.43409 PENA, MARTHA; ESPARZA,                     VARIOUS                              Wildfire               UNDETERMINED
        ROBERTA HALADEIN; SEAY,                                                         Litigation
        ROBERT                           ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43410 PENA, MARTHA; ESPARZA,            VARIOUS                                      Wildfire               UNDETERMINED
        ROBERTA HALADEIN; SEAY,                                                        Litigation
        ROBERT                    ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.43411 PENA, MARTHA; ESPARZA,                    VARIOUS                              Wildfire               UNDETERMINED
        ROBERTA HALADEIN; SEAY,                                                        Litigation
        ROBERT                          ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43412 PENDAS, MELISSA                           VARIOUS                              Wildfire               UNDETERMINED
        5751 MARSH HAWK DR                                                             Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.43413 PENELOPE WESTNEY                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.43414 PENELOPE WESTNEY                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43415 PENELOPE WESTNEY                          VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.43416 PENNIE BARRETT                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43417 PENNIE BARRETT                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.43418 PENN-STAR INSURANCE                       VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        THOMAS M. REGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.43419 PENNY A SPALETTA                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43420 PENNY A SPALETTA                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43421 PENNY A SPALETTA                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.43422 PENNY A SPALETTA                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43423 PENNY A SPALETTA                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.43424 PENNY DARBY                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43425 PENNY DARBY                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43426 PENNY DARBY                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.43427 PENNY DARBY                               VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.43428 PENNY MILLER                              VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43429 PENNY WOOD                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43430 PENNY WOOD                                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43431 PENNY WOOD                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43432 PENNY WOOD                                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.43433 PENNY WOOD                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.43434 PENNY WRIGHT                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43435 PENNY WRIGHT                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.43436 PENTZ ROAD MARKET AND                     VARIOUS                              Wildfire               UNDETERMINED
        LIQUOR INC.                                                                    Litigation
        ERIC GIBBS - BAR NO.            ACCOUNT NO.: NOT AVAILABLE
        178658DYLAN HUGHES- BAR
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43437 PENTZ ROAD MARKET AND                     VARIOUS                              Wildfire               UNDETERMINED
        LIQUOR INC.                                                                    Litigation
        CHRISTOPHER C.                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKRACHEL
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.43438 PENTZ ROAD MARKET AND                     VARIOUS                              Wildfire               UNDETERMINED
        LIQUOR INC.                                                                    Litigation
        DAVE FOXJOANNA                  ACCOUNT NO.: NOT AVAILABLE
        FOXCOURTNEY VASQUEZ
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.43439 PENTZ ROAD MARKET AND                     VARIOUS                              Wildfire               UNDETERMINED
        LIQUOR INC.                                                                    Litigation
        MICHAEL A. KELLYKHALDOUN        ACCOUNT NO.: NOT AVAILABLE
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43440 PEPPY, SHARON                             VARIOUS                              Wildfire               UNDETERMINED
        1280 WAGSTAFF ROAD SPC 67                                                      Litigation
        PARADISE, CA 95969              ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43441 PER VON KNORRING                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43442 PER VON KNORRING                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.43443 PER VON KNORRING                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.43444 PER VON KNORRING                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.43445 PERAZA, ALMA                              VARIOUS                              Wildfire               UNDETERMINED
        2350 MCBRIDE LANE                                                              Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.43446 PERCY HAYDEN                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43447 PERCY HAYDEN                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43448 PERCY HAYDEN                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43449 PERCY HAYDEN                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.43450 PERCY HAYDEN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43451 PERETTO, JOHN                             VARIOUS                              Wildfire               UNDETERMINED
        815 MONTROSE CT                                                                Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.43452 PEREZ CARDOSO, ZENOBIO                    VARIOUS                              Wildfire               UNDETERMINED
        1010 APPLE CREEK LN                                                            Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.43453 PEREZ, EMILY                              VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 145                                                                     Litigation
        KENWOOD, CA 95452               ACCOUNT NO.: NOT AVAILABLE


3.43454 PEREZ, FATIMA                             VARIOUS                              Wildfire               UNDETERMINED
        1108 SPRING ST                                                                 Litigation
        APT 6                           ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.43455 PEREZ, LAURA                              VARIOUS                              Wildfire               UNDETERMINED
        18736 RAILROAD AVE                                                             Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.43456 PEREZ, LINDA                              VARIOUS                              Wildfire               UNDETERMINED
        3516 JEFFERSON ST                                                              Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43457 PEREZ, OLIVIA                             VARIOUS                              Wildfire               UNDETERMINED
        1300 FAIR WAY                                                                  Litigation
        14                              ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.43458 PEREZ, RAMON                              VARIOUS                              Wildfire               UNDETERMINED
        1461 LAKE ST                                                                   Litigation
        CALISTOGA, CA 94515             ACCOUNT NO.: NOT AVAILABLE


3.43459 PEREZ, RAMON                              VARIOUS                              Wildfire               UNDETERMINED
        1236 TAMALPAIS ST                                                              Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.43460 PEREZ, RODRIGO                            VARIOUS                              Wildfire               UNDETERMINED
        1607 LAKE ST                                                                   Litigation
        CALISTOGA, CA 94515             ACCOUNT NO.: NOT AVAILABLE


3.43461 PEREZ, ROGELIO                            VARIOUS                              Wildfire               UNDETERMINED
        390 DONNA DRIVE                                                                Litigation
        WINDSOR, CA 95492               ACCOUNT NO.: NOT AVAILABLE


3.43462 PEREZ, SALVADOR                           VARIOUS                              Wildfire               UNDETERMINED
        4224 BRANNAN ST                                                                Litigation
        CALISTOGA, CA 94515             ACCOUNT NO.: NOT AVAILABLE


3.43463 PEREZ, VALENTE                            VARIOUS                              Wildfire               UNDETERMINED
        1400 WASHINGTON ST                                                             Litigation
        APT 10                          ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.43464 PERINI, LOUISE                            VARIOUS                              Wildfire               UNDETERMINED
        87 MAYWOOD DR                                                                  Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.43465 PERKINS, BRIAN                            VARIOUS                              Wildfire               UNDETERMINED
        15620 ARNOLD DRIVE                                                             Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.43466 PERKINS, JOHN                             VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 241                                                                   Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


3.43467 PERKINS, RICK                             VARIOUS                              Wildfire               UNDETERMINED
        343 BLACK OAK LN                                                               Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43468 PERLISS ESTATE VINEYARDS,                 VARIOUS                              Wildfire               UNDETERMINED
        LLC                                                                            Litigation
        WILLIAM A. LEVINLAUREL L.       ACCOUNT NO.: NOT AVAILABLE
        SIMES RACHEL B.
        ABRAMSMEGHAN E.
        MCCORMICK
        LEVIN SIMES LLP
        44 MONTGOMERY ST., 32ND
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.43469 PERMANENT GENERAL                         VARIOUS                              Wildfire               UNDETERMINED
        ASSURANCE CORPORATION                                                          Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.43470 PERMANENT GENERAL                         VARIOUS                              Wildfire               UNDETERMINED
        ASSURANCE CORPORATION                                                          Litigation
        HOWARD D. MAYCON                ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.43471 PERMANENT GENERAL                         VARIOUS                              Wildfire               UNDETERMINED
        ASSURANCE CORPORATION                                                          Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.43472 PEROT, HANNAH                             VARIOUS                              Wildfire               UNDETERMINED
        250 ORCHARD AVE                                                                Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.43473 PERREIRA, JANET                           VARIOUS                              Wildfire               UNDETERMINED
        14866 CRESCENT DR                                                              Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


3.43474 PERROT, STEVEN                            VARIOUS                              Wildfire               UNDETERMINED
        1811 SPRUCE AVE                                                                Litigation
        APT 11                          ACCOUNT NO.: NOT AVAILABLE
        CHICO, CA 95926




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43475 PERRY BUTLER                              VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM F. MERLIN, JR.DENISE                                                   Litigation
        HSU SZESTEPHANIE POLI           ACCOUNT NO.: NOT AVAILABLE
        MERLIN LAW GROUP, P.A.
        505 MONTGOMERY ST., 11TH
        FLOOR
        SAN FRANCISCO, CA 94111


3.43476 PERRY BUTLER                              VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                      Litigation
        SIMES RACHEL B.                 ACCOUNT NO.: NOT AVAILABLE
        ABRAMSAMY ESKINMEGHAN
        E. MCCORMICK
        LEVIN SIMES LLP
        44 MONTGOMERY ST., 32ND
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.43477 PERRY GOETZ                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43478 PERRY GOETZ                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43479 PERRY GOETZ                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.43480 PERRY GOETZ                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.43481 PERRY GOETZ                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                          Litigation
        DOMENIC MARTINI                  ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.43482 PERRY LYNCH                                VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.43483 PERRY LYNCH                                VARIOUS                              Wildfire               UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                      Litigation
        OF COUNSEL - BAR NO. 249085      ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926


3.43484 PERRY LYNCH                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43485 PERRY LYNCH                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43486 PERRY LYNCH                                VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.43487 PERRY, GRANT                                   VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                                Litigation
        ZUMMER                               ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43488 PERRY, GRANT                      VARIOUS                                           Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                              Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.43489 PERRY, GRANT                                   VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                            Litigation
        VASQUEZAMANDA LOCUTRO                ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43490 PERSAUD, ISHWAR                                VARIOUS                              Wildfire               UNDETERMINED
        3990 GLACIER DR                                                                     Litigation
        NAPA, CA 94558                       ACCOUNT NO.: NOT AVAILABLE


3.43491 Persephone Pardini                             VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.43492 PERSEPHONE PARDINI                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43493 PERSEPHONE PARDINI                        VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.43494 PERSONAL NETWORK                          VARIOUS                              Wildfire               UNDETERMINED
        COMPUTING, INC. DBA VALLEY                                                     Litigation
        INTERNET                        ACCOUNT NO.: NOT AVAILABLE
        SCOTT SUMMY (PRO HAC
        VICEPENDING)JOHN P. FISKE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.43495 PERSONAL NETWORK                          VARIOUS                              Wildfire               UNDETERMINED
        COMPUTING, INC. DBA VALLEY                                                     Litigation
        INTERNET                        ACCOUNT NO.: NOT AVAILABLE
        GERALD SINGLETON (SBN
        208783)ERIKA L. VASQUEZ
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.43496 PERSONAL NETWORK                          VARIOUS                              Wildfire               UNDETERMINED
        COMPUTING, INC. DBA VALLEY                                                     Litigation
        INTERNET                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, ESQ. (SBN
        583 I 6)
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.43497 PERSONAL NETWORK                          VARIOUS                              Wildfire               UNDETERMINED
        COMPUTING, INC. DBA VALLEY                                                     Litigation
        INTERNET                        ACCOUNT NO.: NOT AVAILABLE
        AHMED S. DIAB (SBN
        262319)DEBORAH S. DIXON
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.43498 Personal Network Computing, Inc.              VARIOUS                              Wildfire               UNDETERMINED
        dba Valley Internet                                                                Litigation
        John F. McGuire, Jr., ESQ. (SBN     ACCOUNT NO.: NOT AVAILABLE
        69176)Ian C. Fusselman, ESQ.
        (SBN I 98917)Brett. J. Schreiber,
        ESQ. (SBN 239707)
        Thorsnes Bartolotta McGuire LLP
        2550 Fifth A venue, 11th Floor
        San Diego, California 92103


3.43499 PERSONETTE, PAMELA                            VARIOUS                              Wildfire               UNDETERMINED
        7136 OAK LEAF DR                                                                   Litigation
        SANTA ROSA, CA 95409                ACCOUNT NO.: NOT AVAILABLE


3.43500 PETATAN CORTES, ROSALINA                      VARIOUS                              Wildfire               UNDETERMINED
        2832 APPLE VALLEY LN APT 4                                                         Litigation
        SANTA ROSA, CA 95403                ACCOUNT NO.: NOT AVAILABLE


3.43501 PETE ELLIS                                    VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                              Litigation
        208783)ERIKA L. VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.43502 PETE ELLIS                                    VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                               Litigation
        VICEPENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.43503 PETE ELLIS                                    VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                         Litigation
        (SBN 69176)IAN C.                   ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.43504 PETE ELLIS                                   VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                                Litigation
        262319)DEBORAH S. DIXON            ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43505 PETE ELLIS                                   VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                        Litigation
        583 I 6)                           ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.43506 Peter Auerbach                               VARIOUS                              Wildfire               UNDETERMINED
        Gregory M. Hatton, Cal. Bar No.                                                   Litigation
        119810Arthur R. Petrie, Ii, Cal.   ACCOUNT NO.: NOT AVAILABLE
        Bar No. 237261John A.
        Mcmahon, Cal. Bar No.
        237261Dan E. Heck, Cal. Bar No.
        210383
        Hatton, Petrie & Stackler
        APCAttorneys at Law
        12 Journey, Suite 255
        Aliso Viejo, CA 92656


3.43507 PETER BERENDSEN                              VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                         Litigation
        SIMES RACHEL B.                    ACCOUNT NO.: NOT AVAILABLE
        ABRAMSMEGHAN E.
        MCCORMICK
        LEVIN SIMES LLP
        44 MONTGOMERY ST., 32ND
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.43508 PETER BERENDSEN                              VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM F. MERLIN, JR.DENISE                                                      Litigation
        HSU SZESTEPHANIE POLI              ACCOUNT NO.: NOT AVAILABLE
        MERLIN LAW GROUP, P.A.
        505 MONTGOMERY ST., 11TH
        FLOOR
        SAN FRANCISCO, CA 94111


3.43509 PETER D STECKLOW                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                 Litigation
        DREYER BABICH BUCCOLA              ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43510 PETER D STECKLOW                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.43511 PETER D STECKLOW                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.43512 PETER D STECKLOW                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43513 PETER D STECKLOW                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43514 PETER FALACCO                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.43515 PETER FALACCO                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43516 PETER GERALD STINSKI                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.43517 PETER GERALD STINSKI                      VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.43518 PETER GORDON-GORDON,                      VARIOUS                              Wildfire               UNDETERMINED
        PETER                                                                          Litigation
        P.O.BOX 567                     ACCOUNT NO.: NOT AVAILABLE
        KENWOOD, CA 95452


3.43519 PETER GORDON-GORDON,                      VARIOUS                              Wildfire               UNDETERMINED
        PETER                                                                          Litigation
        9700 VIA CANTERA                ACCOUNT NO.: NOT AVAILABLE
        KENWOOD, CA 95452


3.43520 PETER GORNIAK                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43521 PETER GORNIAK                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43522 PETER GORNIAK                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43523 PETER GORNIAK                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43524 PETER HANUS                               VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.43525 PETER HANUS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43526 PETER HANUS                               VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.43527 PETER HANUS                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43528 PETER HOFFMAN                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.43529 PETER HOFFMAN                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.43530 PETER HOFFMAN                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.43531 PETER HOFFMAN                             VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.43532 PETER HOFFMAN                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43533 PETER HOFFMAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43534 PETER J. MCCALLY                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.43535 PETER J. MCCALLY                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43536 PETER J. MCCALLY                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43537 PETER J. MCCALLY                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43538 PETER J. MCCALLY                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.43539 PETER LOUGHLIN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.43540 PETER LOUGHLIN                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                               Litigation
        SIMMONS                              ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43541 PETER LOUGHLIN                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                                  Litigation
        FRIEDEMANN GOLDBERG LLP              ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.43542 PETER LOUGHLIN                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                       Litigation
        DEMAS LAW GROUP, P.C.                ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.43543 Peter Pardini                                  VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.43544 PETER PARDINI                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.43545 PETER PARDINI                                   VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                          Litigation
                                              ACCOUNT NO.: NOT AVAILABLE
         DYLAN HUGHES - BAR NO.
         209113 STEVEN A. LOPEZ -
         BAR NO. 300540
         GIBBS LAW GROUP
         505 14TH STREET, SUITE I 110
         OAKLAND, CA 94612


3.43546 Peter Richard                                   VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                         Litigation
        application anticipated)Guy           ACCOUNT NO.: NOT AVAILABLE
        Watts, II (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.43547 PETER RICHARD                                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                             Litigation
        NO. 197687)                           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43548 PETER ROSS                                      VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                             Litigation
        AMANWILLIAM P. HARRIS                 ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.43549 PETER ROSS                                      VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                             Litigation
        J. EBALLAR                            ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




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Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.43550 PETER SETZCHEN                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                            Litigation
        A. BAGHDADI                          ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43551 PETER SETZCHEN                                 VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                      Litigation
        FOXCOURTNEY VASQUEZ                  ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.43552 PETER SETZCHEN                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                                Litigation
        178658DYLAN HUGHES- BAR              ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43553 PETER SETZCHEN                                 VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                      Litigation
        SIEGLOCKRACHEL                       ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.43554 Peter Thompson                                 VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43555 PETER THOMPSON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.43556 PETER THOMPSON                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.43557 PETER TRIVINO                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43558 PETER TRIVINO                             VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDTMIKAL C. WATTSGUY          ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.43559 PETER TRIVINO                             VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.43560 PETERS, KATHY                             VARIOUS                              Wildfire               UNDETERMINED
        2306 SOUTH HAMPTON CIRCLE                                                      Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.43561 PETERS, SHALENE                           VARIOUS                              Wildfire               UNDETERMINED
        2140 NORTH AVENUE                                                              Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE




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Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.43562 PETERSEN, JOSEPH;                             VARIOUS                              Wildfire               UNDETERMINED
        PETERSEN, NANCY                                                                    Litigation
        DANIEL G. WHALEN                    ACCOUNT NO.: NOT AVAILABLE
        ENGSTROM LIPSCOMB & LACK
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.43563 PETERSEN, JULIE                               VARIOUS                              Wildfire               UNDETERMINED
        130 PARADISE DRIVE                                                                 Litigation
        NAPA, CA 94558                      ACCOUNT NO.: NOT AVAILABLE


3.43564 PETERSEN, KATHY                               VARIOUS                              Wildfire               UNDETERMINED
        977 SLATE DRIVE                                                                    Litigation
        SANTA ROSA, CA 95405                ACCOUNT NO.: NOT AVAILABLE


3.43565 PETERSEN, LESLIE                              VARIOUS                              Wildfire               UNDETERMINED
        10 E AGUA CALIENTE ROAD                                                            Litigation
        SONOMA, CA 95476                    ACCOUNT NO.: NOT AVAILABLE


3.43566 PETERSON, DEBRA                               VARIOUS                              Wildfire               UNDETERMINED
        5529 BROOKS AVE                                                                    Litigation
        LOOMIS, CA 95650                    ACCOUNT NO.: NOT AVAILABLE


3.43567 PETERSON, DONALD                              VARIOUS                              Wildfire               UNDETERMINED
        134 SILVERADO SPRINGS DR                                                           Litigation
        NAPA, CA 94558                      ACCOUNT NO.: NOT AVAILABLE


3.43568 Peterson, Mark F.; Peterson,                  VARIOUS                              Wildfire               UNDETERMINED
        Clarissa Inocencio; Peterson,                                                      Litigation
        Taylor J.; Peterson, Charlie Ross   ACCOUNT NO.: NOT AVAILABLE
        (Minors, By And Through Their
        Guardian Ad Litem Taylor J.
        Peterson); Peterson, Teagan
        Robert (Minors, By And Through
        Their Guardian Ad Litem Taylor J.
        Peterson)
        CO-COUNSEL
        525 B STREET
        SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.43569 Peterson, Mark F.; Peterson,                  VARIOUS                              Wildfire               UNDETERMINED
        Clarissa Inocencio; Peterson,                                                      Litigation
        Taylor J.; Peterson, Charlie Ross   ACCOUNT NO.: NOT AVAILABLE
        (Minors, By And Through Their
        Guardian Ad Litem Taylor J.
        Peterson); Peterson, Teagan
        Robert (Minors, By And Through
        Their Guardian Ad Litem Taylor J.
        Peterson)
        ELLIOT ADLER
        402 W BROADWAY
        SUITE 860
        SAN DIEGO, CA 92101


3.43570 Peterson, Mark F.; Peterson,                  VARIOUS                              Wildfire               UNDETERMINED
        Clarissa Inocencio; Peterson,                                                      Litigation
        Taylor J.; Peterson, Charlie Ross   ACCOUNT NO.: NOT AVAILABLE
        (Minors, By And Through Their
        Guardian Ad Litem Taylor J.
        Peterson); Peterson, Teagan
        Robert (Minors, By And Through
        Their Guardian Ad Litem Taylor J.
        Peterson)
        GERALD SINGLETON
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43571 PETERSON, TOM                                 VARIOUS                              Wildfire               UNDETERMINED
        1362 TALLAC ST.                                                                    Litigation
        NPAP, CA 94558                      ACCOUNT NO.: NOT AVAILABLE


3.43572 PETRA ALBRIGHT                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.43573 PETRA ALBRIGHT                                VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                             Litigation
        STATE BAR NO. 296841)PAIGE          ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.43574 PETRIE, ALLEN                                 VARIOUS                              Wildfire               UNDETERMINED
        2188 FRANCISCO AVE                                                                 Litigation
        SANTA ROSA, CA 95403                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.43575 PETTID, SOPHIA                             VARIOUS                              Wildfire               UNDETERMINED
        675 SUMMERFIELD ROAD                                                            Litigation
        APT #8                           ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95405


3.43576 PETTIGREW, CRYSTAL                         VARIOUS                              Wildfire               UNDETERMINED
        446 COUNTRY CLUB LANE                                                           Litigation
        NAPA, CA 94558                   ACCOUNT NO.: NOT AVAILABLE


3.43577 PEYTON YEAKEY                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                       Litigation
        DAVISKEVIN M.                    ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.43578 PEYTON YEAKEY                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                         Litigation
        D. EDWARDS                       ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.43579 PHAEDRA GLIDDEN                            VARIOUS                              Wildfire               UNDETERMINED
        OMAR I. HABBAS                                                                  Litigation
        HAABBAS & ASSOCIATES             ACCOUNT NO.: NOT AVAILABLE
        675 N. FIRST STREET, SUITE
        1000
        SAN JOSE, CA 95112


3.43580 PHAEDRA GLIDDEN                            VARIOUS                              Wildfire               UNDETERMINED
        J. GARY GWILLIAMRANDALL E.                                                      Litigation
        STRAUSSROBERT J.                 ACCOUNT NO.: NOT AVAILABLE
        SCHWARTZGWILLIAM, IVARY,
        CHIOSSO
        CAVALLI & BREWER
        1999 HARRISON ST., SUITE 1600,
        OAKLAND, CA 94612


3.43581 PHAEDRA GLIDDEN                            VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                              Litigation
        DANIELS LAW                      ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403




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Including Zip Code                                    Account Number                            Claim

Wildfire Claims

3.43582 PHAEDRA PELM                                     VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                            Litigation
        HANSEN & MILLER LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.43583 PHAEDRA PELM                                     VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                                 Litigation
        BOLDTMIKAL C. WATTSGUY                 ACCOUNT NO.: NOT AVAILABLE
        L. WATTS
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        225
        AUSTIN, TEXAS 78704


3.43584 PHAEDRA PELM                                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                              Litigation
        NO. 197687)                            ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43585 PHEASANT RIDGE ASSET                             VARIOUS                              Wildfire               UNDETERMINED
        PARTNERS, LP, A CALIFORNIA                                                            Litigation
        LIMITED PARTNERSHIP                    ACCOUNT NO.: NOT AVAILABLE
        MICHAELA. KELLY (SBN 71460)
        WALKUP MELODIA KELLY&
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43586 PHEASANT RIDGE ASSET                             VARIOUS                              Wildfire               UNDETERMINED
        PARTNERS, LP, A CALIFORNIA                                                            Litigation
        LIMITED PARTNERSHIP                    ACCOUNT NO.: NOT AVAILABLE
        BRIANJ. PANISH (SBN 116060)
        PANISH SHEA &BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.43587 Pheasant Ridge Asset Partners,                   VARIOUS                              Wildfire               UNDETERMINED
        LP, A California Limited Partnership                                                  Litigation
        Frank M. Pitre (SBN                    ACCOUNT NO.: NOT AVAILABLE
        100077)Alison E. Cordova (SBN
        284942)John P. Thyken (SBN
        286598)
        Cotchett, Pitre & Mccarthy, LLP
        San Francisco Airport Office
        Center840 Malcolm Road, Suite
        200
        Burlingame, CA 94010




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43588 PHEASANT RIDGE ASSET                      VARIOUS                              Wildfire               UNDETERMINED
        PARTNERS, LP, A CALIFORNIA                                                     Litigation
        LIMITED PARTNERSHIP             ACCOUNT NO.: NOT AVAILABLE
        RICHARD L. HARRIMAN
        (SBN66124)
        LAW OFFICES OF RICHARD L.
        HARRIMAN
        1078 VIA VERONA DR.
        CHICO, CA 95973


3.43589 PHELPS, GLORIA                            VARIOUS                              Wildfire               UNDETERMINED
        102 ANICAPA DR                                                                 Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.43590 PHIL AVERY                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.43591 PHIL AVERY                                VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.43592 PHIL AVERY                                VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.43593 PHIL AVERY                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43594 PHIL CHARNAS                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.43595 PHIL CHARNAS                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.43596 PHIL CHARNAS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.43597 PHILA COLE                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                       Litigation
        SBN: 110909ROBERT A.            ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43598 PHILA COLE                                VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                        Litigation
        COTCHETTDONALD                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE & MCCARTHY
        LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.43599 PHILADELPHIA INDEMNITY                    VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        THOMAS M. REGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.43600 PHILADELPHIA INDEMNITY                    VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MARK C. BAUMANPATRICK Y.        ACCOUNT NO.: NOT AVAILABLE
        HOWELL
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85260


3.43601 PHILADELPHIA INDEMNITY                    VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        TIMOTHYE CARY SBN               ACCOUNT NO.: NOT AVAILABLE
        093608NATHAN R. HURD SBN
        279593
        LAW OFFICES OF ROBERT A.
        STUTMAN, P.C.
        1260 CORONA POINTE COURT,
        SUITE 306
        CORONA, CALIFORNIA 92879


3.43602 PHILBIN, MARK                             VARIOUS                              Wildfire               UNDETERMINED
        508 QUAIL HOLLOW CT                                                            Litigation
        WINDSOR, CA 95492               ACCOUNT NO.: NOT AVAILABLE


3.43603 PHILIP A MARTINEZ                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43604 PHILIP A MARTINEZ                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43605 PHILIP A MARTINEZ                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43606 PHILIP A MARTINEZ                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.43607 PHILIP A MARTINEZ                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.43608 PHILIP BINSTOCK, INDIVIDUALLY             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43609 PHILIP BINSTOCK, INDIVIDUALLY             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.43610 Philip Binstock, Individually                 VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No.                                                        Litigation
        126782Amanda L. Riddle - Bar        ACCOUNT NO.: NOT AVAILABLE
        No. 215221Steven M. Berki - Bar
        No. 245426Sumble Manzoor- Bar
        No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.43611 PHILIP BINSTOCK, INDIVIDUALLY                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                         Litigation
        111359KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43612 PHILIP BRENNAN                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.43613 Philip Brennan                                VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.43614 PHILIP BRODEY                                 VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                            Litigation
        D. EDWARDS                          ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43615 PHILIP DECARLO                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                      Litigation
        DAVISKEVIN M.                   ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.43616 PHILIP DECARLO                            VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                        Litigation
        D. EDWARDS                      ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.43617 PHILIP G KING II                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.43618 PHILIP G KING II                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.43619 PHILIP G KING II                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43620 PHILIP G KING II                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43621 PHILIP G KING II                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43622 PHILIP HAMMON                             VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.43623 PHILIP HAMMON                             VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.43624 PHILIP SITZMAN                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.43625 PHILIP SITZMAN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.43626 PHILIPPE LANGNER                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORAROBERT                                                        Litigation
        A. BUCCOLACATIA G. SARAIVA      ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826



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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.43627 PHILIPPE LANGNER                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                          Litigation
        COTCHETTALISON E.                 ACCOUNT NO.: NOT AVAILABLE
        CORDOVAACORDOVA@CPMLE
        GAL.COM
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.43628 PHILIPPE LANGNER                            VARIOUS                              Wildfire               UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.43629 PHILIPPE LANGNER                            VARIOUS                              Wildfire               UNDETERMINED
        TELEPHONE: (650) 697-                                                            Litigation
        6000FACSIMILE: (650) 697-         ACCOUNT NO.: NOT AVAILABLE
        0577FPITRE@CPMLEGAL.COM

        JCOTCHETT@CPMLEGAL.COM
        JCOTCHETT@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.43630 PHILIPPE LANGNER                            VARIOUS                              Wildfire               UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE


3.43631 PHILLIP CHAVKZ                              VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                             Litigation
        296101)ROBERT T. BRYSON           ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43632 PHILLIP CLOVER                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.43633 PHILLIP CLOVER                            VARIOUS                              Wildfire               UNDETERMINED
        NOREEN EVANSRYAN L.                                                            Litigation
        THOMPSONPAIGE BOLDT             ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.43634 PHILLIP COLVARD                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.43635 PHILLIP COLVARD                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.43636 PHILLIP RESER                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43637 PHILLIP RESER                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43638 PHILLIP RESER                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43639 PHILLIP RESER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43640 PHILLIP RESER                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43641 PHILLIP TORRES                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.43642 PHILLIP TORRES                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43643 PHILLIP TORRES                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.43644 PHILLIP TORRES                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.43645 PHILLIP VELADOR                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.43646 PHILLIP VELADOR                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43647 PHILLIP VELADOR                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43648 PHILLIP VELADOR                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43649 PHILLIPS, LISA                            VARIOUS                              Wildfire               UNDETERMINED
        13651 GIBSON STREET                                                            Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.43650 PHILLIPS, MIKE                            VARIOUS                              Wildfire               UNDETERMINED
        5254 FRUITLAND ROAD                                                            Litigation
        LOMA RICA, CA 95901             ACCOUNT NO.: NOT AVAILABLE


3.43651 PHILLIPS, MORGAN                          VARIOUS                              Wildfire               UNDETERMINED
        1001 CREEKSIDE                                                                 Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.43652 PHILPOTTS, DEBRA                          VARIOUS                              Wildfire               UNDETERMINED
        ADDRESS NOT PROVIDED                                                           Litigation
                                        ACCOUNT NO.: NOT AVAILABLE


3.43653 PHOEBE NICOLETTE                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.43654 PHOEBE NICOLETTE                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43655 PHOEBE NICOLETTE                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43656 PHOEBE NICOLETTE                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.43657 PHULPS, ALAN COVINGTON            VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.43658 PHULPS, ALAN COVINGTON                    VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43659 PHULPS, ALAN COVINGTON                    VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43660 PHYLLIS A BREMER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43661 PHYLLIS A BREMER                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43662 PHYLLIS A BREMER                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43663 PHYLLIS A BREMER                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.43664 PHYLLIS A BREMER                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43665 PHYLLIS A CARRIKER                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43666 PHYLLIS A CARRIKER                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43667 PHYLLIS A CARRIKER                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.43668 PHYLLIS A CARRIKER                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43669 PHYLLIS A CARRIKER                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43670 PHYLLIS ANN HELTON                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43671 PHYLLIS ANN HELTON                        VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43672 PHYLLIS ANN HELTON                        VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43673 PHYLLIS ANN HELTON                        VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




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Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.43674 PHYLLIS MILLER                                VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                       Litigation
        CABRASERROBERT J.                   ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

        FABRICE N. VINCENTANNIKA
        K. MARTINABBY R. WOLF
        LIEFF CABRASER HEIMANN &
        BERNSTEIN, LLP
        275 BATTERY STREET, 29TH
        FLOOR
        SAN FRANCISCO, CA 94111-3339


3.43675 PHYLLIS REASON                                VARIOUS                              Wildfire               UNDETERMINED
        C. BROOKS CUTTERJOHN G.                                                            Litigation
        ROUSSASMATTHEW M.                   ACCOUNT NO.: NOT AVAILABLE
        BREINING
        CUTTER LAW P.C.
        401 WATT AVENUE
        SACRAMENTO, CA 95864


3.43676 PICRASLYNN, LUCILLE                           VARIOUS                              Wildfire               UNDETERMINED
        4345 COX DRIVE                                                                     Litigation
        SANTA ROSA, CA 95409                ACCOUNT NO.: NOT AVAILABLE


3.43677 PIERANGELI DI STELLA                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.43678 Pierangeli Di Stella                          VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.43679 PIERCE, ISIS                      VARIOUS                                          Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                             Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43680 PIERCE, ISIS                              VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43681 PIERCE, ISIS                              VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43682 PIERI, JESSE                              VARIOUS                              Wildfire               UNDETERMINED
        DANIEL G. WHALEN                                                               Litigation
        ENGSTROM LIPSCOMB & LACK        ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.43683 PIERRET, MONICA                           VARIOUS                              Wildfire               UNDETERMINED
        1147 MOUNT GEORGE AVE                                                          Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.43684 PIERRET, MONICA                           VARIOUS                              Wildfire               UNDETERMINED
        1147 MOUNT GEORGE AVE                                                          Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.43685 PIFER, PATRICIA                           VARIOUS                              Wildfire               UNDETERMINED
        1415 FULTON RD                                                                 Litigation
        #205B25                         ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.43686 PIGEON, MONICA S. & WHISKEY               VARIOUS                              Wildfire               UNDETERMINED
        SLIDE INVESTMENT GROUP, LLC                                                    Litigation
        MIKE DANKOKRISTINE              ACCOUNT NO.: NOT AVAILABLE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43687 PIGEON, MONICA S. & WHISKEY               VARIOUS                              Wildfire               UNDETERMINED
        SLIDE INVESTMENT GROUP, LLC                                                    Litigation
        DARIO DE GHETALDI AMANDA        ACCOUNT NO.: NOT AVAILABLE
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.43688 PIGOTT, SANDRA                            VARIOUS                              Wildfire               UNDETERMINED
        1377 WIKIUP DRIVE                                                              Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.43689 PIMENTEL, LUCIO                           VARIOUS                              Wildfire               UNDETERMINED
        1418 N OAK ST                                                                  Litigation
        CALISTOGA, CA 94515             ACCOUNT NO.: NOT AVAILABLE


3.43690 PIMENTEL, MARIA                           VARIOUS                              Wildfire               UNDETERMINED
        5209 OLD REDWOOD HWY APT                                                       Litigation
        55                              ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.43691 PINE SPRINGS ASSET                        VARIOUS                              Wildfire               UNDETERMINED
        PARTNERS, LP, A CALIFORNIA                                                     Litigation
        LIMITED PARTNERSHIP             ACCOUNT NO.: NOT AVAILABLE
        MICHAELA. KELLY (SBN 71460)
        WALKUP MELODIA KELLY&
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43692 PINE SPRINGS ASSET                        VARIOUS                              Wildfire               UNDETERMINED
        PARTNERS, LP, A CALIFORNIA                                                     Litigation
        LIMITED PARTNERSHIP             ACCOUNT NO.: NOT AVAILABLE
        BRIANJ. PANISH (SBN 116060)
        PANISH SHEA &BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025




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Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.43693 Pine Springs Asset Partners, LP, A             VARIOUS                              Wildfire               UNDETERMINED
        California Limited Partnership                                                      Litigation
        Frank M. Pitre (SBN                  ACCOUNT NO.: NOT AVAILABLE
        100077)Alison E. Cordova (SBN
        284942)John P. Thyken (SBN
        286598)
        Cotchett, Pitre & Mccarthy, LLP
        San Francisco Airport Office
        Center840 Malcolm Road, Suite
        200
        Burlingame, CA 94010


3.43694 PINE SPRINGS ASSET                             VARIOUS                              Wildfire               UNDETERMINED
        PARTNERS, LP, A CALIFORNIA                                                          Litigation
        LIMITED PARTNERSHIP                  ACCOUNT NO.: NOT AVAILABLE
        RICHARD L. HARRIMAN
        (SBN66124)
        LAW OFFICES OF RICHARD L.
        HARRIMAN
        1078 VIA VERONA DR.
        CHICO, CA 95973


3.43695 PINECREST MOBILE HOME                          VARIOUS                              Wildfire               UNDETERMINED
        PARK, LLC, A CALIFORNIA                                                             Litigation
        LIMITED LIABILITY COMPANY            ACCOUNT NO.: NOT AVAILABLE
        BRIANJ. PANISH (SBN 116060)
        PANISH SHEA &BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.43696 Pinecrest Mobile Home Park, LLC,               VARIOUS                              Wildfire               UNDETERMINED
        A California Limited Liability                                                      Litigation
        Company                              ACCOUNT NO.: NOT AVAILABLE
        Frank M. Pitre (SBN
        100077)Alison E. Cordova (SBN
        284942)John P. Thyken (SBN
        286598)
        Cotchett, Pitre & Mccarthy, LLP
        San Francisco Airport Office
        Center840 Malcolm Road, Suite
        200
        Burlingame, CA 94010


3.43697 PINECREST MOBILE HOME                          VARIOUS                              Wildfire               UNDETERMINED
        PARK, LLC, A CALIFORNIA                                                             Litigation
        LIMITED LIABILITY COMPANY            ACCOUNT NO.: NOT AVAILABLE
        MICHAELA. KELLY (SBN 71460)
        WALKUP MELODIA KELLY&
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43698 PINECREST MOBILE HOME                     VARIOUS                              Wildfire               UNDETERMINED
        PARK, LLC, A CALIFORNIA                                                        Litigation
        LIMITED LIABILITY COMPANY       ACCOUNT NO.: NOT AVAILABLE
        RICHARD L. HARRIMAN
        (SBN66124)
        LAW OFFICES OF RICHARD L.
        HARRIMAN
        1078 VIA VERONA DR.
        CHICO, CA 95973


3.43699 PINO, TINA                                VARIOUS                              Wildfire               UNDETERMINED
        1724 TALLAC STREET                                                             Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.43700 PINTO, VERONICA                           VARIOUS                              Wildfire               UNDETERMINED
        116 MARIN AVE.                                                                 Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.43701 PIONEER MACHINERY, INC.,                  VARIOUS                              Wildfire               UNDETERMINED
        CHRIS GALLOWAY                                                                 Litigation
        120 PIONEER AVENUE              ACCOUNT NO.: NOT AVAILABLE
        WOODLAND, CA 95776


3.43702 PIRENIAN, LINDSAY                         VARIOUS                              Wildfire               UNDETERMINED
        820 VINEYARD CREEK DR                                                          Litigation
        APT 163                         ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.43703 PISANELLI, ELIZABETH              VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.43704 PISANELLI, ELIZABETH                      VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43705 PISANELLI, ELIZABETH                      VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43706 PIYAWAN THOMPSON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43707 PIYAWAN THOMPSON                          VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.43708 PIYAWAN THOMPSON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.43709 PIYAWAN THOMPSON                          VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.43710 PIZANO, IGNACIO                           VARIOUS                              Wildfire               UNDETERMINED
        18023 BROOKS AVE., SONOMA                                                      Litigation
        EL VERANO, CA 95433             ACCOUNT NO.: NOT AVAILABLE


3.43711 PIZANO, IGNACIO                           VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 331                                                                   Litigation
        EL VERANO, CA 95433             ACCOUNT NO.: NOT AVAILABLE


3.43712 PLATINUM RESIDENTIAL CARE                 VARIOUS                              Wildfire               UNDETERMINED
        HOME, INC., A CORPORATION                                                      Litigation
        FRANK M. PITRE, STATE BAR       ACCOUNT NO.: NOT AVAILABLE
        NO. 100077
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.43713 Platinum Residential Care Home,             VARIOUS                              Wildfire               UNDETERMINED
        Inc., a corporation                                                              Litigation
        Brian Panish, State Bar No.       ACCOUNT NO.: NOT AVAILABLE
        116060Rahul Ravipudi, State Bar
        No. 204519Lyssa A. Roberts,
        State Bar No. 235049
        Panish Shea & Boyle LLP
        11111 Santa Monica Boulevard,
        Suite 700
        Los Angeles, California 90025


3.43714 PLATINUM RESIDENTIAL CARE                   VARIOUS                              Wildfire               UNDETERMINED
        HOME, INC., A CORPORATION                                                        Litigation
        MICHAEL A. KELLY, STATE BAR       ACCOUNT NO.: NOT AVAILABLE
        NO. 71460
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.43715 Platinum Residential Care Home,             VARIOUS                              Wildfire               UNDETERMINED
        Inc., a corporation,                                                             Litigation
        Brian Panish, State Bar No.       ACCOUNT NO.: NOT AVAILABLE
        116060Rahul Ravipudi, State Bar
        No. 204519Lyssa A. Roberts,
        State Bar No. 235049
        Panish Shea & Boyle LLP
        11111 Santa Monica Boulevard,
        Suite 700
        Los Angeles, California 90025


3.43716 PLATINUM RESIDENTIAL CARE                   VARIOUS                              Wildfire               UNDETERMINED
        HOME, INC., A CORPORATION,                                                       Litigation
        FRANK M. PITRE, STATE BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 100077
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.43717 PLATINUM RESIDENTIAL CARE                   VARIOUS                              Wildfire               UNDETERMINED
        HOME, INC., A CORPORATION,                                                       Litigation
        MICHAEL A. KELLY, STATE BAR       ACCOUNT NO.: NOT AVAILABLE
        NO. 71460
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43718 PLEXICO, NILA                             VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 716                                                                   Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.43719 PLUNKETT, TIM JOE; HARDING,               VARIOUS                              Wildfire               UNDETERMINED
        KATHLEEN ANN (INDIVIDUALLY,                                                    Litigation
        AND AS TRUSTEE OF THE           ACCOUNT NO.: NOT AVAILABLE
        LIVING TRUST OF KATHLEEN A.
        HARDING)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43720 PLUNKETT, TIM JOE; HARDING,               VARIOUS                              Wildfire               UNDETERMINED
        KATHLEEN ANN (INDIVIDUALLY,                                                    Litigation
        AND AS TRUSTEE OF THE           ACCOUNT NO.: NOT AVAILABLE
        LIVING TRUST OF KATHLEEN A.
        HARDING)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43721 PLUNKETT, TIM JOE; HARDING,         VARIOUS                                    Wildfire               UNDETERMINED
        KATHLEEN ANN (INDIVIDUALLY,                                                    Litigation
        AND AS TRUSTEE OF THE       ACCOUNT NO.: NOT AVAILABLE
        LIVING TRUST OF KATHLEEN A.
        HARDING)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.43722 PO VANG                                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43723 PO VANG                                   VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                           Litigation
        #109455LAURA E. BROWN           ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.43724 PO VANG                                    VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.43725 PO VANG                                    VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43726 PO VANG                                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.43727 POEHLMAN, ANNE & KEN                       VARIOUS                              Wildfire               UNDETERMINED
        8841 POPAR AVE                                                                  Litigation
        COTATI, CA 94931                 ACCOUNT NO.: NOT AVAILABLE


3.43728 POKAM W. GO                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43729 POKAM W. GO                                VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                  Litigation
        FOXCOURTNEY VASQUEZ              ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.43730 POKAM W. GO                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                            Litigation
        178658DYLAN HUGHES- BAR          ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43731 POKAM W. GO                               VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.43732 POLACCHI, JOHN                            VARIOUS                              Wildfire               UNDETERMINED
        5296 WILSON HILL RD                                                            Litigation
        MANTON, CA 96059                ACCOUNT NO.: NOT AVAILABLE


3.43733 POLK, RICK L. AND TERRI L.                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI AMANDA                                                       Litigation
        L. RIDDLE CLARE CAPACCIOLI      ACCOUNT NO.: NOT AVAILABLE
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.43734 POLK, RICK L. AND TERRI L.                VARIOUS                              Wildfire               UNDETERMINED
        MIKE DANKOKRISTINE                                                             Litigation
        MEREDITHSHAWN                   ACCOUNT NO.: NOT AVAILABLE
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43735 POLLY PESCIO                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




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Wildfire Claims

3.43736 POLLY PESCIO                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.43737 POLLY PESCIO                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.43738 POMERAY, IRENE                            VARIOUS                              Wildfire               UNDETERMINED
        13410 ARNOLD DRIVE                                                             Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.43739 POMETTA, LOUIE                            VARIOUS                              Wildfire               UNDETERMINED
        1211 OAKVILLE GRADE RD                                                         Litigation
        OAKVILLE, CA 94562              ACCOUNT NO.: NOT AVAILABLE


3.43740 POMPEYO BERMUDEZ                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43741 POMPEYO BERMUDEZ                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43742 POMPEYO BERMUDEZ                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43743 POMPEYO BERMUDEZ                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.43744 PONSETI, MAREL J                          VARIOUS                              Wildfire               UNDETERMINED
        6959 OAKMONT DR                                                                Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.43745 POOLE, PAMELA                             VARIOUS                              Wildfire               UNDETERMINED
        5370 COUNTRY LN                                                                Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.43746 POREBA, JOHN                              VARIOUS                              Wildfire               UNDETERMINED
        4715 DEVONSHIRE PL                                                             Litigation
        SANTA ROSA, CA 95405            ACCOUNT NO.: NOT AVAILABLE


3.43747 PORTELLI, MONICA                          VARIOUS                              Wildfire               UNDETERMINED
        143 W AGUA CALIENTE RD                                                         Litigation
        APT 2                           ACCOUNT NO.: NOT AVAILABLE
        SONOMA, CA 95476


3.43748 PORTER PETERSON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43749 PORTER PETERSON                           VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                      Litigation
        (STATE BAR #33422) DIANE        ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.43750 PORTER PETERSON                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43751 PORTER PETERSON                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43752 PORTER PETERSON                           VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.43753 PORTER, ALFIEA                            VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43754 PORTER, ALFIEA                    VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43755 PORTER, ALFIEA                            VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43756 PORTER, CARL ''CHARLIE''                  VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 844                                                                   Litigation
        WESTWOOD, CA 96137              ACCOUNT NO.: NOT AVAILABLE


3.43757 PORTER, CHARLIE                           VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 844                                                                   Litigation
        WESTWOOD, CA 96137              ACCOUNT NO.: NOT AVAILABLE


3.43758 PORTERKHAMSY, MAX                         VARIOUS                              Wildfire               UNDETERMINED
        15127 MARTY DR                                                                 Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.43759 PORTERKHAMSY, MAX                         VARIOUS                              Wildfire               UNDETERMINED
        15127 MARTY DR                                                                 Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.43760 PORTO, LEON MICHAEL               VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.43761 PORTO, LEON MICHAEL                       VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43762 PORTO, LEON MICHAEL                       VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43763 POTTER, CYNTHIA                           VARIOUS                              Wildfire               UNDETERMINED
        466 SAN RAMON DR                                                               Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43764 POULNOT, JEAN-MICHAEL                     VARIOUS                              Wildfire               UNDETERMINED
        8936 OAKMONT DR.                                                               Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.43765 POWERS DAKOTA BUNCH                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43766 POWERS DAKOTA BUNCH                       VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43767 POWERS DAKOTA BUNCH                       VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43768 POWERS DAKOTA BUNCH                       VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43769 POWERS, ROBERT WAYNE, II                  VARIOUS                              Wildfire               UNDETERMINED
        DANIEL G. WHALEN                                                               Litigation
        ENGSTROM LIPSCOMB & LACK        ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43770 PRABHJOT SINGH,                           VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND DBA STOP &                                                    Litigation
        SHOP                            ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43771 PRABHJOT SINGH,                           VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND DBA STOP &                                                    Litigation
        SHOP                            ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF, ESQ., #166204
        ERIC RATINOFF LAW CORP.
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43772 PRABHJOT SINGH,                           VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND DBA STOP &                                                    Litigation
        SHOP                            ACCOUNT NO.: NOT AVAILABLE
        ROBERT W. JACKSON, ESQ.,
        #117228
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.43773 PRABHJOT SINGH,                           VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND DBA STOP &                                                    Litigation
        SHOP                            ACCOUNT NO.: NOT AVAILABLE
        RUSSELL REINER, ESQ. #84461
         REINER, SLAUGHTER &
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.43774 PRAETORIAN INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        MAURA WALSH OCHOA (SBN          ACCOUNT NO.: NOT AVAILABLE
        193799)WAYLON J. PICKETT
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43775 PRAETORIAN INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.43776 PRAETORIAN INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        MAURA WALSH OCHOA               ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.43777 PRAETORIAN INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.43778 PRAIRIE C KOSKI                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43779 PRAIRIE C KOSKI                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.43780 PRAIRIE C KOSKI                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43781 PRAIRIE C KOSKI                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43782 PRAIRIE C KOSKI                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.43783 PRAISE CLARK                              VARIOUS                              Wildfire               UNDETERMINED
        EUSTACE DE SAINT                                                               Litigation
        PHALLEJOSEPH R. LUCIA           ACCOUNT NO.: NOT AVAILABLE
        RAINS LUCIA STERN ST.
        PRALLE & SILVER, PC
        2300 CONTRA COSTA BLVD.,
        SUITE 500
        PLEASANT HILL, CA 94523


3.43784 PRATIMA KUMAR                             VARIOUS                              Wildfire               UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                    Litigation
        116060RAHUL RAVIPUDI,           ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.43785 PRATIMA KUMAR                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                      Litigation
        NO. 100077                      ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.43786 PRATIMA KUMAR                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                    Litigation
        NO. 71460                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


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Wildfire Claims

3.43787 PRATT, ANDREW MACFARLANE                  VARIOUS                              Wildfire               UNDETERMINED
        (ASHTON)                                                                       Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43788 PRATT, ANDREW MACFARLANE                  VARIOUS                              Wildfire               UNDETERMINED
        (ASHTON)                                                                       Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43789 PRATT, ANDREW MACFARLANE          VARIOUS                                      Wildfire               UNDETERMINED
        (ASHTON)                                                                       Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.43790 PRATT, CHARLES FLETCHER                   VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43791 PRATT, CHARLES FLETCHER                   VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43792 PRATT, CHARLES FLETCHER           VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.43793 PRATT, DOREEN                             VARIOUS                              Wildfire               UNDETERMINED
        75 DICKERSON LN                                                                Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43794 PRECIOUS MARTINEZ                         VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.43795 PRECIOUS MARTINEZ                         VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.43796 PRESCOTT CREVELING                        VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.43797 PRESCOTT CREVELING                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.43798 PRESTON GREENE                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.43799 PRESTON ZIMMERMAN                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43800 PRESTON ZIMMERMAN                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.43801 PRESTON ZIMMERMAN                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.43802 PRESTON ZIMMERMAN                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.43803 PRICE, CHABLEE NICOLE                     VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43804 PRICE, CHABLEE NICOLE                     VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43805 PRICE, CHABLEE NICOLE             VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.43806 PRICE, MELINDA                            VARIOUS                              Wildfire               UNDETERMINED
        133 VALLEY LAKES DR.                                                           Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.43807 PRICE, MICHELLE                           VARIOUS                              Wildfire               UNDETERMINED
        PO BOC 1826                                                                    Litigation
        LUCERNE, CA 95458               ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43808 PRICE, ROSS                               VARIOUS                              Wildfire               UNDETERMINED
        1073 ARROYO GRANDE DR                                                          Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.43809 PRIDMORE, TIMOTHY                         VARIOUS                              Wildfire               UNDETERMINED
        21 RIDGECREST CT.                                                              Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.43810 PRITCHARD, DARIA                          VARIOUS                              Wildfire               UNDETERMINED
        1307 RIVERA CT                                                                 Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.43811 PRIVILEGE UNDERWRITERS                    VARIOUS                              Wildfire               UNDETERMINED
        RECIPROCAL EXCHANGE                                                            Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KHAN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CALIFORNIA 92614-8516


3.43812 PROGRESSIVE CASUALTY                      VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA (SBN          ACCOUNT NO.: NOT AVAILABLE
        193799)WAYLON J. PICKETT
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.43813 PROGRESSIVE CASUALTY                      VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.43814 PROGRESSIVE CASUALTY                      VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA               ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43815 PROGRESSIVE CASUALTY                      VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.43816 PROGRESSIVE DIRECT                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA (SBN          ACCOUNT NO.: NOT AVAILABLE
        193799)WAYLON J. PICKETT
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.43817 PROGRESSIVE DIRECT                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.43818 PROGRESSIVE DIRECT                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA               ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.43819 PROGRESSIVE DIRECT                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43820 PROGRESSIVE EXPRESS                       VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA (SBN          ACCOUNT NO.: NOT AVAILABLE
        193799)WAYLON J. PICKETT
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.43821 PROGRESSIVE EXPRESS                       VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA               ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.43822 PROGRESSIVE EXPRESS                       VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.43823 PROGRESSIVE EXPRESS                       VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.43824 PROGRESSIVE SELECT                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA (SBN          ACCOUNT NO.: NOT AVAILABLE
        193799)WAYLON J. PICKETT
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43825 PROGRESSIVE SELECT                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.43826 PROGRESSIVE SELECT                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA               ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.43827 PROGRESSIVE SELECT                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.43828 PROGRESSIVE WEST                          VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA (SBN          ACCOUNT NO.: NOT AVAILABLE
        193799)WAYLON J. PICKETT
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.43829 PROGRESSIVE WEST                          VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43830 PROGRESSIVE WEST                          VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA               ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.43831 PROGRESSIVE WEST                          VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.43832 PROPERTY & CASUALTY INS.                  VARIOUS                              Wildfire               UNDETERMINED
        COMPANY OF HARTFORD                                                            Litigation
        MARK C. BAUMANPATRICK Y.        ACCOUNT NO.: NOT AVAILABLE
        HOWELL
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85260


3.43833 PROPERTY & CASUALTY INS.                  VARIOUS                              Wildfire               UNDETERMINED
        COMPANY OF HARTFORD                                                            Litigation
        A. SCOTT LOEWE,                 ACCOUNT NO.: NOT AVAILABLE
        #230606MARIE BAUMAN.
        #252584PA1RICK Y. HOWELL,
        #298296
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85265


3.43834 PROSISE, HEIDI                            VARIOUS                              Wildfire               UNDETERMINED
        1198 LOKOYA RD                                                                 Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.43835 PRZBLYSKI, MARY                           VARIOUS                              Wildfire               UNDETERMINED
        304 MOUNTAIN VISTA COURT                                                       Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.43836 PULIDO, ERICA                             VARIOUS                              Wildfire               UNDETERMINED
        2323 MCBRIDE LN                                                                Litigation
        65                              ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43837 PULIDO, ERICKA                            VARIOUS                              Wildfire               UNDETERMINED
        15192 MARTY DRIVE #1                                                           Litigation
        1                               ACCOUNT NO.: NOT AVAILABLE
        GLEN ELLEN, CA 95442


3.43838 PURSER, MARGO                             VARIOUS                              Wildfire               UNDETERMINED
        4437 EASTWOOD CT                                                               Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.43839 PURSHOUSE, SIMON                          VARIOUS                              Wildfire               UNDETERMINED
        17503 SONOMA HIGHWAY 12                                                        Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.43840 QBE EUROPEAN OPERATIONS                   VARIOUS                              Wildfire               UNDETERMINED
        HOWARD D. MAYCON                                                               Litigation
        COZEN O'CONNOR                  ACCOUNT NO.: NOT AVAILABLE
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.43841 QBE EUROPEAN OPERATIONS                   VARIOUS                              Wildfire               UNDETERMINED
        KEVIN D. BUSHTHOMAS M.                                                         Litigation
        REGANDAVID D. BRISCO            ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.43842 QBE EUROPEAN OPERATIONS                   VARIOUS                              Wildfire               UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                        Litigation
        JANG & ASSOCIATES LLP           ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.43843 QBE INSURANCE CORPORATION                 VARIOUS                              Wildfire               UNDETERMINED
        MAURA WALSH OCHOA (SBN                                                         Litigation
        193799)WAYLON J. PICKETT        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.43844 QBE INSURANCE CORPORATION                 VARIOUS                              Wildfire               UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                        Litigation
        JANG & ASSOCIATES LLP           ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43845 QBE INSURANCE CORPORATION                 VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICE)JOHN P. FISKE (SBN         ACCOUNT NO.: NOT AVAILABLE
        249256)
        BARON & BUDD P.C.
        11440 WEST BERNARDO
        COURT, STE. 265
        SAN DIEGO, CA 92127


3.43846 QBE INSURANCE CORPORATION                 VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43847 QIN & LIU, ZHIJIAN & JIN                  VARIOUS                              Wildfire               UNDETERMINED
        5772 MARSH HAWK DR                                                             Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.43848 QUACKENBUSH, BARBARA                      VARIOUS                              Wildfire               UNDETERMINED
        6128 ERLAND ROAD                                                               Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.43849 QUADE, DANIEL                             VARIOUS                              Wildfire               UNDETERMINED
        252 COUNTRY CLUB LANE                                                          Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.43850 QUAIL TRAILS VILLAGE, LLC, A              VARIOUS                              Wildfire               UNDETERMINED
        CALIFORNIA LIMITED LIABILITY                                                   Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        MICHAELA. KELLY (SBN 71460)
        WALKUP MELODIA KELLY&
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43851 QUAIL TRAILS VILLAGE, LLC, A              VARIOUS                              Wildfire               UNDETERMINED
        CALIFORNIA LIMITED LIABILITY                                                   Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        BRIANJ. PANISH (SBN 116060)
        PANISH SHEA &BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025




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Including Zip Code                                    Account Number                            Claim

Wildfire Claims

3.43852 Quail Trails Village, LLC, A                     VARIOUS                              Wildfire               UNDETERMINED
        California Limited Liability Company                                                  Litigation
        Frank M. Pitre (SBN                    ACCOUNT NO.: NOT AVAILABLE
        100077)Alison E. Cordova (SBN
        284942)John P. Thyken (SBN
        286598)
        Cotchett, Pitre & Mccarthy, LLP
        San Francisco Airport Office
        Center840 Malcolm Road, Suite
        200
        Burlingame, CA 94010


3.43853 QUAIL TRAILS VILLAGE, LLC, A                     VARIOUS                              Wildfire               UNDETERMINED
        CALIFORNIA LIMITED LIABILITY                                                          Litigation
        COMPANY                                ACCOUNT NO.: NOT AVAILABLE
        RICHARD L. HARRIMAN
        (SBN66124)
        LAW OFFICES OF RICHARD L.
        HARRIMAN
        1078 VIA VERONA DR.
        CHICO, CA 95973


3.43854 QUARNERI, PAUL                                   VARIOUS                              Wildfire               UNDETERMINED
        4101 KNOXVILLE RD. BOX 9251                                                           Litigation
        NAPA, CA 94558                         ACCOUNT NO.: NOT AVAILABLE


3.43855 QUATTROCCHI, ALICIA                              VARIOUS                              Wildfire               UNDETERMINED
        989 SLATE DRIVE                                                                       Litigation
        SANTA ROSA, CA 95405                   ACCOUNT NO.: NOT AVAILABLE


3.43856 QUEEN, ROSEMARIE                  VARIOUS                                             Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                                Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.43857 QUEEN, ROSEMARIE                                 VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                                  Litigation
        ZUMMER                                 ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43858 QUEEN, ROSEMARIE                                 VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                              Litigation
        VASQUEZAMANDA LOCUTRO                  ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43859 QUEVEDO, MARIA                            VARIOUS                              Wildfire               UNDETERMINED
        1709 MONARCH DRIVE                                                             Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.43860 QUIANA TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43861 QUIANA TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.43862 QUIANA TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43863 QUIANA TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43864 QUIANA TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43865 QUILTY, JAMES                             VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 1735                                                                  Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.43866 QUILTY, JAMES                             VARIOUS                              Wildfire               UNDETERMINED
        300 OLD BENNETT TRAIL                                                          Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


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Wildfire Claims

3.43867 QUINISHA ABRAM                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.43868 QUINISHA ABRAM                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.43869 QUINISHA ABRAM                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43870 QUINISHA ABRAM                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.43871 QUINISHA ABRAM                            VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.43872 QUINN A BALLOU                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43873 QUINN A BALLOU                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43874 QUINN A BALLOU                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43875 QUINN A BALLOU                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.43876 QUINN A BALLOU                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.43877 QUINONEZ, ERICA                           VARIOUS                              Wildfire               UNDETERMINED
        1996 MARSH RD                                                                  Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.43878 QUINTON E. LOZANO                         VARIOUS                              Wildfire               UNDETERMINED
        RAFEY S. BALABANIAN (SBN                                                       Litigation
        315962)TODD LOGAN (SBN          ACCOUNT NO.: NOT AVAILABLE
        305912)J. AARON LAWSON
        (SBN 319306)LILY HOUGH (SBN
        315277)
        EDELSON PC
        123 TOWNSEND STREET, SUITE
        100
        SAN FRANCISCO, CALIFORNIA
        94107




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.43879 QUINTON E. LOZANO                           VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                     Litigation
        APPLICATION                       ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43880 QUINTON E. LOZANO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                         Litigation
        A. BAGHDADI                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43881 Quinton E. Lozano                           VARIOUS                              Wildfire               UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                       Litigation
        083151)Robert J. Nelson (SBN      ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, California 94111


3.43882 QUINTON THOMAS RAMIREZ                      VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                     Litigation
        SCHACKNATASHA N. SERINO           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.43883 QUINTON THOMAS RAMIREZ                      VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                          Litigation
        WEAVER                            ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43884 QUINTON THOMAS RAMIREZ                    VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.43885 QUIROZ LOPEZ, JOSE                        VARIOUS                              Wildfire               UNDETERMINED
        1416 MYRTLE ST                                                                 Litigation
        APT 3                           ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.43886 QUIROZ, CECILIA                           VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43887 QUIROZ, CECILIA                           VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43888 QUIROZ, CECILIA                   VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.43889 QUYEN TRAN                                VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                      Litigation
        SIMES RACHEL B.                 ACCOUNT NO.: NOT AVAILABLE
        ABRAMSMEGHAN E.
        MCCORMICK
        LEVIN SIMES LLP
        44 MONTGOMERY ST., 32ND
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.43890 QUYNH NGUYEN                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.43891 QUYNH NGUYEN                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                            Litigation
        VICEPENDING)JOHN P. FISKE        ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.43892 QUYNH NGUYEN                               VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                              Litigation
        262319)DEBORAH S. DIXON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43893 QUYNH NGUYEN                               VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                      Litigation
        583 I 6)                         ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.43894 QUYNH NGUYEN                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                      Litigation
        (SBN 69176)IAN C.                ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.43895 QWYNN BAKER                                VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.43896 QWYNN BAKER                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43897 QWYNN BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.43898 QWYNN BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43899 QWYNN BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43900 R. CURTIS SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.43901 R. CURTIS SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.43902 R. CURTIS SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.43903 RAAB, STACI                               VARIOUS                              Wildfire               UNDETERMINED
        1130 RIMROCK DR                                                                Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43904 RACHAEL MCCARTY                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.43905 RACHEL ARADIA HOFFMAN                     VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43906 RACHEL ARADIA HOFFMAN                     VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43907 RACHEL ARADIA HOFFMAN                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43908 RACHEL ARADIA HOFFMAN                     VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43909 RACHEL BLANK                              VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43910 RACHEL BLANK                              VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.43911 RACHEL BLANK                              VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.43912 RACHEL BRANCH                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43913 RACHEL BRANCH                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43914 RACHEL BRANCH                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43915 RACHEL BRANCH                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43916 RACHEL FIORI                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43917 RACHEL FIORI                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43918 RACHEL FIORI                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43919 RACHEL FIORI                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43920 RACHEL FORBIS,                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43921 RACHEL FORBIS,                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.43922 RACHEL FORBIS,                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.43923 RACHEL FORBIS,                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.43924 RACHEL FORTNER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43925 RACHEL FORTNER                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.43926 RACHEL FORTNER                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43927 RACHEL FORTNER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43928 RACHEL FORTNER                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43929 RACHEL GILLIGAN                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.43930 RACHEL GILLIGAN                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.43931 RACHEL GUERECA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43932 RACHEL GUERECA                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43933 RACHEL GUERECA                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43934 RACHEL GUERECA                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43935 RACHEL GUERECA                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.43936 RACHEL M ROBINSON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43937 RACHEL M ROBINSON                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43938 RACHEL M ROBINSON                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.43939 RACHEL M ROBINSON                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                       Litigation
        MARTINI                          ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.43940 RACHEL M ROBINSON                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                           Litigation
        SINGLETONERIKA L.                ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.43941 RACHEL MARIN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43942 Rachel Marin                               VARIOUS                              Wildfire               UNDETERMINED
        Elizabeth J. Cabraser (SBN                                                      Litigation
        083151)Robert J. Nelson (SBN     ACCOUNT NO.: NOT AVAILABLE
        132797)Lexi J. Hazam (SBN
        224457)Fabrice N. Vincent (SBN
        160780)Abby R. Wolf (SBN
        313049)Evan J. Ballan (SBN
        318649)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, CA 92101


3.43943 RACHEL MARIN                               VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                      Litigation
        STATE BAR NO. 157400)            ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43944 RACHEL MARIN                              VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43945 RACHEL MONDLICH                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                       Litigation
        SBN: 110909ROBERT A.            ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43946 RACHEL MOORE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43947 RACHEL MOORE                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43948 RACHEL MOORE                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43949 RACHEL MOORE                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43950 RACHEL MOORE                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.43951 RACHEL ROBINSON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43952 RACHEL ROBINSON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43953 RACHEL ROBINSON                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43954 RACHEL ROBINSON                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43955 RACHEL TRAMONTINI                         VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                       Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.43956 RACHEL YOUNG                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.43957 RACHEL YOUNG                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.43958 RACHELLE A. VELASQUEZ                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.43959 RACHELLE A. VELASQUEZ                     VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43960 RACHELLE A. VELASQUEZ                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43961 RACHELLE A. VELASQUEZ                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43962 RACHELLE A. VELASQUEZ                     VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.43963 RADER, LORITA R.                          VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREALISON E.                                                        Litigation
        CORDOVA                         ACCOUNT NO.: NOT AVAILABLE
        COTCHETT PITRE & MCCARTHY
        LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.43964 RADOMIR ANTOVICH                          VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.43965 RADOMIR ANTOVICH                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.43966 RADOMIR ANTOVICH                          VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43967 RADTKE, JENNIFER                          VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 458                                                                     Litigation
        LOWER LAKE, CA 95457            ACCOUNT NO.: NOT AVAILABLE


3.43968 RAE, DEBORA                               VARIOUS                              Wildfire               UNDETERMINED
        16414 LAGUE RD                                                                 Litigation
        RACKERBY, CA 95972              ACCOUNT NO.: NOT AVAILABLE


3.43969 RAEANN BAER                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43970 RAEANN BAER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43971 RAEANN BAER                               VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.43972 RAEANN BAER                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.43973 RAEANN BAER                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43974 RAEANN MARIE RONDEAU                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43975 RAEANN MARIE RONDEAU                      VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.43976 RAEANN MARIE RONDEAU                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.43977 RAEANN MARIE RONDEAU                      VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.43978 RAEANNA BUTTS-KING                        VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.43979 RAEANNA BUTTS-KING                        VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43980 RAEANNA BUTTS-KING                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43981 RAEANNA BUTTS-KING                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.43982 RAELEENE FAE AKIN                         VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.43983 RAELEENE FAE AKIN                         VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.43984 RAELEENE FAE AKIN                         VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.43985 RAELEENE FAE AKIN                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43986 RAGUENEAU, LISA                           VARIOUS                              Wildfire               UNDETERMINED
        17316 PARK AVE                                                                 Litigation
        SONOMA, CA 95751                ACCOUNT NO.: NOT AVAILABLE


3.43987 RAHASY A. POE                             VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.43988 RAHASY A. POE                             VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                      Litigation
        (STATE BAR #33422) DIANE        ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.43989 RAHASY A. POE                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.43990 RAHASY A. POE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43991 RAHASY A. POE                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43992 RAINI MADDAN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.43993 RAINI MADDAN                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.43994 RAINI MADDAN                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.43995 RAINI MADDAN                              VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.43996 RAISLER, JULIE                            VARIOUS                              Wildfire               UNDETERMINED
        3 CECIL PL                                                                     Litigation
        CHICO, CA 95928                 ACCOUNT NO.: NOT AVAILABLE


3.43997 RAISSA SARANTSCHIN                        VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.43998 RAISSA SARANTSCHIN                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.43999 RALPH DARTING                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.44000 RALPH DARTING                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.44001 RALPH GILLIS                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.44002 RALPH GILLIS                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.44003 RALPH LASSA                               VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.44004 RALPH LASSA                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.44005 RALPH OWENS                                VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.44006 RALPH OWENS                                VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.44007 RALPH OWENS                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.44008 RALPH OWENS                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44009 RALPH OWENS                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.44010 RALPH WARING                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44011 RALPH WARING                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.44012 RALPH WARING                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.44013 RALPH WARING                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.44014 RALPH WRIGHT                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.44015 RALPH WRIGHT                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


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Wildfire Claims

3.44016 RALPH WRIGHT                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.44017 RAMAKRISHNA, RAMESH                       VARIOUS                              Wildfire               UNDETERMINED
        2284 DANCING PENNY WAY                                                         Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.44018 RAMAMURTHY ATI                            VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.44019 RAMAMURTHY ATI                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.44020 RAMAZZOTTI, KATHLEEN                      VARIOUS                              Wildfire               UNDETERMINED
        5836 OWL HILL AVENUE                                                           Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.44021 RAMELE JENKINS                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.44022 RAMELE JENKINS                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




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Wildfire Claims

3.44023 RAMEY, CHRISTINE                             VARIOUS                              Wildfire               UNDETERMINED
        934 HYLAND DR.                                                                    Litigation
        SANTA ROSA, CA 95404               ACCOUNT NO.: NOT AVAILABLE


3.44024 RAMIREZ GALLEGOS, MIGUEL                     VARIOUS                              Wildfire               UNDETERMINED
        3698 DOVER ST                                                                     Litigation
        NAPA, CA 94558                     ACCOUNT NO.: NOT AVAILABLE


3.44025 RAMIREZ, ALISHA                              VARIOUS                              Wildfire               UNDETERMINED
        1879 WINDMILL CIRCLE                                                              Litigation
        SANTA ROSA, CA 95403               ACCOUNT NO.: NOT AVAILABLE


3.44026 RAMIREZ, BENITO                              VARIOUS                              Wildfire               UNDETERMINED
        2836 APPLE VALLEY LN APT 3                                                        Litigation
        SANTA ROSA, CA 95403               ACCOUNT NO.: NOT AVAILABLE


3.44027 Ramirez, Benjamin Shane;                     VARIOUS                              Wildfire               UNDETERMINED
        Ramirez, Kaitlyn Rochelle;                                                        Litigation
        Ramirez, Draven Hunter; Pares,     ACCOUNT NO.: NOT AVAILABLE
        Rylan Michael (Minors, By And
        Through Their Guardian Ad Litem,
        Kaitlyn Rochelle Ramirez)
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.44028 Ramirez, Benjamin Shane;                     VARIOUS                              Wildfire               UNDETERMINED
        Ramirez, Kaitlyn Rochelle;                                                        Litigation
        Ramirez, Draven Hunter; Pares,     ACCOUNT NO.: NOT AVAILABLE
        Rylan Michael (Minors, By And
        Through Their Guardian Ad Litem,
        Kaitlyn Rochelle Ramirez)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.44029 Ramirez, Benjamin Shane;                     VARIOUS                              Wildfire               UNDETERMINED
        Ramirez, Kaitlyn Rochelle;                                                        Litigation
        Ramirez, Draven Hunter; Pares,     ACCOUNT NO.: NOT AVAILABLE
        Rylan Michael (Minors, By And
        Through Their Guardian Ad Litem,
        Kaitlyn Rochelle Ramirez)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101




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Wildfire Claims

3.44030 RAMIREZ, ELIZABETH                        VARIOUS                              Wildfire               UNDETERMINED
        2747 MOHAWK ST                                                                 Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.44031 RAMIREZ, LORI                             VARIOUS                              Wildfire               UNDETERMINED
        6135 DANA CIR                                                                  Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


3.44032 RAMIREZ, MARIA CAROLINA                   VARIOUS                              Wildfire               UNDETERMINED
        2378 BATTERSEA STREET                                                          Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.44033 RAMIREZ, MARVIN                           VARIOUS                              Wildfire               UNDETERMINED
        15391 ARNOLD DR APT W4                                                         Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.44034 RAMIREZ, RAMON                            VARIOUS                              Wildfire               UNDETERMINED
        301 VINTAGE GLEN CT                                                            Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.44035 RAMIREZ, VINCENT                          VARIOUS                              Wildfire               UNDETERMINED
        14074 DREXEL DR                                                                Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


3.44036 RAMIRO RODRIGUEZ                          VARIOUS                              Wildfire               UNDETERMINED
        STUART G. GROSSCATHLEEN                                                        Litigation
        DONOHOE                         ACCOUNT NO.: NOT AVAILABLE
        GROSS & KLEIN LLP
        THE EMBARCADEROPIER 9,
        SUITE 100
        SAN FRANCISCO, CA 94111


3.44037 RAMON B. JAVELLANA                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44038 RAMON B. JAVELLANA                        VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44039 RAMON BARJAS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44040 RAMON BARJAS                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.44041 RAMON BARJAS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.44042 RAMON BARJAS                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.44043 RAMON RODRIGUEZ                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                       Litigation
        SBN: 110909ROBERT A.            ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.44044 RAMON RUBIO                               VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44045 RAMON RUBIO                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.44046 RAMON RUBIO                               VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.44047 RAMON SCOTT                               VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.44048 RAMON SCOTT                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.44049 RAMONA CORRAL MONTIEL                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.44050 RAMONA CORRAL MONTIEL                     VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.44051 RAMONA CORRAL MONTIEL                     VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FINN      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403



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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.44052 RAMONA HUGHIE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.44053 RAMONA HUGHIE                              VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.44054 RAMONA HUGHIE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44055 RAMONA HUGHIE                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.44056 RAMONA HUGHIE                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.44057 RAMONA LEAVITT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44058 RAMONA LEAVITT                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.44059 RAMONA LEAVITT                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.44060 RAMONA LEAVITT                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.44061 RAMONA MAXWELL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.44062 RAMONA MAXWELL                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44063 RAMONA MAXWELL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44064 RAMONA MAXWELL                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.44065 RAMONA S FORD KLINE                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.44066 RAMONA S FORD KLINE                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44067 RAMONA S FORD KLINE                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.44068 RAMONA S FORD KLINE                       VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44069 RAMONA S FORD KLINE                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.44070 RAMONA SMITH                              VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.44071 RAMONA SMITH                              VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.44072 RAMONA SMITH                              VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.44073 RAMOS, CATALINA                           VARIOUS                              Wildfire               UNDETERMINED
        1990 ADAMS ST                                                                  Litigation
        YOUNTVILLE, CA 94599            ACCOUNT NO.: NOT AVAILABLE


3.44074 RAN, ERIK                                 VARIOUS                              Wildfire               UNDETERMINED
        13939 WILLIAMS ROAD                                                            Litigation
        3                               ACCOUNT NO.: NOT AVAILABLE
        GLEN ELLEN, CA 95442


3.44075 RANDAL AHLSWEDE                           VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44076 RANDAL AHLSWEDE                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.44077 RANDAL AHLSWEDE                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.44078 RANDAL AHLSWEDE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44079 RANDAL APEL                               VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.44080 RANDAL APEL                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.44081 RANDALL KELLER                            VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44082 RANDALL KELLER                            VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.44083 RANDALL KELLER                            VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.44084 RANDALL MCFARLANE                         VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.44085 RANDALL MCFARLANE                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.44086 RANDALL MCFARLANE                         VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.44087 RANDALL MCFARLANE                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




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Wildfire Claims

3.44088 RANDALL MCFARLANE                         VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.44089 RANDALL PARKERSON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44090 RANDALL PARKERSON                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.44091 RANDALL PARKERSON                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.44092 RANDALL PARKERSON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.44093 RANDALL RUCKER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44094 RANDALL RUCKER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.44095 RANDALL RUCKER                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.44096 RANDALL RUCKER                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.44097 RANDALL RUCKER                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.44098 RANDALL STEIN                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.44099 RANDALL STEIN                             VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. PANISH (SBN 116060)                                                   Litigation
        PANISH SHEA &BOYLE, LLP         ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44100 RANDALL STEIN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44101 RANDALL STEIN                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE (SBN                                                            Litigation
        100077)ALISON E. CORDOVA        ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA


3.44102 RANDALL TAKEO HIGASHIDA                   VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.44103 RANDALL TAKEO HIGASHIDA                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44104 RANDALL VANKEUREN                         VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.44105 RANDAZZO, SYDNEY                          VARIOUS                              Wildfire               UNDETERMINED
        310 TRINITY RD                                                                 Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.44106 RANDI BURTON                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.44107 RANDI BURTON                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44108 RANDI BURTON                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.44109 RANDI BURTON                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.44110 RANDI BURTON                               VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.44111 RANDY BOYCE                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359 KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44112 RANDY BOYCE                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.44113 RANDY BOYCE                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.44114 RANDY CHAPMAN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44115 RANDY CHAPMAN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.44116 RANDY CHAPMAN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.44117 RANDY CHAPMAN                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                      Litigation
        126782AMANDA L. RIDDLE -          ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.44118 RANDY GILL                                  VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.44119 RANDY GILL                                  VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREALISON E.                                                          Litigation
        CORDOVADONALD J.                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.44120 RANDY GILL                                  VARIOUS                              Wildfire               UNDETERMINED
        TELEPHONE: (650) 697-6000                                                        Litigation
                                          ACCOUNT NO.: NOT AVAILABLE
        FACSIMILE: (650) 697-
        0577FPITRE@CPMLEGAL.COM

        ACORDOVA@CPMLEGAL.COM
        DMAGILLIGAN@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.44121 RANDY GILL                                  VARIOUS                              Wildfire               UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA



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Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.44122 RANDY GILL                                  VARIOUS                              Wildfire               UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE


3.44123 RANDY HALL                                  VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.44124 RANDY HALL                                  VARIOUS                              Wildfire               UNDETERMINED
        MELVIN C. BELLI - BAR NO.                                                        Litigation
        111309ROBERT J.A. FORDIANI        ACCOUNT NO.: NOT AVAILABLE
        — BAR NO. 256041
        THE BELLI LAW FIRM
        33 MILLER AVE
        MILL VALLEY, CALIFORNIA 94941


3.44125 RANDY HALL                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                 Litigation
        WALKUP, MELODIA, KELLY &          ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44126 RANDY HALL                                  VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                        Litigation
        160461)                           ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.44127 RANDY HALL                                  VARIOUS                              Wildfire               UNDETERMINED
        DAVID P. MATTHEWS- PRO HAC                                                       Litigation
        VICE TO BE FILED                  ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES LAW
        FIRM
        290S SACKETT ST.
        HOUSTON, TEXAS 77098


3.44128 RANDY JOHNSEN                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                             Litigation
        296101)ROBERT T. BRYSON           ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44129 RANDY KEVIN RUANO                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44130 RANDY KEVIN RUANO                         VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.44131 RANDY KEVIN RUANO                         VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.44132 RANDY KEVIN RUANO                         VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.44133 RANDY L NEADE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44134 RANDY L NEADE                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44135 RANDY L NEADE                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.44136 RANDY L NEADE                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.44137 RANDY L NEADE                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.44138 RANDY LARSEN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44139 RANDY LARSEN                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44140 RANDY LARSEN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.44141 RANDY LARSEN                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.44142 RANDY LOIS                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44143 RANDY LOIS                                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.44144 RANDY LOIS                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.44145 RANDY LOIS                                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44146 RANDY LOIS                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.44147 RANDY P SALEZ                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44148 RANDY P SALEZ                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.44149 RANDY P SALEZ                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.44150 RANDY P SALEZ                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.44151 RANDY P SALEZ                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.44152 RANGE, SANNA                              VARIOUS                              Wildfire               UNDETERMINED
        266 MOUNTAIN AVE                                                               Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE




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Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44153 RASMUSSEN, RICK                           VARIOUS                              Wildfire               UNDETERMINED
        6004 MONTICELLO RD SPC 21                                                      Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.44154 RATHA WILSON                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.44155 RATHA WILSON                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.44156 RATHA WILSON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.44157 RATHA WILSON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44158 RAUL STEVEN GALVEZ                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.44159 RAUL STEVEN GALVEZ                        VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704



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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44160 RAY BURTON                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.44161 RAY BURTON                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.44162 RAY BURTON                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.44163 RAY BURTON                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44164 RAY FARIS                                 VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44165 RAY FARIS                                 VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.44166 RAY FARIS                                 VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.44167 RAY FARIS                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.44168 RAY FARIS                                 VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.44169 RAY JOHNSON                               VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44170 RAY JOHNSON                               VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.44171 RAY JOHNSON                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.44172 RAY JOHNSON                               VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.44173 RAY L. SISEMORE                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.44174 RAY L. SISEMORE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.44175 RAY L. SISEMORE                           VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




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Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.44176 RAY LEE WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.44177 RAY LEE WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.44178 RAY LOUIE                                 VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                   Litigation
        CABRASERROBERT J.               ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.44179 RAY MCCOSHUM                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                      Litigation
        SBN: 110909ANDREA R.            ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.44180 RAY MCCOSHUM                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




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Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.44181 RAY MCCOSHUM                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.44182 RAY MCCOSHUM                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.44183 RAY MCCOSHUM                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.44184 RAY NORRIS                                 VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                            Litigation
        VICEPENDING)JOHN P. FISKE        ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.44185 RAY NORRIS                                 VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                           Litigation
        208783)ERIKA L. VASQUEZ          ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.44186 RAY NORRIS                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                      Litigation
        (SBN 69176)IAN C.                ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


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